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       Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
       Nos., State Bar No. & Email Address
       Lane M. Nussbaum SBN 264200
       Nussbaum APC
       27489 Agoura Rd. Ste. 102
       Agoura Hills, CA 91301
       Tel (818) 660-1919
       Fax: (818) 864-3241




       □    Individual appearing without attorney
       lgJ Attorney for: Rexford Industrial Realty, L.P. (Tarzana)
                                              UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA -

       In re:                                                                      CASE NO.: 2:20-BK-10181-VZ
       REEFTON, LLC
                                                                                   CHAPTER: 11

                                                                                        NOTICE OF MOTION AND MOTION FOR
                                                                                        RELIEF FROM THE AUTOMATIC STAY
                                                                                       OR FOR ORDER CONFIRMING THAT THE
                                                                                         AUTOMATIC STAY DOES NOT APPLY
                                                                                              UNDER 11 U.S.C. § 362(l)
                                                                                            (with supporting declarations)
                                                                                               (UNLAWFUL DETAINER)

                                                                               DATE:
                                                                               TIME:
                                                                    Debtor(s). COURTROOM: 1368

       Movant:
                   Rexford Industrial Realty, L.P. (Tarzana)


      1. Hearing Location:
            lgJ 255 East Temple Street, Los Angeles, CA 90012
                                                                                           □    411 West Fourth Street, Santa Ana, CA 92701

            □   21041 Burbank Boulevard, Woodland Hills, CA 91367
                                                                                           □    1415 State Street, Santa Barbara, CA 93101

            □   3420 Twelfth Street, Riverside, CA 92501

      2. Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested
         parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
         granting relief from the automatic stay as to Debtor and Debtor’s bankruptcy estate on the grounds set forth in the
         attached Motion.

      3. To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in
         preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using
         the format required by LBR 9004-1 and the Court Manual.

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      4. When serving a response to the motion, serve a copy of it upon the Movant's attorney (or upon Movant, if the motion
         was filed by an unrepresented individual) at the address set forth above.

      5. If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
         such failure as consent to granting of the motion.

      6.
            □    This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1(d). If you wish to oppose this motion,
                 you must file and serve a written response to this motion no later than 14 days before the hearing and appear at
                 the hearing.

      7.         This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1(b). If you wish to oppose this
                 motion, you must file and serve a response no later than (date)     and (time)               ; and, you
                 may appear at the hearing.

            a.
                 □   An application for order setting hearing on shortened notice was not required (according to the calendaring
                     procedures of the assigned judge).

            b.
                 □   An application for order setting hearing on shortened notice was filed and was granted by the court and such
                     motion and order have been or are being served upon the Debtor and upon the trustee (if any).

                 X
            c.
                 □   An application for order setting hearing on shortened notice was filed and remains pending. After the court
                     rules on that application, you will be served with another notice or an order that specifies the date, time and
                     place of the hearing on the attached motion and the deadline for filing and serving a written opposition to the
                     motion.


            Date: January 13, 2020                                                      Nussbaum APC
                                                                                        Printed name of law firm (if applicable)

                                                                                        Lane Nussbaum
                                                                                        Printed name of individual Movant or attorney for Movant



                                                                                        _____________________________________________
                                                                                        Signature of individual Movant or attorney for Movant




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                           MOTION FOR RELIEF FROM THE AUTOMATIC STAY OR FOR ORDER
                             CONFIRMING THAT THE AUTOMATIC STAY DOES NOT APPLY
                                               (Unlawful Detainer)
      1. Movant is the:

            a.         Owner of the Property
            b.         Authorized Agent of the owner of the Property
            c.         Other (specify):


      2. The Property at Issue (Property):
            Type of Property:
                                   □ Residential            Nonresidential
            Street Address: 18310, 18314 Unit 5, 18316 Oxnard Street
            Unit/Suite Number:
            City, State, Zip Code: Tarzana, CA, 91356


      3. Bankruptcy Case History:
            a.         A voluntary
                                      □ An involuntary petition under chapter
                       was filed on (date): January 08, 2020
                                                                                                     7         11          12    13


            b.
                 □     An order to convert this case to chapter
                       was entered on (date):
                                                                          □ 7 □ 11 □ 12 □ 13

            c.
                 □     A plan was confirmed on (date):


      4. Pursuant to 11.U.S.C. § 362(b)(22) and (23) there is no stay because (check all that apply):

            a.         Movant commenced an eviction, unlawful detainer action or similar proceeding against the Debtor involving
                       residential property in which the Debtor resides and:

                 (1)       The Debtor has not filed and served on Movant the certification required under 11 U.S.C. § 362(l)(1).

                 (2)       The Debtor or adult dependent of the Debtor has not deposited with the clerk any rent that would become
                           due during the 30-day period after the filing of the petition.

                 (3)       The Debtor or adult dependent of the Debtor has not filed and served on Movant the further certification
                           required under 11 U.S.C. § 362(l)(2) that the entire monetary default that gave rise to the judgment has
                           been cured.

                 (4)
                       □   Movant filed and served an objection to the Debtor’s certification. A copy of the objection is attached as
                           Exhibit       . A hearing on this objection is set for (date)            .

      5. Grounds for Relief from Stay: (check all that apply)
            a.       Pursuant to 11 U.S.C. § 362(d)(1), cause exists because, as of the bankruptcy petition date, the Debtor had
                 no right to continued occupancy of the premises, as follows:

                 (1)       Movant caused a notice to quit to be served on the Debtor.

                 (2)       An unlawful detainer proceeding was commenced on (date)                       August 02, 2019    .

                 (3)       An unlawful detainer judgment was entered on (date)                  November 12, 2019.




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                 (4)
                       □     Movant acquired title to the Property by foreclosure sale before the bankruptcy petition was filed and
                             recorded the deed within the period provided by state law for perfection.

                 (5)
                       □     Movant acquired title to the Property by foreclosure sale after the bankruptcy petition was filed and
                             recorded the deed within the period provided by state law for perfection.

            b.   ~ Pursuant to 11 U.S.C. § 362(d)(1) the Debtor’s right to possession should be terminated because (check all
                   that apply):

                 (1) X The lease or other right of occupancy expired by its terms on (date)                         11/12/2019.
                       □
                 (2) ~ The lease has matured, been rejected or deemed rejected by operation of law on (date)                               July 29, 2019   .

                 (3)
                       □     Lease payments have not been made after the filing of the bankruptcy petition.

                 (4)
                       □     An unlawful detainer action was filed to obtain possession of the Property on grounds of endangerment of
                             the Property or because of illegal use of controlled substances on the Property and Movant filed and
                             served upon the Debtor a certification that
                                                                           □ such an action was filed or
                             □   that within the 30 days preceding the certification, the Debtor has endangered the subject Property or
                             illegally allowed the use of controlled substances on the Property. A copy of Movant’s certification is
                             attached as Exhibit         . The Debtor
                                                                          □ has □ has not filed an
                             A copy of the Debtor’s objection, if any, is attached as Exhibit
                                                                                                       objection to Movant’s certification.
                                                                                                    . A hearing on this objection is set
                             for (date)               .

                 (5)         The bankruptcy case was filed in bad faith:

                       (A)
                             □   Movant is the only creditor or one of few creditors listed in the Debtor’s case commencement
                                 documents.

                       (B) ~ Other bankruptcy cases have been filed in which an interest in the Property was asserted.

                       (C)
                             □   The Debtor filed only a few case commencement documents. No schedules or statement of financial
                                 affairs (or chapter 13 plan, if appropriate) has been filed.

                       (D)
                             □   There was a recent transfer of all or part ownership of, or other interest in the Property without the
                                 consent of the Movant or court approval.

            c.         Pursuant to 11 U.S.C. § 362(d)(2)(A), the Debtor has no equity in the Property; and pursuant to 11 U.S.C.
                       § 362(d)(2)(B), the Property is not necessary to an effective reorganization.

      6. Grounds for Annulment of the Stay. Movant took postpetition actions against the Property or the Debtor:

            a.
                 □     These actions were taken before Movant knew the bankruptcy petition was filed, and Movant would have
                       been entitled to relief from stay to proceed with these actions.
            b.
                 □     Movant knew the bankruptcy case had been filed, but Movant previously obtained relief from stay to proceed
                       with these enforcement actions in prior bankruptcy cases affecting the Property as set forth in Exhibit _____.
            c.
                 □     Other:




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      7. Evidence in Support of Motion: (Important Note: Declaration(s) in support of the Motion MUST be signed
            under penalty of perjury and attached to this motion.)

            a.    The UNLAWFUL DETAINER DECLARATION on page 7.

            b.    l8f   Supplemental declaration(s).

            c.    D     Other (specify):




      Movant requests the following relief.

      1.    Relief from stay pursuant to: [8111 U.S.C. § 362(d)(1)                   l8f 11 U.S.C. § 362(d)(2)
      2.    @ Movant (and any successors or assigns) may proceed under applicable nonbankruptcy law to enforce its
                  remedies to obtain possession of the Property.

      3.    D     Confirmation that there is no stay in effect.

      4.    D     The stay is annulled retroactive to the bankruptcy petition date. Any postpetition acts taken by Movant to enforce
                  its remedies regarding the Property shall not constitute a violation of the stay.

      5.    D     The co-debtor stay of 11 U.S.C. § 1201(a) or§ 1301(a) is terminated, modified or annulled as to the co-debtor, on
                  the same terms and conditions as to the Debtor.

      6.    jg The 14-day stay prescribed by FRBP 4001(a)(3) is waived.
      7.    D     A designated law enforcement officer may evict the Debtor and any other occupant from the Property regardless
                  of any future bankruptcy filing concerning the Property for a period of 180 days from the hearing of this motion:
                  0     without further notice.
                  D     upon recording ofa copy-bf the order or giving appropriate notice of its entry in compliance with applicabie
                        nonbankruptcy law.

      8.    £8:l' Relief from stay is granted under 11 U.S.C. § 362(d)(4), if the order granting this motion is recorded in compliance
                  with state laws governing notices of interest or liens in real property, the order is binding in any other case under
                  this title purporting to affect the Property filed not later than two years after the date of entry of such order, except
                  that a debtor in a subsequent case under this title may move for relief from the order based upon changed
                  circumstances or for good cause shown, after notice and a hearing.

      9.    l8f   The order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any
                  interest in the Property for a period of 180 days from the hearing of this Motion:
                  @     without further notice.
                  D     upon recording of a copy of this order or giving appropriate notice of its entry in compliance with applicable
                        nonbankruptcy law.

      10.   D     The order is binding in any other bankruptcy case purporting to affect the Property filed not later than 2 years after
                  the date of entry of such order, except that a debtor in a subsequent case may move for relief from the order
                  based upon changed circumstances or for good cause shown, after notice and hearing.

      11.   @ The order is binding and effective in any bankruptcy case commenced by or against the Debtor for a period of 180
                  days, so that no further automatic stay shall arise in that case as to the Property.




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      12.
            □    If relief from stay is not granted with respect to the Property because the Property is the subject of a lease that
                 may be assumable;

            a.
                 □   Establishment of a deadline for assumption or rejection of the lease.
            b.
                 □   Adequate protection in the form of regular payments at the lease rate from petition date until assumption or
                     rejection of the lease.

      13.
            □    Other relief requested.


      Date: January 13, 2020
                                                                              Nussbaum APC
                                                                              __________________________________________________
                                                                              Print name of law firm (if applicable)
                                                                              Lane Nussbaum
                                                                              __________________________________________________
                                                                              Print name of individual Movant or attorney for Movant (if
                                                                              applicable)


                                                                              __________________________________________________
                                                                              Signature of individual Movant or attorney for Movant




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                                                   UNLAWFUL DETAINER DECLARATION
                                    Vanny Kim
      I, (name of declarant)                                                                                                 , declare as follows:


      1. I have personal knowledge of the matters set forth in this declaration and, if called upon to testify, I could and would
         competently testify thereto. I am over 18 years of age. I have knowledge regarding Movant’s interest in the Property
         because (specify):

            a.
                 □     I am the Movant and owner of the Property.
            b.   ~ I manage the Property as the authorized agent for the Movant.
            c.
                 □     I am employed by Movant as (title and capacity):


            d.
                 □     Other (specify):




      2. a.            I am one of the custodians of the books, records and files of Movant as to those books, records and files that
                       pertain to the rental of this Property. I have personally worked on books, records and files, and as to the
                       following facts, I know them to be true of my own knowledge or I have gained knowledge of them from the
                       business records of Movant on behalf of Movant, which were made at or about the time of the events
                       recorded, and which are maintained in the ordinary course of Movant’s business at or near the time of the
                       acts, conditions or events to which they relate. Any such document was prepared in the ordinary course of
                       business of Movant by a person who had personal knowledge of the event being recorded and had or has a
                       business duty to record accurately such event. The business records are available for inspection and copies
                       can be submitted to the court if required.

            b.
                 □     Other (see attached):

      3. The Property is:

            □ Residential            Nonresidential
            Street Address: 18310, 18314 Unit 5, 18316 Oxnard Street
            Unit/Suite Number:
            City, State, Zip Code: Tarzana, CA, 91356

      4. Movant is the 181 legal owner of the Property, or
                                                             □ the owner’s legally authorized agent. A true and correct copy of
         the trustee’s deed upon sale, lease, rental agreement, or other document evidencing Movant’s interest in the Property
         is attached as Exhibit 1     . A true and correct copy of the applicable document establishing Movant’s authority as
         agent for the owner is attached as Exhibit       .

      5. The Debtor asserts a possessory interest in the Property based upon:
                 (1)
                       □     a month-to-month tenancy
                 (2)   181   a lease that is in default
                 (3)
                       □     after a foreclosure sale that was held on (date):                           .
                 (4)
                       □     other (specify):

      6. The Debtor failed to pay:
            a.         The monthly rent of $ 13,601.92                           beginning on (date): 05/01/2019 .




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            b.   181   Other obligations including:

                 (1)         Common area maintenance charges
                 (2)         Property taxes
                 (3)         Other obligations (specify):




      7. Procedural status

                 X     The lease matured or was rejected on (date) 11/12/2019 :
            a.
                 □
                 (1) X by operation of law.
                     □
                 (2)
                       □     by order of the court.

            b.   IZI   Movant caused a notice to quit to be served upon the Debtor on (date) July 22, 2019                           , and a true and correct
                       copy is attached as Exhibit 2     .

            c.   IZI   Before the bankruptcy petition was filed:

                 (1)   IZI   Movant filed a complaint for unlawful detainer against the Debtor on (date)                      August 02, 2019      , and a true
                             and correct copy is attached as Exhibit 3     .

                 (2)         Trial was held on (date)     11/12/19         .

                 (3)         Trial was continued to (date)                       .

                 (4)         An unlawful detainer judgment against the Debtor was entered on the complaint for unlawful detainer on
                             (date) November 12, 2019 , and a true and correct copy is attached as Exhibit 4 .

                 (5)         A writ of possession for the Property was issued on (date)               November 14, 2019 ,   and a true and correct copy is
                             attached as Exhibit 5      .

            d. After the bankruptcy petition was filed:

                 (1)         The Debtor has not filed and served on the Movant the certification required under 11 U.S.C. § 362(l)(1).

                 (2)         The Debtor or adult dependent of the Debtor has not deposited with the clerk any rent that would become
                             due during the 30-day period after the filing of the bankruptcy petition.

                 (3)         The Debtor or adult dependent of the Debtor has not filed and served on the Movant the further
                             certification required under 11 U.S.C. § 362(l)(2) that the entire monetary default that gave rise to the
                             judgment has been cured.

                 (4)
                       □     The Debtor filed and served on the Movant the certification required under 11 U.S.C. § 362(d)(1).

                       (A)
                             □   Movant filed and served an objection a copy of which is attached as Exhibit
                                 objection is set for (date)            .
                                                                                                                                            . A hearing on this

                       (B)
                             □   Movant has not filed and served an objection.




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                  (5)   D   An unlawful detainer action was filed to obtain possession of the Property on grounds of endangerment of
                            the Property or because of illegal use of controlled substances on the Property and Movant has filed a
                            certification that D such action was filed or D that the Debtor has endangered the Property within
                            30 days preceding the certification or allowed the illegal use of controlled substances on the Property.
                            A copy of Movant's certification is attached hereto as Exhibit ___. The Debtor D has D has not
                            filed an objection to Movant's certification. A copy of the Debtor's objection, if filed, is attached as
                            Exhibit_. A hearing on this objection is set for:_____

                  (6) 1:81 Regular lease payments have not been made after the bankruptcy petition was filed.

      8. l8! The Debtor does not have an interest in the Property that could be assumed or assigned under 11 U.S.C. § 365.

     9.     l8! The Property is not necessary to an effective reorganization because it is:

            a.    D     Residential, and is not producing income for the Debtor.

            b.    0 Commercial, but no reorganization is reasonably in prospect.
            c.    D
                  X     No longer property of the estate.

            d.    D     Other (specify):



      10. l8! The bankruptcy case was filed in bad faith:

            a.    D     Movant is the only creditor or one of few creditors listed in the Debtor's case commencement documents.

            b. � Other bankruptcy cases have been filed in which an interest in the Property was asserted.

            c.    D     The Debtor filed only a few case commencement documents. Schedules and a statement of financial affairs
                        (or chapter 13 plan, if appropriate) have not been filed.

            d. l8! Other (specify):
                   Debtor s1gnea a Stipulation in the unlawful detainer case agreeing to vacate by 12-12-2019, Debtor did not
                   comply, and then filed this bankruptcy for further delay Movant's recovery of possession.

     11. l8! The filing of the bankruptcy petition was part of a scheme to delay, hinder or defraud creditors that involved:

            a.    D     The transfer of all or part ownership of, or other interest in, the Property without the consent of Movant or
                        court approval. See attached continuation page of facts establishing the scheme.

            b. l8! Multiple bankruptcy cases affecting the Property include:
               (1) Case name: F.A. SOLIMAN MANGMENT, INC
                   Chapter:_7__            Case number:1-19-BK-12206-VK
                   Date filed: 09/02/2019                 Date discharged:_____                                     Date dismissed: _____
                   Relief from stay regarding the Property 181 was D was not granted.

                  (2) Case name:______________________________
                      Chapter:_               Case number:________
                      Date filed: _____                      Date discharged:_____ Date dismissed: _____
                      Relief from stay regarding the Property D was D was not granted.




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                                          EXHIBIT 1


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                                                    FIRST AMENDMENT TO LEASE



                        THIS FIRST AMENDMENT TO LEASE AGREEMENT (the "Amendment'") is entered into
                as of the 23 H \ day of August, 20]8, by and between Rexford Industrial Realty, L.P., a Maryland limited
                partnership ("Landlord") and F A Soliman Management Inc, a California corporation, and ReeftOil, LLC,
                a California limited liability company, jointly and severally ("Tenant").


                                                            WIT N E SSE T H:

                        WHEREAS, Landlord and Tenant have entered into a Lease dated June 13,2018, pursuant to which
                Landlord leased to Tenant certain premises consisting of approximately 7,096 square feet located at 183] 0
                & 18316 Oxnard Stre~~t, Tarzana, California, 91356 (the "Original Premises"), such lease, as heretofore
                modified, being herein referred to as the ·'Lease".


                       NOW, Tl1EREFORE. Landlord and Tenant desire to moctiry the Lease to, among other things, to
                expand the Premises upon the terms and conditions set fcll1h herein.


                                                             AG REEM ENT:

                        NOW THEREFORE, in consideration of the Premises and the mutual covenants hereinafter
                contained, the pal1ies bereto agree as follows:

                        1.   Effective October 1,2018 (the "Expansion Date"), the "Premises" (as ddined in the Lease)
                             shall be expanded to incl ude that cCl1ain premises commonly known as 18314 Oxnard Street.
                             Unit 5, Tarzana, California, 91356, comprised of an approximately 2,936 rentable square foot
                             unit (the ":Expansion Premises"), on the tel11lS and conditions set f()rth ill the Lease, as hereby
                             amended. Effective upon the Expansion Date, all re1erences in the Lease to the "Premises"
                             shall also include the Expansio'n Premises, except as expressly provided in this Amendment.

                             A site plan depicting the Expansion Premises is attached hereto and made a part here of as
                             Exhibit "A".

                        L    Tenant shall accept the Expansion Premises in its "as is" condition, v,,'ithout any representations
                             or warranties. The taking of possess ion ofthe Expansion Premises shall be conclusive evidence
                             that Tenant accepts the Expansion Premises and that the Expansion Premises were in good
                             condition at the time possession was taken except for any punchlist items agreed to in writing
                             by Landlord and Tenant pursuant to the attached Move-In/Move-Out checklist. Prior to the
                             Expansion Date, Tenant shall deliver to Landlord a Certi ficate of Insurance and Endorsement
                             for the Expansion Premises in compliance with Section 8 of the Lease.

                       3.    Tenant hereby acknowledges that as of the date of this Lease, the Expansion Premises are
                             occupied by an existing tenant (the "Existing Tenant"). Tenant hereby acknowledges and
                             agrees that this Amendment is contingent upon Landlord and Existing Tenant entering into a
                             tennination agreement prior to the Expansion Date. Landlord shall not deliver possession of



                                                                                                                        INITIALS
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                         the Expansion Premises to Tenant unti I Landlord has obtained lawful possession of the
                         Expansion Premises from the Existing Tenant

                    4.   Base Rent.

                             <1.   T~mant   shall continue to pay Base Rent for the Ori ginal Premises pursuant to the .Lease.

                             b.    The term for the Expansion Premises shal I commence on the Expansion Date and shall
                                   expire November 30, 2023 (the "Expansion Premises Term"). The monthly Base
                                   Rent for the Expansion Premises shall be as follows:
                                                                                          -
                                                       Period                                 Monthly Base Rent
                                    October    I, 2018 - September 30, 2019     I                 $4,022.32
                                    October    I, 2019 - September 30 2020                        $4,]42.99
                                    October    I. 2020 - ~eptcmbcr 30, 2021                       $4,267.28
                                    October    1,2021 ..- September 30, 2022                      $4,39<).30
                                    October    I, 2022 - November 30, 2023                        $4,527. 16

                    5.   Tenant shall continue to pay Common Area Operating Expenses as provided in the Lease
                         applicable to the Original Premises pursuant to the Lease. During the Expansion Premises
                         Term, Tenant shall pay Common Area Operating Expenses as provided in the Lease applicable
                         to the Expansion Premises. currently estimated to be a total of $322.96 per month. Lessee's
                         Sh,u·c (as defined in Paragraph 1.6 ofthe Lease) oftile Common Area Operating Expenses f(Jr
                         the Expansion Premises is three and eighty-eight hundredths percent (3.88%).

                    6.   The "Base Year" t()f insurance Cost 1ncrea~es and increases in Real Propetty Taxes applicable
                         to the Expansion Premises shall be the calendar year 2018.

                    7.   Landlord currently holds a Security Deposit for the Original Premises in the amount of
                         $20.000.00. The Security Deposit for the Expansion Premises shall be $4,500.00 and shall be
                         held by Landlord in accordance with the terms of Section 5 of the Lease. Upon the Expansion
                         Date, the Sccurity Deposit to be held by Landlord for the Premises shall be a total of
                         $24.500.00

                    8.   Upon execution of this Amendment, a total 01'$8,845.28 shall be due, which is the sum of the
                         Security Deposit for the Expansion Premises ($4,500.00), the estimated Common Area
                         Operating Expenses for the Expansion Premises for the calendar month of October 2018
                         ($322.96) and the Base Rent for the Expansion Premises for the calendar month of October
                         2018 ($4,022.32).

                    9.   Notwithstanding anything herein to the contrary but subject to Tenant not being in default and
                         all prior rental payments having been received by Landlord not later than the fifth (5 th ) of each
                         month, the Base Rent (and only the Base Rent) applicable to the Expansion Premises only, for
                         the calendar months of November 2018, October 2019 and October 2020 shall be discounted
                         by one hundred percent (fOO%) per month (cumulatively, the "Expansion Premises Base Rent
                         Credit"). Tenant understands and agrees that the t()regoing Expansion Premises Base Rent
                         Credit is conditioned upon Tenant's not being in default under this Lease. Accordingly, upon
                         tbe occurrence of any default under this Lease, the foregoing Expansion Premises Base Rent

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                              Credit shall immediately become null and void, and any Base Rent previously credited to
                              Tenant shall immediately become due and payable, and Tenant shall no longer receive any
                              credit on aCCoLmt of such Expansion Premises Base Rent Credit.

                        10. Upon the t~xpansion Date, Tenant shall be entitled to the use of an additional five (5) unreserved
                              vehicle parking spaces, the usc of which shall be subject to the terms and conditions of Section
                              3.E. of the Lease.

                        11.   Tenant \V81Tants, represents and certifies to Landlord that as of the date of this Amendment (i)
                              Landlord is not in default under the Lease, (ii) Tenanl does not have any defenses or offsets to
                              payment of rent and performance of its obligations under the Lease as and when the same
                              become dlle; (iii) Tenant has no remaining renewal. extension or termination options or rights
                              offirst offer or first refusal in the Original Premises; (iv) Tenant has not heretofore assigned or
                              sublet all or any portion or its interest in the Lease or in the Original Premises; (v) no other
                              perSOIl, lInn or entity has any righL title or interest in the Lease or in the Original Premises
                              through Tenant; (vi) Tenant has the full right, legal power and actual authority to enter into this
                              Amendment without the consent orany per'son, firm or entity,

                        12. Tenant represents and warrants that it has dealt with no broker, agent or other person in
                              connection with this transaction and that no broker, agent or other person brought about this
                              transaction, other than NAI Cap.ital, and Tenant agrees toindclTlT1ify and hold Landlord
                              harmless from and against any clilims by any other broker, agent or other person claiming a
                              commission or other form of compensation by virtue of having dealt with Tenant with regard
                              to this leasing transaction.

                        13. Except as otherwise expressly provided herein , all detlned terms used in thi s Amendment shall
                            have the same r'cspcctive meanings as are provided for such defined terms in the Lease. lnsolllr
                            as the specitic term s and provisions of this Amendment purport to amend or modify or are in
                            conflict with the specific terms, provisions and exhibits of the Lease, the terms and provisions
                            of this Amendment shall govern and control; in all other respects, the terms, provisions and
                            exhibits oCthe Lease shall remain unmodified and in full force and eflect.

                        14. Landlord and Tenant hercby agree that (i) this Amendmcnt is incorporated into and Illade a part
                            of the Lease, (ii) any and all references to the Lease hereinafter shall include this Amendment,
                            and (iii) the Lease and all tCllllS, conditions and provisions of the Lease are in full force and
                            effect as ofthe date hereof: except as expressly modified and amended hereinabove.

                        15. A Certified Access Specialist (CASp) can inspect the subject premises and determine whether
                            the subject pr-ell1ises comply with all of the applicable construction~rejated accessibility
                            standards iJ oder state law. Although state law does not require a CASp inspection ofthe subject
                            premises, the commercial property owner or Landlord may not prohibit the Tenant or tenant
                            from obtaining a CASp inspection of the subject premises for the occupancy or potential
                            occupancy of the Tellant or tenant, i r requested by the Tenant or tenant. The parties shall
                            mutually agree on the arrangements for the time and manner of the CASp inspection, the
                            payment of the fee for the CASp inspection, and the cost of making any repairs necessary to
                            correct violations of construction-related accessibility standards within the Premises.

                              Landlord makes the following statement based on Landlord 's actual knO\vledge in order to

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                            comply wilh Califbrnia Civil Code Section J 938: The Building and the Premises have not
                            undergone an inspection by a Certitied Access Special ist (CASp). Landlord and Tenant hereby
                            mutually agree that in the event a CASp inspection is requested by Tenant, the fee for the CASp
                            inspection and the cost of making any repairs necessary to correct violatiolls of construction-
                            related accessibility standards within and outside the Premises noted in the CASp inspection
                            shall be paid by Temmt.

                        16. LANDLORD HEREBY DISCLOSES TO TENANT THAT LANDLORD KNOWS OR HAS
                           REASONABLE CAUSE TO BELIEVE THAT ASBESTOS-CONTAINING MATERIALS
                           ARE PRESENT IN THE BUILDING AND THE PREMISES. TENANT ACKNOWLEDGES
                           THAT LANDLORD HAS SATISFIED ITS OBLIGATION TO NOTIFY TENANT OF THE
                           PRESENCE OF ASBESTOS-CONTAINING MATERIALS IN THE BUILDING
                           PURSUANT TO CALIFORNIA HEALTH & SAFETY CODE SECTION 25359.7, AND
                           TENANT SHALL NOT DISTURB ANY ASBESTOS-CONTAINING MATERIALS.

                        17. Tenant agrees and understands that Landlord shall have the right (provided that the exercise of
                           Landlord's rights does not materially and adversely affect Tenant's use and occupancy of the
                           Premises or subject Tenant to additional costs, without Tenant's consent, to place a solar
                           electric generating system on the roof of the Building or enter into a lease for the roof of the
                           Building whereby such roof Jessee shall have the right to install a solar electTic generating
                           system on the roof of the Building, and Landlord and its agents shall have access to the roorto
                           accomplish the foregoing.

                        18. Each part)1 hereto, and their respective successors and assigns shall be authorized to rely upon
                           the signatures of all of the parties hereto on this Amendment which are delivered by facsimile
                           or PDF as constitllting a dlily authorized, irrevocable, actual, CUtTent delivery of this
                           Amendment with original ink signatures of each person and entity. This Amendment may be
                           executed in counterparts, each of which shall be deemed an original part and all of which
                           together shall constitute a single agreement.


                                                        [Signature Page Follows]




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                             IN WiTNESS WHEREOF, the parties hereto have signed this Amendment as of the day and
                year first above written.

                TENANT:

                F A SOLIMAN MANAGEMENT INC, a California corporation,
                and REEf TON, LLC, a California limited liability company, jointly and severally


                B~-                                fAnd 501.,..,           Of""

                Name:       fA     SD\\~rCt.n ~H"OlCje4.'1'le1lt 1. VI C
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                Date:    _ O_?5--,-1_2_S-,--'t--=K_ _ __

                LANDLORD:


                REXFORD INDUSTRIAL REALTY, L.P.,
                a Maryland limited partnership

                         By: Rexford Industrial Realty, Inc.,
                             a Mary land corporation,
                             Its General Partner


                              8y: _ ____________________

                              Name Printed: Howard Sl:hwirnmer

                             Title: Co-Chief Execu live Offlcer

                             Dme: Sep 5, 2018 | 3:33 PM PDT ___
                                  ________________________




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                                                                    EXHfBlT A

                                                                Expansion Premises




                        JI




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                                           !




                                                                  SUBJECT PREMISES



                   Not to scale. Does not constitute a representation or wamutty regarding the Project or any portion thereof, and
                   Landlord reserves the right to modify any portion of the Project in its sole discretion as provided in the Lease.




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                      Rexfo r d
                      Indu strial                                              TENANT MOVE-IN/MOVE-OUT CHECKLIST

                      eNTI1Y NAME:
                     IrENANT NAMf:
                      PREMISES ADDRESS:
                      p(lSSFssrON DATE:
                      ~10 VE-OUTDATE:


                                    Unle~     otherwise noted. the premises are clean in good working orde!' and undamaged. Occupant o..:('epts the Premi.'if!5
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                                                                               DJ the Commercial Lease for the above rl.!fef'encl!li Premises.

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                     SINGLE TENANT BUILDING                                          MO\![ -,N CO NDITION                                           MOVE-DUT CONDITION
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                                    EXTERIOR 1I SCI------------------------------~--· ----------- - - -------------1

                     ADDITIONAL COMMENTS                                             MO\'[-IN CmiDITlOl'!                                           MOVE-OUT CONDITION




                                    The "Move-If} Condition" portion of this form           IS CO be completed at the time of inWal pOS,'-'"l?ssion of thr? Premises_     P:h~ipt
                                                                              of a wpy of 1bis inspection form i'f hf'.r~by oc.'mowJedaed.

                     TENANT SIGNATURE:
                     DATE:
                     LANDLORD SIGNATURE':
                     DATE:


                                   The J'Mo\Je-Ov-f Condition" portion of thi~ fOfm i.<; m bf? completed ot rhe time of Tenant :nove-out oj th e Premises. Receipt
                                                                              of a copy Lj t"is inspection form is herebv Dc/mow/edged.

                     TENANT SIGNATURE:
                     DArE:
                     LANO LORD SIGNATURE:
                     DATE:


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                                          EXHIBIT 2


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              COMMERCIAL NOTICE TO PAY RENT OR QUIT
TO: F A Soliman Management, Inc., and Reefton, LLC, all jointly and severally (“Tenant”) And All
Other in Possession of: 18310, 18314 Unit 5, 18316 Oxnard Street, Tarzana, CA 91356, County of Los
Angeles (“Premises”)

     You are hereby provided 5 days’ notice that Tenant is delinquent in its rental payments for the
above Premises. The total amount of Tenant’s delinquency as of July 19, 2019 is estimated at: $45,355.95.

      WITHIN 5 days after service of this Notice, you are required to pay the delinquent sum of
$45,355.95 or surrender possession of the Premises. This amount is an estimated sum of rent past due
and unpaid within one year of service of this notice, pursuant to California Code of Civil Procedure section
1161.1(a). The payment shall be delivered to Vanny Kim, Agent for Landlord via U.S. Mail or
express delivery carrier service, at 11620 Wilshire Boulevard, 10th Fl., Los Angeles, CA 90025, who
is authorized to receive the same. The usual days and hours to make payment at the above address in
person are Monday through Friday between the hours of 9:00 a.m. and 5:00 p.m. Should you fail to
pay the full amount of estimated Rent due, or surrender possession, within said period of 5 days,
Landlord will institute legal action to recover possession of said Premises, as well as all Rent due,
damages, interest, attorneys’ fees and costs.

      Please be advised that Landlord hereby expressly reserves any and all rights to accept partial
payments and seek possession of the subject Premises based on this Notice pursuant to California Code of
Civil Procedure sections 1161.1(b) et seq.

      The Landlord hereby declares and gives Tenant notice that, if the full amount of the Rent due is not
paid or possession surrendered within 5 days after service of this Notice, Landlord hereby elects to declare
a forfeiture of the Lease under which Tenant occupies the Premises.

       Pursuant to California Civil Code section 1785.26, you are hereby notified that a negative credit
report reflecting on Tenant’s credit record may be submitted to a credit reporting agency if Tenant fails to
fulfill the terms of its credit obligation.

     ** This notice supersedes all prior notices to pay rent or quit.
        Dated: July 22, 2019                 By: Vanny Kim
                                            Agent for Landlord
                                            Direct: Rexford Industrial Realty, L.P. (Tarzana)
                                            11620 Wilshire Boulevard, 10th Fl., Los Angeles, CA 90025
                                            (310) 966-3824
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                                          EXHIBIT 3


100380629
Electronically FILED by Superior Court of California, County of Los Angeles on 08/02/2019 05:01 PM Sherri R. Carter, Executive Officer/Clerk of Court, by A. Salcedo,Deputy Clerk
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                                     Assigned for all purposesMain
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                                                                      Nuys Courthouse East,      22Officer:
                                                                                            Judicial of 70Shirley Watkins
        ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                               FOR COURT USE ONLY
          Lane Nussbaum, SBN 264200
          Nussbaum APC
          27489 Agoura Rd. Ste. 102
          Agoura Hills CA 91301
                 TELEPHONE NO.: 818-660-1919     FAX NO. (Optional): 818-864-3241
        E-MAIL ADDRESS (Optional): info@nussbaumapc.com

           ATTORNEY FOR (Name): Rexford Industrial Realty, L.P. (Tarzana)

        SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
                STREET ADDRESS: 6230 Sylmar Ave.

               MAILING ADDRESS: 6230 Sylmar Ave.

              CITY AND ZIP CODE: Van Nuys 91401

                   BRANCH NAME: Van Nuys Courthouse East

            PLAINTIFF:      Rexford Industrial Realty, L.P. (Tarzana)
         DEFENDANT:       F A Soliman Management, Inc.; Reefton, LLC
          ✔      DOES 1 TO          10
                                                                                                                                    CASE NUMBER:
                                         COMPLAINT — UNLAWFUL DETAINER*
                 ✔     COMPLAINT                  AMENDED COMPLAINT (Amendment Number):
          Jurisdiction (check all that apply):
                 ACTION IS A LIMITED CIVIL CASE
                     Amount demanded                 does not exceed $10,000
                                                     exceeds $10,000 but does not exceed $25,000
            ✔        ACTION IS AN UNLIMITED CIVIL CASE (amount demanded exceeds $25,000)
                     ACTION IS RECLASSIFIED by this amended complaint or cross-complaint (check all that apply):
                            from unlawful detainer to general unlimited civil (possession not in issue)                                from limited to unlimited
                            from unlawful detainer to general limited civil (possession not in issue)                                  from unlimited to limited

       1. PLAINTIFF (name each):
              Rexford Industrial Realty, L.P. (Tarzana)
           alleges causes of action against DEFENDANT (name each):
           F A Soliman Management, Inc.; Reefton, LLC

       2. a. Plaintiff is (1)                 an individual over the age of 18 years. (4)                       a partnership.
                          (2)                 a public agency.                        (5)                       a corporation.
                          (3)          ✔      other (specify): limited liability company
            b.           Plaintiff has complied with the fictitious business name laws and is doing business under the fictitious name of (specify):


       3. Defendant named above is in possession of the premises located at (street address, apt. no., city, zip code, and county):
              18310, 18314 Unit 5, 18316 Oxnard Street, Tarzana, CA 91356, County of Los Angeles

       4. Plaintiff's interest in the premises is    as owner     ✔      other (specify): Landlord
       5. The true names and capacities of defendants sued as Does are unknown to plaintiff.
       6. a. On or about (date): 2018-09-15                 defendant (name each):
                 F A Soliman Management, Inc., and Reefton, LLC

              (1) agreed to rent the premises as a         month-to-month tenancy      ✔  other: Fixed term expiring                                      11/30/2023
              (2) agreed to pay rent of $  14975.57        payable    ✔   monthly          other (specify frequency):
              (3) agreed to pay rent on the     ✔  first of the month        other day (specify):
           b. This    ✔     written           oral agreement was made with
              (1)       plaintiff.                              (3)     plaintiff's predecessor in interest.
              (2) X     plaintiff's agent.                      (4)     other (specify):

        * NOTE: Do not use this form for evictions after sale (Code Civ. Proc., § 1161a).                                                                                   Page 1 of 3
                                                                                                                                                               Civil Code, § 1940 et seq.
                                                                COMPLAINT—UNLAWFUL DETAINER                                                     Code of Civil Procedure §§ 425.12, 1166
                                                                                                                                                                    www.courtinfo.ca.gov
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    PLAINTIFF (Name):        Rexford Industrial Realty, L.P. (Tarzana)              CASE NUMBER:


  DEFENDANT(Name):           F A Soliman Management, Inc., et al.
  6. c.     ✔      The defendants not named in item 6a are
                   (1)          subtenants.
                   (2)          assignees.
                   (3)   ✔      other (specify):   Unknown occupants
       d.          The agreement was later changed as follows (specify):



       e.   ✔      A copy of the written agreement, including any addenda or attachments that form the basis of this complaint, is attached
                   and labeled Exhibit 1. (Required for residential property, unless item 6f is checked. See Code Civ. Proc., § 1166.)
       f.          (For residential property) A copy of the written agreement is not attached because (specify reason):
                   (1)           the written agreement is not in the possession of the landlord or the landlord's employees or agents.
                   (2)           this action is solely for nonpayment of rent (Code Civ. Proc., § 1161(2)).
        ✔
  7.            a. Defendant (name each):
                   F A Soliman Management, Inc., and Reefton, LLC

                   was served the following notice on the same date and in the same manner:
                   (1)           3-day notice to pay rent or quit   (4)         3-day notice to perform covenants or quit
                   (2)           30-day notice to quit              (5)         3-day notice to quit
                   (3)           60-day notice to quit              (6)   ✔     Other (specify): 5 Day Notice to Pay          or Quit
            b.     (1) On (date): July 29, 2019                      the period stated in the notice expired at the end of the day.
                   (2) Defendants failed to comply with the requirements of the notice by that date.
            c.     All facts stated in the notice are true.
            d.      ✔    The notice included an election of forfeiture.
            e.      ✔    A copy of the notice is attached and labeled Exhibit 2. (Required for residential property. See Code Civ. Proc.,
                         § 1166.)
            f.           One or more defendants were served (1) with a different notice, (2) on a different date, or (3) in a different
                         manner, as stated in Attachment 8c. (Check item 8c and attach a statement providing the information required
                         by items 7a–e and 8 for each defendant.)
  8. a.     ✔      The notice in item 7a was served on the defendant named in item 7a as follows:
                   (1)          by personally handing a copy to defendant on (date):
                   (2)   ✔      by leaving a copy with (name or description): Fahad saldan Sex: Male, Age: 45, Height: 5'8, Weight:   ,                210,
                                a person of suitable age and discretion, on (date): July 22, 2019      at defendant's
                                       residence     ✔   business AND mailing a copy to defendant at defendant's place of residence on
                                (date): July 22, 2019             because defendant cannot be found at defendant's residence or usual
                                place of business.
                   (3)          by posting a copy on the premises on (date):                              AND mailing a copy to
                                defendant at the premises on (date):


                                (a)           because defendant's residence and usual place of business cannot be ascertained OR
                                (b)           because no person of suitable age or discretion can be found there.
                   (4)          (Not for 3-day notice; see Civil Code, § 1946 before using) by sending a copy by certified or registered
                                mail addressed to defendant on (date):
                   (5)          (Not for residential tenancies; see Civil Code, § 1953 before using) in the manner specified in a written
                                commercial lease between the parties.
       b.         (Name):
                  was served on behalf of all defendants who signed a joint written rental agreement.
       c.         Information about service of notice on the defendants alleged in item 7f is stated in Attachment 8c.
       d.   ✔     Proof of service of the notice in item 7a is attached and labeled Exhibit 3.

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                                                    COMPLAINT—UNLAWFUL DETAINER

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     PLAINTIFF (Name):     Rexford Industrial Realty, L.P. (Tarzana)              CASE NUMBER:


   DEFENDANT(Name):        F A Soliman Management, Inc., et al.
   9.            Plaintiff demands possession from each defendant because of expiration of a fixed-term lease.
   10.     ✔     At the time the 5-day notice to pay rent or quit was served, the amount of rent due was $ 45,355.95
   11.     ✔     The fair rental value of the premises is $ 499.18               per day.
   12.           Defendant's continued possession is malicious, and plaintiff is entitled to statutory damages under Code of Civil
                 Procedure section 1174(b). (State specific facts supporting a claim up to $600 in Attachment 12.)
   13.     ✔
                 A written agreement between the parties provides for attorney fees.
   14.           Defendant's tenancy is subject to the local rent control or eviction control ordinance of (city or county, title of ordinance,
                 and date of passage):




                 Plaintiff has met all applicable requirements of the ordinances.
   15.           Other allegations are stated in Attachment 15.
   16. Plaintiff accepts the jurisdictional limit, if any, of the court.
   17. PLAINTIFF REQUESTS
       a. possession of the premises.                                f.    ✔   damages at the rate stated in item 11 from
       b. costs incurred in this proceeding:                                   (date): August 01, 2019                    for each day that
       c.  ✔      past-due rent of $ 45,355.95                                 defendants remain in possession through entry of judgment.
       d.  ✔      reasonable attorney fees.                          g.        statutory damages up to $600 for the conduct alleged in item 12.
       e.  ✔      forfeiture of the agreement.                       h.        other (specify):


   18.          Number of pages attached (specify):


                                 UNLAWFUL DETAINER ASSISTANT (Bus. & Prof. Code, §§ 6400–6415)

   19. (Complete in all cases.) An unlawful detainer assistant        ✔     did not          did for compensation give advice or assistance
        with this form. (If plaintiff has received any help or advice for pay from an unlawful detainer assistant, state:)

         a. Assistant's name:                                                           c.   Telephone No.:
         b. Street address, city, and zip code:                                         d.   County of registration:
                                                                                        e.   Registration No.:
                                                                                        f.   Expires on (date):

   Date:    August 2, 2019

   Lane Nussbaum
                         (TYPE OR PRINT NAME)                                                      (SIGNATURE OF PLAINTIFF OR ATTORNEY)


                                                          SEE ATTACHED VERIFICATION




                                                                                                                                          Page 3 of 3
                                                     COMPLAINT—UNLAWFUL DETAINER

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                                                    FIRST AMENDMENT TO LEASE



                        THIS FIRST AMENDMENT TO LEASE AGREEMENT (the "Amendment'") is entered into
                as of the 23 H \ day of August, 20]8, by and between Rexford Industrial Realty, L.P., a Maryland limited
                partnership ("Landlord") and F A Soliman Management Inc, a California corporation, and ReeftOil, LLC,
                a California limited liability company, jointly and severally ("Tenant").


                                                            WIT N E SSE T H:

                        WHEREAS, Landlord and Tenant have entered into a Lease dated June 13,2018, pursuant to which
                Landlord leased to Tenant certain premises consisting of approximately 7,096 square feet located at 183] 0
                & 18316 Oxnard Stre~~t, Tarzana, California, 91356 (the "Original Premises"), such lease, as heretofore
                modified, being herein referred to as the ·'Lease".


                       NOW, Tl1EREFORE. Landlord and Tenant desire to moctiry the Lease to, among other things, to
                expand the Premises upon the terms and conditions set fcll1h herein.


                                                             AG REEM ENT:

                        NOW THEREFORE, in consideration of the Premises and the mutual covenants hereinafter
                contained, the pal1ies bereto agree as follows:

                        1.   Effective October 1,2018 (the "Expansion Date"), the "Premises" (as ddined in the Lease)
                             shall be expanded to incl ude that cCl1ain premises commonly known as 18314 Oxnard Street.
                             Unit 5, Tarzana, California, 91356, comprised of an approximately 2,936 rentable square foot
                             unit (the ":Expansion Premises"), on the tel11lS and conditions set f()rth ill the Lease, as hereby
                             amended. Effective upon the Expansion Date, all re1erences in the Lease to the "Premises"
                             shall also include the Expansio'n Premises, except as expressly provided in this Amendment.

                             A site plan depicting the Expansion Premises is attached hereto and made a part here of as
                             Exhibit "A".

                        L    Tenant shall accept the Expansion Premises in its "as is" condition, v,,'ithout any representations
                             or warranties. The taking of possess ion ofthe Expansion Premises shall be conclusive evidence
                             that Tenant accepts the Expansion Premises and that the Expansion Premises were in good
                             condition at the time possession was taken except for any punchlist items agreed to in writing
                             by Landlord and Tenant pursuant to the attached Move-In/Move-Out checklist. Prior to the
                             Expansion Date, Tenant shall deliver to Landlord a Certi ficate of Insurance and Endorsement
                             for the Expansion Premises in compliance with Section 8 of the Lease.

                       3.    Tenant hereby acknowledges that as of the date of this Lease, the Expansion Premises are
                             occupied by an existing tenant (the "Existing Tenant"). Tenant hereby acknowledges and
                             agrees that this Amendment is contingent upon Landlord and Existing Tenant entering into a
                             tennination agreement prior to the Expansion Date. Landlord shall not deliver possession of



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                         the Expansion Premises to Tenant unti I Landlord has obtained lawful possession of the
                         Expansion Premises from the Existing Tenant

                    4.   Base Rent.

                             <1.   T~mant   shall continue to pay Base Rent for the Ori ginal Premises pursuant to the .Lease.

                             b.    The term for the Expansion Premises shal I commence on the Expansion Date and shall
                                   expire November 30, 2023 (the "Expansion Premises Term"). The monthly Base
                                   Rent for the Expansion Premises shall be as follows:
                                                                                          -
                                                       Period                                 Monthly Base Rent
                                    October    I, 2018 - September 30, 2019     I                 $4,022.32
                                    October    I, 2019 - September 30 2020                        $4,]42.99
                                    October    I. 2020 - ~eptcmbcr 30, 2021                       $4,267.28
                                    October    1,2021 ..- September 30, 2022                      $4,39<).30
                                    October    I, 2022 - November 30, 2023                        $4,527. 16

                    5.   Tenant shall continue to pay Common Area Operating Expenses as provided in the Lease
                         applicable to the Original Premises pursuant to the Lease. During the Expansion Premises
                         Term, Tenant shall pay Common Area Operating Expenses as provided in the Lease applicable
                         to the Expansion Premises. currently estimated to be a total of $322.96 per month. Lessee's
                         Sh,u·c (as defined in Paragraph 1.6 ofthe Lease) oftile Common Area Operating Expenses f(Jr
                         the Expansion Premises is three and eighty-eight hundredths percent (3.88%).

                    6.   The "Base Year" t()f insurance Cost 1ncrea~es and increases in Real Propetty Taxes applicable
                         to the Expansion Premises shall be the calendar year 2018.

                    7.   Landlord currently holds a Security Deposit for the Original Premises in the amount of
                         $20.000.00. The Security Deposit for the Expansion Premises shall be $4,500.00 and shall be
                         held by Landlord in accordance with the terms of Section 5 of the Lease. Upon the Expansion
                         Date, the Sccurity Deposit to be held by Landlord for the Premises shall be a total of
                         $24.500.00

                    8.   Upon execution of this Amendment, a total 01'$8,845.28 shall be due, which is the sum of the
                         Security Deposit for the Expansion Premises ($4,500.00), the estimated Common Area
                         Operating Expenses for the Expansion Premises for the calendar month of October 2018
                         ($322.96) and the Base Rent for the Expansion Premises for the calendar month of October
                         2018 ($4,022.32).

                    9.   Notwithstanding anything herein to the contrary but subject to Tenant not being in default and
                         all prior rental payments having been received by Landlord not later than the fifth (5 th ) of each
                         month, the Base Rent (and only the Base Rent) applicable to the Expansion Premises only, for
                         the calendar months of November 2018, October 2019 and October 2020 shall be discounted
                         by one hundred percent (fOO%) per month (cumulatively, the "Expansion Premises Base Rent
                         Credit"). Tenant understands and agrees that the t()regoing Expansion Premises Base Rent
                         Credit is conditioned upon Tenant's not being in default under this Lease. Accordingly, upon
                         tbe occurrence of any default under this Lease, the foregoing Expansion Premises Base Rent

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                              Credit shall immediately become null and void, and any Base Rent previously credited to
                              Tenant shall immediately become due and payable, and Tenant shall no longer receive any
                              credit on aCCoLmt of such Expansion Premises Base Rent Credit.

                        10. Upon the t~xpansion Date, Tenant shall be entitled to the use of an additional five (5) unreserved
                              vehicle parking spaces, the usc of which shall be subject to the terms and conditions of Section
                              3.E. of the Lease.

                        11.   Tenant \V81Tants, represents and certifies to Landlord that as of the date of this Amendment (i)
                              Landlord is not in default under the Lease, (ii) Tenanl does not have any defenses or offsets to
                              payment of rent and performance of its obligations under the Lease as and when the same
                              become dlle; (iii) Tenant has no remaining renewal. extension or termination options or rights
                              offirst offer or first refusal in the Original Premises; (iv) Tenant has not heretofore assigned or
                              sublet all or any portion or its interest in the Lease or in the Original Premises; (v) no other
                              perSOIl, lInn or entity has any righL title or interest in the Lease or in the Original Premises
                              through Tenant; (vi) Tenant has the full right, legal power and actual authority to enter into this
                              Amendment without the consent orany per'son, firm or entity,

                        12. Tenant represents and warrants that it has dealt with no broker, agent or other person in
                              connection with this transaction and that no broker, agent or other person brought about this
                              transaction, other than NAI Cap.ital, and Tenant agrees toindclTlT1ify and hold Landlord
                              harmless from and against any clilims by any other broker, agent or other person claiming a
                              commission or other form of compensation by virtue of having dealt with Tenant with regard
                              to this leasing transaction.

                        13. Except as otherwise expressly provided herein , all detlned terms used in thi s Amendment shall
                            have the same r'cspcctive meanings as are provided for such defined terms in the Lease. lnsolllr
                            as the specitic term s and provisions of this Amendment purport to amend or modify or are in
                            conflict with the specific terms, provisions and exhibits of the Lease, the terms and provisions
                            of this Amendment shall govern and control; in all other respects, the terms, provisions and
                            exhibits oCthe Lease shall remain unmodified and in full force and eflect.

                        14. Landlord and Tenant hercby agree that (i) this Amendmcnt is incorporated into and Illade a part
                            of the Lease, (ii) any and all references to the Lease hereinafter shall include this Amendment,
                            and (iii) the Lease and all tCllllS, conditions and provisions of the Lease are in full force and
                            effect as ofthe date hereof: except as expressly modified and amended hereinabove.

                        15. A Certified Access Specialist (CASp) can inspect the subject premises and determine whether
                            the subject pr-ell1ises comply with all of the applicable construction~rejated accessibility
                            standards iJ oder state law. Although state law does not require a CASp inspection ofthe subject
                            premises, the commercial property owner or Landlord may not prohibit the Tenant or tenant
                            from obtaining a CASp inspection of the subject premises for the occupancy or potential
                            occupancy of the Tellant or tenant, i r requested by the Tenant or tenant. The parties shall
                            mutually agree on the arrangements for the time and manner of the CASp inspection, the
                            payment of the fee for the CASp inspection, and the cost of making any repairs necessary to
                            correct violations of construction-related accessibility standards within the Premises.

                              Landlord makes the following statement based on Landlord 's actual knO\vledge in order to

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                            comply wilh Califbrnia Civil Code Section J 938: The Building and the Premises have not
                            undergone an inspection by a Certitied Access Special ist (CASp). Landlord and Tenant hereby
                            mutually agree that in the event a CASp inspection is requested by Tenant, the fee for the CASp
                            inspection and the cost of making any repairs necessary to correct violatiolls of construction-
                            related accessibility standards within and outside the Premises noted in the CASp inspection
                            shall be paid by Temmt.

                        16. LANDLORD HEREBY DISCLOSES TO TENANT THAT LANDLORD KNOWS OR HAS
                           REASONABLE CAUSE TO BELIEVE THAT ASBESTOS-CONTAINING MATERIALS
                           ARE PRESENT IN THE BUILDING AND THE PREMISES. TENANT ACKNOWLEDGES
                           THAT LANDLORD HAS SATISFIED ITS OBLIGATION TO NOTIFY TENANT OF THE
                           PRESENCE OF ASBESTOS-CONTAINING MATERIALS IN THE BUILDING
                           PURSUANT TO CALIFORNIA HEALTH & SAFETY CODE SECTION 25359.7, AND
                           TENANT SHALL NOT DISTURB ANY ASBESTOS-CONTAINING MATERIALS.

                        17. Tenant agrees and understands that Landlord shall have the right (provided that the exercise of
                           Landlord's rights does not materially and adversely affect Tenant's use and occupancy of the
                           Premises or subject Tenant to additional costs, without Tenant's consent, to place a solar
                           electric generating system on the roof of the Building or enter into a lease for the roof of the
                           Building whereby such roof Jessee shall have the right to install a solar electTic generating
                           system on the roof of the Building, and Landlord and its agents shall have access to the roorto
                           accomplish the foregoing.

                        18. Each part)1 hereto, and their respective successors and assigns shall be authorized to rely upon
                           the signatures of all of the parties hereto on this Amendment which are delivered by facsimile
                           or PDF as constitllting a dlily authorized, irrevocable, actual, CUtTent delivery of this
                           Amendment with original ink signatures of each person and entity. This Amendment may be
                           executed in counterparts, each of which shall be deemed an original part and all of which
                           together shall constitute a single agreement.


                                                        [Signature Page Follows]




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                             IN WiTNESS WHEREOF, the parties hereto have signed this Amendment as of the day and
                year first above written.

                TENANT:

                F A SOLIMAN MANAGEMENT INC, a California corporation,
                and REEf TON, LLC, a California limited liability company, jointly and severally


                B~-                                fAnd 501.,..,           Of""

                Name:       fA     SD\\~rCt.n ~H"OlCje4.'1'le1lt 1. VI C
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                Date:    _ O_?5--,-1_2_S-,--'t--=K_ _ __

                LANDLORD:


                REXFORD INDUSTRIAL REALTY, L.P.,
                a Maryland limited partnership

                         By: Rexford Industrial Realty, Inc.,
                             a Mary land corporation,
                             Its General Partner


                              8y: _ ____________________

                              Name Printed: Howard Sl:hwirnmer

                             Title: Co-Chief Execu live Offlcer

                             Dme: Sep 5, 2018 | 3:33 PM PDT ___
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                                                                    EXHfBlT A

                                                                Expansion Premises




                        JI




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                                           !




                                                                  SUBJECT PREMISES



                   Not to scale. Does not constitute a representation or wamutty regarding the Project or any portion thereof, and
                   Landlord reserves the right to modify any portion of the Project in its sole discretion as provided in the Lease.




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                      Rexfo r d
                      Indu strial                                              TENANT MOVE-IN/MOVE-OUT CHECKLIST

                      eNTI1Y NAME:
                     IrENANT NAMf:
                      PREMISES ADDRESS:
                      p(lSSFssrON DATE:
                      ~10 VE-OUTDATE:


                                    Unle~     otherwise noted. the premises are clean in good working orde!' and undamaged. Occupant o..:('epts the Premi.'if!5
                                                                                               i



                                     a~~is   witt)   tr~ e   exceptiofls lister! below. This inspection form is made a part 0/ and is s~)bje(-l' to the   te"m.~   and condit/on!i
                                                                               DJ the Commercial Lease for the above rl.!fef'encl!li Premises.

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                     SINGLE TENANT BUILDING                                          MO\![ -,N CO NDITION                                           MOVE-DUT CONDITION
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                                    EXTERIOR 1I SCI------------------------------~--· ----------- - - -------------1

                     ADDITIONAL COMMENTS                                             MO\'[-IN CmiDITlOl'!                                           MOVE-OUT CONDITION




                                    The "Move-If} Condition" portion of this form           IS CO be completed at the time of inWal pOS,'-'"l?ssion of thr? Premises_     P:h~ipt
                                                                              of a wpy of 1bis inspection form i'f hf'.r~by oc.'mowJedaed.

                     TENANT SIGNATURE:
                     DATE:
                     LANDLORD SIGNATURE':
                     DATE:


                                   The J'Mo\Je-Ov-f Condition" portion of thi~ fOfm i.<; m bf? completed ot rhe time of Tenant :nove-out oj th e Premises. Receipt
                                                                              of a copy Lj t"is inspection form is herebv Dc/mow/edged.

                     TENANT SIGNATURE:
                     DArE:
                     LANO LORD SIGNATURE:
                     DATE:


                                                                                                                                                                                              J       fS

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                  Rexford
                  Industrial
                                                          REXFORD INDUSTRIAL RE ALTY
                                                              STANDARD INDUSTRIAL
                                                      MULTI-TENANT LEASE - MODIFIED GROSS
                   This Lease ("l lllUO"), dated June 13, 2018, Is made by and between Re;rford Industrial Realty. LP.. a Maryland limited partnership ("landlord"). and
                   the Tenant named below (collectively the "Partios." or individually a "p;uty"J.

                   I.              BASIC LEASE PROVISIONS

                          A.             Tenant:                       F A Soliman Managemenllnc.      8 California COI'poralion. and Reeftoo.llC. a Califomla r.mited
                                                                       liabUiry company. jointly and severaHy

                          B.             Preml5es:                    Afl approximately 7.096 rentable square fOOl portioo of the building located at the street
                                                                      address of 18310 & 18316 Oxnard Slreet. located in the City of Tarzana. County of los
                                                                      Angeles. Siale of California. with zip code 91356. as shown on E:d1ibit "A' attached hereto
                                                                      (" Premises") . In addilion 10 Tenant'S rig ht5 to use an<! occupy the Premises as hereinafler
                                                                      specified, Tenant shall have non·exclusive rtghlS to any Common Areas (as defined In 5edion
                                                                      3A below) of the building conlaining the Premises ("Suilding") but shall nol have any rights
                                                                      to the roof. 0( exterior wails of Ule Buikling or to Bny oUler buildings in the Project. The
                                                                      Premses, the Buikling, the Common P.reas. Ille lane! upon which they are locatea, along with
                                                                      all other buildings on<! improvements !hereon, are here in ooUectively referred to !IS the
                                                                      " Project"

                          c.             Parking Spaces:              Fourteen (14) unreserved vehide porking spaces.

                          0              Commencement Data:           Sep tember 15. 2018

                          E.             lust' Term:                  Sixty-Two (62) full calendar rrcn!hs following the Commencement Date and ending on
                                                                      November 30. 2023 (UExpiration Date ~).

                          F.             St'curity Deposit:           S20,ooo.oo

                          G.             Base Rent:




                          H              Ten ant's Shant:             9.38% of the Project

                                         Current estimate of          $760.56
                                         Tenant's Share of
                                         es tImated monthly
                                         Operatlng Expenso s
                                         (exduding current Base
                                         Rea l Property Taxes and
                                         the Base Premium for !he
                                         Base 'fear) (esHmate only
                                         and $Object to adjustmen t
                                         based on adlUll costs and
                                         expenses accordino to the
                                         provisions ofthi5 lease)

                         J.              Sase Year                    2018


                         K.             Base Rent and other
                                        Monies Due Upon
                                        Execu ti on by Cashier's
                                        Check:




                         L               Early Possession Date:       Upon muluatlease exeQJlion. upon completion of Landloro suite preparation, and subject to
                                                                      the terms of Section 2.E.

                         M.              Pennitted Use:               Warehousing and distribution of pharmaceuticals.

                         N              Srokerts):                    NAt Capital representing landlord ("landlord's Sroker").
                                                                      NAJ Capital represenling Tenanl (M Tananl's Broker"),

                         o.             GUllrantor.                   Nooe

                         P.                                           Exhibit · A"· Site Plan Depicting the Premises and Project: Exhibit "S" · Rules and
                                                                      Regulations: Exhibit "C· - Tenant ContaCllnformation Form

                         o              Addenda:                      Move-lnlMove-Out Chedliist

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                    2.         Granting and Acceptance of Premises.

                               A        Grant of Premises and Tenn. In oonslderation of the obliga~on of Tenant to pay renl as herein provided and in oonsideralion 01 the
                    olher lerms, rovenants. and conditions hereol, Landlord leases 10 Tenant. and Tenant takes from landlord, the Premises. to have and to hold lor the
                    Lease Tenn. wbjecl 10 Ihe Icons, covenants and conditions of this lease:. Base: Rent se t forth in this lease is not subject to adjustment should the actual
                    sl2e of the Premises be determined to be different than the approximate size described in the Basic lease prOvisions. In Ihe event !hal the slze o f the
                    Premises and/or th e Project are modified during the l ease Term, landlord may recalculale Tenanl's Share to renect such modification.

                                11         Condition. Tenanl $hall accept the! Premises in its condition as of the Commencement Date. AS-IS AND \'\11TH All ITS FAULTS,
                    subject 10 all applicable laws. ordinances, reoutalions. covenants and restriclions . Landlord has made no representation or warranty as 10 the suitability
                    of the Premises for lhe conduct 01 Tenant's business. and Tenant waives any implietl W<lffilnty thatlhe Premises are suitable lor Tenanfs Intended
                    purposes. in no event shall Landlord have any obijgalion for any defects in the Premises or any limitation en its usa. Tenant is advised to verify the actual
                    size prior to eJCecuting this Lease _Tenant acknowledges that il has had th e opponunity to Inspect the suitability ollhe Premises lor Tenanrs intended use
                    (induding but not limil ed 10 the electrical. HVAC and fire sprinkler systems, security. environmental aspects, and compliancc with any building codes.
                    applicable laws, covena nts or restrictions of record. regulatioos. end ordinanccs (HLegat Requi rements"), induding the Americans v.ith Disabilities Act),
                    and to measure the Premises. NOTE: Tonant Is re sponsiblll for dlltormining whether o r not the l egal Requiremonts, and, including, wiUlOut
                    limitaiion, Ihe zoning, are appropria to for Tenant' s Intended use, and acknowledges that past uses orthe Prami!.115 may no longer be allowed.
                    Tenanl represen ts and warrants Ihat it has obtained (or v.ill obtain prior to taking possession of the Premises) ell required occupancy permils from the
                    applicable munictpality and other agendes having jurisdictwn over the Premises. The taking of possession of the Premises shalt be condusive evidence
                    that Tenant accepts U1C Promises and that tho Premises were in good condition at the time possession was taken excepl for items that are Landlord·s
                    responsibIlity under SectIon 7.B. and any punc.l'o'ist lIems agreed to in writing by l andlord and Tenant. No laler than 10 days al1M written demand is made
                    therelor by landlord of Tenanl. Tenant shan exerute and deliver 10 landlord a Tenant Contact Information Sheet in the form of Exhibit · C·, each as
                    attached to and hereby made a part 01 this Lease. landlord shall deijver the Premises contained v.ith in the Building to Tenant broom clean and tree of
                    debris on the Commencement Date or any Early Possession Date. whichever first occurs. Except as otherwise disclosed to Tenant in Wliling and so loog
                    as the required service contracts described in Section 7.N2) below are obta~d by Tenant and In effect within 30 days follov.ing the Commencement
                    Da te, Landlord warrants (il the healing, ventilating and air conditioning systems ("HVAC") serving the Premises for a period of 6 months follov.ing the
                    Commencement Dale. and (ii) the eJtisting eleclrical. plumbing. fire sprinkler. lighting. loading doors. sump pumps, if any, and all other such Building
                    systems serving Ihe Premises for a period of 6 monlhs: provided, however. that such warranty shall not be effective for any maintenance. repairs or
                    replacements necessitated due to the misuse of, or damage caused by. Te nant, Its employees, conlmclors. agents . subtenants, or invitees. If Tenanl does
                    not give Landlord the required notice v.ilhin Ihe appropriate warranty period, correction 01 any such nOfl-O.}mpliance. malfunClion or failure shall be the
                    obligation of Tenant at Tenanrs sole cost and elCpenso. No perSOn acting on behalf of Landlord is authorized to make. and Tanan t acknowledges and
                    agrees that LandlOfd has not made and specifically negates and disclaims. any representations. warranlles, promises, collenanls. agreements or
                    guaranties of any kind or character whatsoever, whether express or Implied. ora l orwrillen. past. presenl or future , 01, as 10, conceming or wilh respect 10
                    the Premises, except as expressly set forth herein.

                              C           Compliance. Except as provided In Seclion 7.B. below. in no event shall and tord have any ob~garion for any delects in the Premises
                    or ,my limitation on its use. If legal
                                                         RequIrements are hereafter changed so as to require during the tarm of this Lease the c.onstrudion of an additioo 10
                    or an alteration of the Premises and/or Building. the remedialion 01 any Hazardous Material. or other physical modification of the Premises andJor Building
                    ("Capita l Expenditure"), Landlord aM Tenant Shall allocate the cost 01 such work aslollows:

                                  (1)   SUbfect to subsection 3 below. If such Capital Expenditures are required as a result of the specific and unique use of the Premises
                    by Tenant as compared with uses by tenanls in general. Tenant shall be fully responsible for the cost thereof.

                                    (2)     11 such Capital EJcpenditure is not the result of the specific and unique use of the Premises by Tenant (such as. go~mmentarry
                    mandated seismic modifications), then Landlord shall pay for such Capital E.>:panditure and Ten ant shall only be obligated to pay, each month during the
                    remainder of the tenn 0 1 this lease (induding any extensions or renawals thereof). on the date on which the Base Rent is due, an amount equal 10 11144lh
                    of the poltlon of such costs reasonably attributable to the Premises. Tenant shall pay Interest of ten percent (10%) per annum On the unamonized balance
                    but may prepay ils obligatlon at any lime. If, however, such Capital Expenditure is re quired during the last 2 years of this lease or if Landlord reasOfIably
                    determines that it is nOI economically feasible or is commercially Impracticable to pay 115 shere thereof. landlord shall have the option to terminate this
                    Le:Jse upon 90 days prior written notice to Tenant unless Tenan! notifieS Landlord, in wriling. within 10 days after receipt of Landlord's termination notice
                    that Tenant wiD pay fOt the entire cost 01 such Capital Expenditure in Immediately available tundS.

                                    (3) Notwithstanding the above. th e pfovisloos concerning Capital Expenditures are Inlended 10 apply only 10 non-voluntary . unexpected.
                    and new Legal Requirements. If the Capital Expenditures are inslead triggered by Tenant as a result 01 an actual or proposed change in use. change in
                    intensity 01 use, or modiflcotion to the Premises then Tenan t shall either: (I) Immediately cease such changed use or intensIty of use and/Or teke such
                    olher steps as may be necessary to elimina te the requirement for such Capital Expenditure. or (ii) Ionowing landlord's written demand. complete such
                    Capital EJcpenditure 8t its own elrpCnse. Tenant shall nol have any right to lerminate this Lease In aa:ordance "";th this Seelion.

                             O.             Tenant as Prior OwnerfOc:cupant. The warranties. covenants and agreements made by landlord in Ihls Section shan be of no
                    force or effect il previously Tenant (or any person or entity wilh whom Tenanlis or wa s atf~ia led) was Ille owner or occupant of the Premises. In such
                    event. Tenant shall be responsible for any necessary corrective wor\(..

                            E.               Earty Possession. My provision herein granting Tenan t Early Possession of the Premises Is subject to and conditioned upon (i)
                   the Premises being available fOf such posseSSion prior to the Commencement Date. (ii) upon full payment of monies due by cashier's dleek and (iii)
                   Landlord·s re-cttlpt of certificates 01 insurance as mquired in this lease. Any grant of Eally PossessiQ(l only COOlleYS a non-ell;dusive righl to occupy the
                   Prernses subject to the lerms of the lease. During such Early Possession. T anant shall be bound by its obligations under the lease but shall not be
                   obligated to pay the Moothly Base Ren t or Operaling EJCpenses payable by Tenant 10 landlold as set folth In the Lease.

                             F.           Delay In Possession. Landlord agrees to use comrnercill ily reasonable efforts to deliver possession of Ille Premises to Tenant by
                   the Commencemen t Da te. If, despite said efforts, landlord is unable to deliver possession by such dale. l andtord Shall not be subject to any liability
                   therefor, nor shan such lailure affect the val idity of Ihis Lease or change th e Expiration Date. Tenant shall not. however. be obligated to pay Rent until
                   l andlord delivers possession 01 the Premises and any parted of rent abatement that Tenant would olher.,.,oIse have enjoyed shall run 1rom the date 01
                   dalivery of possession and continue for a period equal to what Tenant would otherv.ise have enjoyed under the terms hereol, but minu s any days of delay
                   caused by the acts or orrissloos of Tenant.

                              G.          Tenant Compliance. Landlord shall not be required to tender possession of the Premises to Tenant until Tenant complies v.ith its
                   obligation to provide evidence of insurance (Section S.B .). Pending delivery of sudl evidence, Tenan t Shall be requiret:lto perfOffil aU of its obligations
                   under this Lease from and after the Commencemenl Date, Induding Ihe paymen t of Rent notwithstanding landl()(d's election to wl1hhold posseSsion
                   pending receipt of such evidence o f insurance. Further. if Tenant is required 10 pertorm any olher conditions prior to orconrurrenl with the Commencement
                   Date. the Commencement Date shan occur but landlord may elect to withhold possession unlJl such condllions are satisfied.

                   3            Common Areas .

                              A.         Common Areas. "C ommon Areas" shalf mean all areas of the Project lor the common usc or benefit oltlla tenants of the Project
                   and Iheir employees. agents, and other invitees. InduditlQ. without limitation: ali parking areas. pedestrian walkways. driveways and access roads. and
                   entrances and exils.

                              B.            Common Areas · T enant's Rights. Landlord grants to Tenant. lor the benefit of Tenant and its employees, suppliers. shippers.
                   contractors. customers and invi tees. during the term of this lease, the n on,exdusive right to use, in c.ommon wilh o thers entitled 10 such use, the Common
                   Areas as they exist from lime to time, suhject to any rigllls, powers. and privileges reserved by Landlord under the terms hereof or uncler the terms of any
                   Rules and Regulations or restrictions gO'leming the use of the ProJecl Under no circumstances shall the righ t herein granled 10 usa the Common Areas
                   be deemed to indude the right to store any property (ind uding. v.ithoutJimitafion , pallets), temporarily or peffilanendy, in the Common Areas . nor sha ll
                   Tenant conduct any business from the Common Areas at any time. induding ...lithout limitation, loading or unloading malerials or supplies within or ftOm
                   the Common Areas (unless landlord has designated loading areas within such Common AJeas). AIr'f such storage shall be permi11ed only by the prior
                   wrillen consent of Lalldlord. Yhlidl consent may be revoked at any time . In Ihe event that any unauthorized stOl"ago sha1t occur, then landlord shall have
                   the tight. without nOlice . in addition to sudl olherrlghts and remedies thai il may have. 10 remove the property and charge th e cost to Tenan t. which cost
                   shall be Immediately payable upon demand by Landlord.
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                               C.            Common Areas· Rules imd Regulations. Teoont shall. at all times during the lease Term and any extension ther~f. comply
                    with all reasonable rules and regulations at any time or from time to limo established by landlord covering usc of the Premises 8t\d the Project. The
                    QJrrenl Project Rules and Regulations are Bl1adled hereto as Exhibit "S: In the event of any conflict between said Rules and Regulations and other
                    provision s 01 this lease. the other terms and provi5ioos 01 this lease shan coo.rOS landlord shall not have any liabi~1y or obligation for the breach o f any
                    Rules or Regulations by mher tenants in the Project. Tenant shaU use its best efforts 10 cause its effllloyees, SlJppi ers. shippers. customers. conlmctors
                    and iovitees 10 so abide and COtl form . Tenant wiD make use of an of the Common Areas (including. wilhollt limitation. all losding and unloading areas) In
                    a cooporative , harmonious fashion. and shall not block or IIrnasonably Interlere with accoss by others in the Project 10 their premses or loading areas.

                               D.           Common Areas - Changes. Landlord shall have the right, n the Landlord's sole discretion, Irom tJme to time, to make changes
                    to the Project. including. without ~milat ion. granting easements, making public de<lications, designating and modifying ColTlllOn Areas and crealing
                    restrictions on or about Ule Project; changing the location. size. shape and nuniler of driveways, entrances. parking spaces and the number of assigned
                    parllfng spaces proportionately if reduced or reallocated at the Project. parlling areas, loading and unloading areas, ingress, egress. dir&ction ollraffic.
                    landscaped areas, walkwa)'$ and uti~ty raceways: teff1)Orarily closing ony of Ule Common Areas for maintenance pUlJloses so long as reasonable access
                    to the Premises remains available; designating other land oulside the boundaries of the Project to be a part of the Commoll Areas: adding additional
                    buildings and improvements 10 the Conunon Areas: using th e Common AIeas white making additional impl'ovemenls, repairs or allerations to th o Project;
                    end performing such other acts and making such other changes in. to or with respect to the Common Areas and Project as l andlord may deem 10 be
                    appropriale.

                                E.           Vehicle Parking. Tenant shall be entJtled to use only the number 01 Pal1ling Spaces specified in Ihe Basic lease Provision s on
                    Ihose portions 01 the Common Areas designaled from lime 10 lime by Landlord for parKing_ Said parking spaces shall be used lor parKing by vohides no
                    larger than full· size passenger automobiles or pia-up tn.rcks, herein called "Permitted Sile Vehic les." landlord may f'e11ulale the loading and unloading
                    of vehides by adopting Rules and Regulat ion s as provid&d in this lease. No vehicles other Ihan Permitted Size Vehicles may be parKed In the Conunon
                    Area wilhout the prior written permission of landlord, The parking areas of lhe property shall be used for pal1ling 01 Permitted Size Vehides and. subject
                    to landlord's rules end regulalfoos. the loading and unloading of lrUc.ks only. The usa by Tenant of 1Il0se areas lor slofllge material (Including pallets) is
                    eXJ)fessty prohlbite<l. All material shall be stored within the Building. landlord may allocate and assign pandng spaces among Tenant and other lenants
                    in the Project if landlord reasonably determines that such pal1ling facilHies are becoming crowded. landlord shall not be responsible lor enforong TenDnt's
                    parlling rights against any third parties. In addition:

                                  (1)    Tenant shall no t permit or allow any vehicles Ih8t belong 10 or are controlled by Tenant or Tenant's efTll'Jloyees. suppliers. shippers.
                    customers. cootraCiors or inVllees to be loaded. unloaded, or pal1led in areas elher than Ihose designated by Landlord for such activities,

                                   (2)     Tenant sha9 not service or slore any vehicles in the COOlmon Areas.

                                   (3)     Tenan l shan 001 par1&: any vehicles ovemighl in Ihe Par1&:lng Spaces.lhe Common Areas, or anywhere else In the Project.

                                     (4)   If Tenant permits Olallows any ollhe prohibited actMlies desaibed in this Section. then Landlord shall have the light. without notice.
                    in addition to such other tights and remedies that It may have. to remove or tow away lIle vehicle involved and charge the co5110 Tenant, which COSI shall
                    be immediately payable upon demand by l andlord.
                    4,          Ren t.

                                A.        Ront Defined. AIly payments or cho'lles due from Tenant (otller Ihan Ihe Security Deposit) 10 Landlord hereunder sha" be conSidered
                    renl for nil purposes of this lease CRent").

                             B.      Op~rating Expenses. During each month 011he Lease Term. on the same dale thai Base Rent IS due. Tenant shaD pay landlord an
                   amoont equat to 1112 of the aMual cost. as estimated by landlord from time to lime, ofTenanfs Share of an Operating Expenses forth e Projec\. Paymenls
                   thereallor any fractional calendar month shall be prorated. The term "Operating Expenses" means all costs and expense s incurred by Landlord YoIith
                   respect 10 the ownership, maintenance.:md operaUon of Ihe Project inCluding, bul not limited to, costs of any of the following il al the Project:

                                          (I)          Costs relating to the operation. replacement. repair and maintenance, in neat, clean. good order and condition, 01 any of
                    following if incurred by landlord:

                                                    (a)       The Common Ateas and Cornmon Area Improvements. [nctuding parking areas. loading and unloading areas,
                   trash areas. road-....ays. pal\ways. walkway s. driveways, landscaped arees. bumpers. irrigation systems, Common Area lighting facdUies. fences and onles,
                   elevators. roofs. exterior wans of the buildin gs. building systems and roof drainage systems.

                                                   (b)         Exterior signs and any tenant directories.

                                                   (c)         AIly fire sprinkler systems,

                                                (d)       All olher areas and improvements that are within the exterior boundalies of the Project bul outside of the
                   Premises and/or any other space OCOJpied byalenanl.

                                         (2)       The cost 01 waler, gas, eledricily and telephone to service tile Common Areas and any     utili~es   not separately me tered

                                         (3)       The cosl of pest control serviCes, property management. sewrily service s, owne(s association dues and lees, IIIe cost to
                   repa"'t the exterior of any structures and the cost of any environmental Inspections.

                                       (4)        The cost 011rB$h disposal for any trash reeeptades located in !he Common Arens andfor available for the use 01 tenants (If
                   landlord operates the Project ... a manner such lhallenants do not diredly contract for 1I3$h collection services).

                                         (5)       Reserves set aside lor maintenance and repair of Common Areas and Common Area equipment.

                                         (6)       Any deductible portion of an insured loss concerning the Building or the Common Areas.

                                         (7)      Auditors', BCCDlIfILants' and anomeys' fees and costs related to U)e oper.ation. maintenance. repair 1100 replacement of th e
                   Project.

                                       (8)        The COSI of any capilal improvement (as opposed to maintenance, repair or replacemenls) to the Building or Ul8 Pro;ect nOI
                   eoverad under the proviSions of Section 2.C: provided, howel/Or, that landlord sha ll allocate 1he cost of lIny such capitnl Improvement ovcr tI 12 year
                   periocl and Tenant shall not be required to pay more than Tenant's Share 01 l /t44th oflhe cost of such capital improvement In any given month .

                                         (9)         The cost of any other services to be provided by Landlord that ere staled elseylhere in this lease to be a Common Alea
                   Operating Expense.
                                         (10)     AIly Real Property Tax Increase (as defined In this Sectlon below).
                                         (II)     Any Insurance Cost Increase (as dellned In this Sedlon below),

                   IU referenced in this lease. lhe term -Rea l Property Tax Increase" shall mean the Real Property T3)(es for the appicable year in excess 01 the Base
                   Real Proparty Taxes. As used herein. !he term "Base Real Property Taxes" shall be the amount of Real Property Taxes (defined In Section 10 A.I , which
                   are assessed against the Premises. BUIlding. Project or Common Areas in the Base Ye.... tn calcutaliflg Real Property Taxes lor any calend.1f year. the
                   Real Property Texes for any real estate lax year shan be included in the calCulation 01 Real Property Taxes l or such calendar year based' upon the number
                   of da)'$ v.f1ich sudt calendar year and lax year have in corMlon. Tht! "Insurance Cost tncrease~ shaN mean the Inaease In the aclual cost of the
                   InSllranca applicable to the Building andlor the Project (indudlllg any deducIJbles which are paid In connection with any filed Insurance dalms) earned by
                   landlotd pursuanl ttl Section 8A over and above the Base Premium, as hereinafter defined. calculated on an annual basis. InS4Jrance COsllnaease shall
                   include . but nOI be 6mited to. requiremen ls oIlhe holder ola mongage or deed of trust covering the Premises. Building and/or ProjecL Increased valuation
                   of the Premises, Buitding and/or Project, and/or a general premium rate tnaease . The ~Base Premium" shall be the annual premium for insllranca
                   applicabte to lIle Buik:iitlg andlor the Project carried by Landlord pursuant 10 Section 8A during the Base Year, If. however, the Project was not Insured
                   l or the entirety of such 12 month peOOcl, then the Base Premium shaft be Ihe towest annual premium reasonably obtainable for such insurance as of the
                   Occupancy Date, assuming the most nominal use possible olllle Building

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                    Ally Operating Expenses and Real Propeny Taxes thai are spocifically attributablo to !he Premises, the Building or to any other building In the Projocl Of
                    to the opera tion, repair and maintenance thereof, stulll be allocaled enlifltty to such Premises, Bu~ding. Of other building. Nolwithslandmg any contrury
                    provisioo conlained in this lease. landlord shall have the light, from lime 10 lime, to equitably allocate some Of all of the Operaling Expenses lor the
                    Project into separate COSI pools as described beloW (the "Operating Expense PoolsM). In larKllOld·s sole discretion. n any tine item(s) of Tonant's Share
                    of Operating Expenses are iflClSl'ed or aS$Cssed with respect to a portion of the Project thaI indudes the Premises but doos not Include the entire Project,
                    the denominator for the purpose of calculating Tenant'S Share o f Ihe applicable line ilem(s) of Tenanrs Share of Operating Expenses wilt be adjusl(.>d 10
                    exdude the square Iootago of the portions of the Project to which such line item(s) do not rela'e.thereby crealing separate Operating Expense Pools and
                    citreren' Tenanrs Shares with resped to each such Operating ElQ)ense Pool. Each Operating Expense Pool denominator and, consequentty. Tenan"s
                    Share, shall be subject to modiflC8tion each year Of the lease Tenn, as reasonably determined by lam:llOtd

                    VVi'hin 60 days after wrinen request (but not more than once eadl year) landlord $hall deliver 10 Tenanl a reasonably del ailetl stateroenl showing Tenan l's
                    Share of the actual Operallng Expenses for the prece ding year. If Tenanrs payments during sud! year exceed Tenanrs Share. landlord shal credit !he
                    amount of sucfl over-payment against Tenan~s fut ure payments of Operating Expenses, If Tenanrs payments during such year were less than Tenanrs
                    Share, Tenant shalt pay to landlord the amolKll 01 the defICiency within to days aner delivery by landlord to Tenant ofth., statement. Operatiog Expenses
                    shall not inClude any eXpen$Cs paid by any lenent direaty 10 Ihird parties, or as to v.iJich landlord is otherwise reimbursed by any third party, othCf" l enant.
                    or Insurance proceeds.
                                C,           Paym enl Tenan! shall pay Base Rent In the amount set forth In the Basic lease Provisions of this lease. The TOlal Amount Due
                    on lease Execution. as shav", in Section I .K, shall b& due and payable 00 tha dale hCf"aof by cashier's check. allt! Tenant promIses to pay to l andlord in
                    advance. without demend, deduction or set-ofl , monthly instaUments of Base Rani on or berorc the first day of each calend::lr monlh succeeding the
                    Commencement Date. Payments of Base Renl and estlmetad Operating EloIpenses for any fractional calendar month shall be prorated based on the
                    actual days of said monlh. All payments required to be made by Tenant to landlord hereunder (or to such Olher party as landlord may from time 10 lIme
                    speci fy in writing) shall be made by check or by Electronic Fund Tran sfor ("E Fr') of immediotoly available l aderal funds before 5:00 p.m ., PacifiC Time al
                    such pisco. as landlord may from time to time deslgnale to Tellanl in writing. The obligation of Te nant to pay Base Rent and other sums to landlord and
                    the obligaHons of landlord under this lease are independent obligations. TeMnt shall have no right at any time to abate. re<!uce , or set·off any rent due
                    hereunder except as may be expressly provided in this lease. II T enMt is delinquent in any monthty installment of Base Rent or of estimated Operating
                    €Jcpenses lor more than 5 days after the dua date, Tenanl Shall p ay 10 landloru 00 demand a late charge equal to Ihe greater 01 ten percenl ( 10%) of such
                    dehnquent sum or $1 00 . The provision for such lale charge shall be in eddidon to alt of landlord's other nghls and remedies hereunder or at taw and shall
                    not be con ~trued liS a penalty.

                               D.         Base Rent Credil NotMthstanding anything herein 10 the contrary but subject 10 Tenant not being In default and all priOl rental
                    payments having been received by landlord not later lhan the fifth (5"') of each month, the Base Rent (and only the Base Rent) for the calendar month of
                    November 201B shall be discounted by fifty percent (50%) (the - Base RenlCredit1. Tenanl understands and awees lhat the foregoing Base Renl Credit
                    Is conditioned upoo Tenanl's not being in default uoder this lease Accordingty. upon the occurrence of any default under this lease. the foregoing Bose
                    Renl Credit shall immediatety become null and void. and any Base Rent previously aedited to Tenant shall immediately become due and payable, and
                    Tenant shalf no longer receive any credit 00 account of such Base Rent Cradil.

                    5.         Security Deposit The Security Deposit shall be held by landlord as seaJrity fOf the performance of Tenan(s obligatiOns under thIs lease. II
                   Tenant fails to pay Rent. or othet'Ylise on Event of Oefaull occurs under this lease, landtora may use, apply or retain all or any portion of said Security
                   Deposit for the payment 01 any amounl already due lllfldiord. for RenlS which will be due in the future , andlor 10 reimburse or compensate landlord lor
                   any liability. expense, loss or damage which landlord may suffer or incur by reason thereof. If landlord uses or applies aU Of any portion 01 the Security
                   Ocposit, T enant $haD within 10 days after v.Titten request therefor deposit monies with landlord sufficient to restore said Security Deposil to the lull amounl
                   required by Ihis lease. If the Base Rent increases dumg the term of lhis lease. Tenant shall, upon Wlinen request from landlord, deposit additional
                   monIes wilh landlord so that the total amount of the Security Deposit Shall at allllrnes bear the same proportion to the irlcreased Base Renl as the initial
                   Securi ty Deposit bore to the initial Base Rent. Should the Pennilled Use be amended to accomffiOdata a materia! chango in the business of Tenant or to
                   accommodale 8 sublessee or assignee, landlord shan haw the righlto inaease the 5erurlty Deposit to the extellt necessary. in landlords reasonabl e
                   judgment, to account for any iocreased wear and lear that the Premises may suffer as a result thereof. landlord may use. apply or retain aU or any porllon
                   of the Se<:l.Irity Deposit (i) first. for Tenant's repair obligatloos. including withoutllmilation, the obligation 10 restore the Premises to the condition requIred
                   under thIs lease, (Ii) second,to the payment of any rent or other sum In default or lor the payment of any other sum to which Tenanl may become obligated
                   by reason of Tenanrs default. and (iii) third, to compensate landlord for any lO SS or damage which landlord may suffer \hereby. If a change In control of
                   Tenen t occurs during this lease and following such change the financial condition of Tenant is. In landlord's reasonable Judgment. significantly reduced.
                   Tenant Shall deposit such additional monies with landlord as shalf be sufficient to cause the Security Deposit to be at a commercially reasonable leval
                   bassd on such change in flllancial condition. landlord shall no t bo required to keep the SeClJrity Deposit separate from its general accounts. Wilhin 90
                   days after the eXpira tion or termination of this lease, landlord sholl retum that portion of the Security Deposit not used or applied by landlord. landlord
                   shall upon ......,nen requesl provide Tenant wi lh an accoonting showing how thaI portion of \he Security Deposit thaI was not returned was applied. No pon
                   of the Security Deposit shaH be considered to be h eld In trust, 10 baar IntCf'eSi or to be prepayment for any monies to be paid by Tenant under this lease
                   (induCing. without limitation, Base Rent). Tenant hereby waives California Civil Code Sedioo 19SO.7. and all other provisions of law. now or hereaner In
                   force. which may pro"';de lhallandlord can claim from a &eaJrity deposit only those SU'flS reasonably necessary to remedy defaults in the payment of rent ,
                   10 repair damage caused by Tenant or to dean the Prenises. it being agreed thallandJo(d may , in addition. dam those sums reasonably necessary to
                   compensate landlord lor any other loss Of damage, foreseeable or unforeseeoble, caused by the act or omissloo of Tenant or any officer. employee or
                   agent of Tenanl

                   6.         Use; Hazardoos Materials; Compliance.

                              A.           Use. Tenant shall use and occupy the Premises only lor lhe PermiUed Use (or a related legal use). and lor no other purpose.
                   Tenant shall not use or permit the use of the Premises In a manner that is unlawful, aeales damage. waste or a nuisance, or thaI disturbs oo:upants o f
                   or causes damage to neighboring premises or properties. landlord shall nol urveasonably withhold or delay Its consent 10 any wrillen request for a
                   modifK;3tion of the PermiUetl Use. so loog as the same will not impair the struchlral inlegrity of the Building or the medlan\cal or electric.ol systems therein.
                   andlor is not significantly more burdensome to the ProJect.

                              B.          Ha18rdous Materials.

                                        (I)           Reportable Uses Require Consent. Except for (a) Hazardou s Malerials contained in products used by Tenanl in de
                   minimis quantilies for ordinary cleaning and office purposes, (b) propane used In TeoMrs forldift s in Itle normal course of its business, and (C) Hazardous
                   Malerials contained in products stored and/or distributed during Tenant's nonnal course of business in their original. sealad, and unopened containers,
                    Tenan t $hall not permit or cause any pany 10 bring any Hazardous Materials upon the Premises or tfanspoll. store. use. generate. manufacture or release
                   Bny Hazardous Malerial in or about the Premises wilhou tl andlord's prior written consent. The term " EnvIronmental Requi rements" mean s all appliC<lble
                   present and luIure staMes. reguiatiollS. ordinances. rules. codes. permits. Judgmenls. orders or other similar enaelments of ::Iny govemmental authority
                   or egency regulating or relating to health. safety. or environmental conditions on, under. or about the Premises or the environment. including without
                   limitallon, th e following: the Comprehensive Environmental Response. CompcnsaUon and Liability Act; th e Resource Conservation and Recovery AeI ;
                   and all state and Iocaf counterparts thereto. and ony regulations or policies promulgated or issued thereunder. The tenn "Hazardous Materials" meons
                   and i1dudes any substance. material. waste . pollulont. or contaminant listed or defined as hazardous or toxic. under any Environmental Requirements.
                   asbestos and petroleum, including crude oil or any fraction thereof, natural gas liquids. Uquefied natrxa! gas, Of synthetic gas usable for fuel (or midures
                   of natural gas &nd such synthetic gas). As defined in EnvironmentaL Requirements, Tenant is and shaO be deemed to be the "operator" of Tenanrs
                   Mfacllity" and the Mowner" of an Halardous Materials brought on the Premises by Tenant. its agents. employees. contractors or in"';tees. atld the wastes.
                   by·products, or residues generated, resulting . or produced therefrom. No cure or grace period provided in this lease shall appty \0 Tenanrs obligations
                   to comply wilh the terms and conditions of this Sectioo.

                                        (2)        Duty to Inlonn landlord. II Tenant knows. or has reasonable cause 10 bcUeve. that a Hazardous Material has come to
                   be located In. on, under or aboutlhe Premisas. other than as PffMOUs/y consented 10 by landLord. Tenant shaD immedialely give 'Mitten notice of such
                   fact to landlord, and provide landlord with a copy of any r&port. nutica, daim or olhCf" documentation v.trich il has concemlng the presence of such
                   Hazardous Material.

                                         (3)        Tenant Remodiatlon Tenant. al its sole cost and eXpense. shall operate its business in Ihe Premises in sllia compliance
                   With an Environmental Requirements and shall investigale, mitigate and remeoia'e in a manner .satisfactory 10 landlord any Hazardous Materials introduced
                   or released on or from the Project by Teoant. its agents. employees, conlractors. SUbtenants or Invitees durino the lease Tenn. Tenant sha~ complel e
                   and certify 10 disclosure statements as requested by landlord lrom lima to lime relating to T enanl's transportation, storage, use. generalion, manufaClure

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                   or re lea se of Hazaldoos MateliaJs on the Project.
                                          (4)          Tenant Indllmnification for Hazardous Materials lind limitation ofliabUi ty. Tenan t shall indemnity, defend, and hold
                   landlOfd harmless from and against any and all losses (Indudlng, wilhout limitation. diminution in value of the Premises ()( the Project and loss of rental
                   Wlcome from the Project), daims, demands, actions, suits. damages (InCluding, withOut IitTilalion. pulliti\'6 damages). expenses (indudlng, without
                   ~tTitalion , remediation. remo'l3l, repair, corrective action, or cleanup eKpenses), and cosls (including, without limila~on, adual altomeys' fee s, consultant
                   fees or expert fees and including, without limilatlon, remo'Jai or management of any asbestos brought into the property or distumed in breach of the
                   requirements of \tIlS Section, regardle~ of -Mlether such lemav;!1 or management is required by taw) which are brought or recoverable against, or suffered
                   or incurred by landlord as a result of any release of Hazardous Materials for which Tenant Is obligated to renriate as prollided abo-..-e or any olherbreach
                   of the requirements under !his Section by Tenan!, its agents. emplOyees. c:ontraclors, sublenants, assignees orlnvitaes, reoardles.s 01 whether Tenant
                   had knowledge of sudl noncompliance. The obligations otTen ani under this Section shall suf\live any termina~on of this lease. NOlwil/'lSlanding anything
                   10 lhe contrary in this subsection. Tenant shall have no nabiijly of any kind to landlord as to Hazardous Malerials on tile Premises (I) caused by la)
                   Landlord Of its. agents, or (b) any other tenants In the Project or theIr agents, employees. conlllle(or.;.. subtenants. assignees Of in'Jllees; or Iii) present at
                   Uu~ Premises plior to the dale Tenant takes occupancy of the Promises. unless disturbed by Tenant in Violation of this Lease.

                                         (5)         Investigations and Remed iation, Landlord shan how access 10, and a righlto perform InspecUons and tests of. Ihe
                   Premises 10 determine Tenant's compliance wilh Environmental Requiremenls. its obligations under this Section. or the en"';ronmenlal condilion of the
                   Premises. Access shan be granted to landlOfd up<ln Landlord's prior notice to Tenant and al soch times so as to minirrize. so far as may be reasonable
                   underlhe circumstances. any disturbance to Tenant's operations. Suct1 inspections and tests shall be conducled at Landlord's elCpense. unless suct1
                   inspections Of te sts reveal that Tenant has not complied wilh any Environmenta! Requlremenl, in which case Tenant shall reimburse landlord for th e
                   reasonable cost of such inspection and tests. Landlord'S receipt of or salisfactlon with any environmental assessment In no way waives any rights Ihat
                   Landlord holds against Tenant. In addition. Tenant shall provid e to landlorn copies of all malenal sa fety data sheels (MSDS) for Hazardous Materials
                   used. handled. stored or oeneraled atlhe Premises prior to the Commencemen t Da te, wi th regular updates il al1d wh en necessary to rencct cu rrent use.
                   handling, slorage or generation.
                                           (6)       landlord Termination OpUon. If a condilion involVing lhe presence 01. or a con taminalion by, a HazardOUS Material at
                   the Premises thai requires remediation (a -Hazardous Matllrial Condltlon-) occur.;. or Is disco'Jered during the lease Term and Is not Tenanrs
                   responsibility under this lease Of the l egat Requirements (in whidl case Tenan t shall make the Investigation and remediation Ihereof required by this
                   Leasa andlor the Legal Requirements and th is lease shall ccntlnue In full lorce and effee(, but SUbject to Landlord's rights under Section 6.B(4) and
                   Section 9). and if landlord elects to ral'TlC<lial e suct1 condition and lhe estimated costlhcrefOf elCcceds 12 times the lhen monthly Base Rent or $100.000.
                   whlche...er is less, l andlord may. 3llandlord's sole discretion. gi-ve wnllen notice to Tenant of Landlord's des/re to terminate this lease as of the date 60
                   days follOwing the date of suCh notice. In the e\'6nl landiord elecls to gl\'6 a termination notice, Tenant may. within to days Ihereatler. give written notice
                   to landlOfd of Tenant's commitment to pay the amount by which the cost of the remediation of such Hazardous Material Coodition elCceeds an amount
                   equat to 12 times the then monthty Base Rent or $HlO,OOO, whichever is less. Tenant shall provide landlord with said lunds or saUsfOClory aSSlJl'ance
                   \hereof within 30 days follOwing such commitmenL In such evenl. Ihis lease shan continue in fun force and effect, and landlord shaH proceed to make
                   such remed'Kltion as soon as reasonably po$ible aner the required funds a.a availab1a. llTenant does not gNe such nolice and provide the required funds
                   or assurance thereof within the lime provided, ttris lease shalllerminate as of ttre data specified in landJor\fs notiCe of lermination.
                                C.           Tenant's Complianco with l egal Requirements . Except as oUle1Wise proYided in this l ease. Tenant shall, 81 Tenant's sole
                   e)lpense and regardless of the cost therefor or the time remaining on the Lease Term. fully. diligently and in a limely manner. materia"y comply with aU
                   legal Requlremenls. the requirements of any applicable fire Insurance underwriter or reting bureau, and the recommendations of Landlord's engineers
                   and/or conSultants which relate in any manner 10 the Premises, withoul regard to whether said Legal Requ irements ace now in effect or become ertoctive
                   after the date of this Lease. Tenant shalJ. ....;thin 10 days aller receipt 01 Landlortt"s ....Tilten raqu esl, provide LandlOfd \.,.;th copies 01 all permits. licenses
                   (lnd1..lding but not rllTlited to a valid business license) and other documents, and lither information e'lidenting Tenanrs compliance with any legal
                   Requirements specified by landlord. and shall Immediately upon receipt. notify l..,dlort! In writing (...lith copies of any documents in'JOtved) of any
                   threatened or aclual daim, notice. citation. warning. complaint or .epon pertainIng to Of involving the !anure onenant or the Premises to comply with any
                   legal Requirements. likewise, Tenant shall irrvnediately giYO wrillen notice to landlord of: (I) any water damage to the Premi ses and any suspected
                   seepage, pooling, dampness 0( other condition conduci'Je to the production of mold; or (Ii) any must ness or other odors that might hldtcate lhe presence
                   of mold In the Premisss.
                             D,          Inspec tion; Compliance. Landlord and landlord's "lende." las del1ned In Sedion 29) and col1!ilJl tants shall have the right to enter
                  InlO the Premises at any time. in the case of an emergency, and otherwise at reasonable times after reasonable notice, for th e purpose of inspecting the
                  conditioo of the Premises and for verifying compliance by Tenant with this l ease The cost of any such inspeclions shall be paid by Landlord, unl6ss a
                  violation of Legal Requirements or Environmental Requirements. Is found to exist or be imminent. or the inspeclion is requested or ordered by a
                  go\'Cmmentai authority. In such case. Tenant shall upon request reimburse Landlord for the cost of suct1 Inspeclion. so long as such inspedion is
                  reasonably related to the violation or conlaminalion.
                   7,         Maintonance; Repairs; Trade FI)l tures and Tenant,Made Alterations.

                             A.            Tenant'~   Obligatio ns.
                                                {II         In General. Subject to the prollisionsof Sections 2.S. (Coodilion). 2.C. (Compliance), 6.C. (Tenant's Comp~ance
                  with legal Requirements), 7 .B. (l andlord's Obligations), 9 (Damage or Destruction). and 14 (Condemnation). Tenant Shall. at Tenant's sole elCPCnse. keep
                  the Premise..s and Tenant·Made Alterations in good order. cond;~on and repair induding, but not limited to. aU equipment Of facilities, such as plumbing .
                  HVAC equipmenL electrical. lighting fadfllies. boilers, pressure vessel s, fudures. Interior walls. inleoor surfaces of elCteriorwans, ceifmgs. nOOlS, windows,
                  doors. plate glass. loading doors and skylights but elCduding any items whict1 are the responsibility of land\o(d pursuant to Section 7.0. Tenant. in keeping
                  Ihe Premises in good order. condition IJnd repair, ahal exerdse and perform good maintenance practices. specifically includIng the procurerneol and
                  maintenance of the service contracts below. Tenant's obligellons shall indude restorations, replacements or rcnewals VJhen necessary to kaep the
                  Premises and aU improvements thereon Of a par1thereof In 900d oo:ler, condi~on and slate of repair.
                                               (2)         Service Contracts. Tenant shall, at Te03nl's sole elCpense. procure and maintain contracts. with copies to
                  Landlord. In customary form and substance for HVAC equipment. boiler and pressure wssels. clarffiels, janltOf1al and trastJ removal services, and wilh
                  qualificd and experienced contractors. Howe...er, landlord rcSCI'\'CS the right upon notiCe to Tenant. to procure and maintain any or ail of such selYlcc
                  contracts. lind Tenant shan reimburse Landlord, upoo demand, lor lite cost thareof. The contrna for HVAC maintenance shail be performed by a licensed
                  and qua!lfied HVAC COfItractor, and a copy of ttie contraa must be prollided to landlord upoo oCOJpancy of th e Premises. Tho service contract must
                  become effective wi thin 30 days of occupancy. and service visi ts sholl be performed on a quarterty basis.

                                              (3)            Falluro to Perform . If Tenant falls to perform Tenant's obligations under 1111s Saclion. Landlord may en ter upon
                  the Premises after to days' prior written notice to Tenant (except in trle case olan emergency, In whict1 case no nolice shaU be required), perform such
                  Obligations on Tenant's behalf. and pu t the Premises in good order. condition and repair. and Tenant shall prompUy pay to Landlo.d a sum equal to 11 5%
                  of the cos t Iflereof.

                              B.          Landlord's Obligations. Subject to the prollisions of Sections 2A (Condition), 2.C. (Compliance), -4.B. (Operallng Expenses). 6
                  (Use), 7A (Tenant's Obligations), 9 (Damage or Destruction) and 14 (Condemnation), Landlorn shan, subject 10 reimbursement pursuant 10 Sadlon 4.0 ..
                  keep In good order. condition and repair the fo undations, st,uclu", t elements of the elClelior wans. slructurat con-dWc-n of interior bearing walls. extertOf
                  rOOf. fira sprinklec syslem (exduding fire sprinkler systems. if any. irlstalled by or on behalf of Tenant, for which Tenant shall ba responsible). Common
                  Area fire alarm andlor smoke detection systems, fire hydrants. parlting loi s. walkways, parxways, driwways. landscapirlg, fences. signs and utility systems
                  serving the Common Areas and all parts thereof. landlord shan not be obligated to paint Ihe exterior or interior surfaces of exterior walls nor shall Landlord
                  ba obUgaled to maintain, fepair Of replace windows, door.;. or plate glass of the Premises, Tenant axpressly waives the benefit of any statute now or
                  hereafter in affect to the extent II is inconsistent with the. terms 01 this lease, Including. withou1limitalion, Cafflomie Cillil Code Sections 194t and 1942,
                  lind any other statute proViding a right to make repairs and deductlhe cos!thBleof from the lenl.

                            C.            Tenant·Made AlteraUons; Trade Fixtu res. My alterations. additions. or impro-..ements made by or on behalf of Tenan! to the
                  p.emises rTenan t-Mado Alterations"), ....n.ch are intanor, non·slNdurat Ter.ant-Macle Alterations shall be subjec! to landlord's poor written consent.
                  IlOilO be unreasooably withheld, delayed or conditioned provided thot such alterotioo does not materially affect the Slructure or the roof 01 the Building.
                  modify the exterior of the Building, or modify the utility or mect1anical systems of the Project. Tenanl shatl have the right to perform intorior-, non-suuclural
                  Tenant-Mada Alterations whrct1 costleSSlhan $5,000 per Alleration without obtaining Landlord's prior wrinen consen t, by providing a written notlCO 01 such
                  Tenant·Made Alterations Ie Landlord conlainmg sulfrdent and complete information regarding such Tenant,Made Allemtions. provided that such aJtera~on

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                   does not materially affect the structure or the roof of the Building, modify the exterior of the Builcing, Of modify the u1ility or mechanicat systems of the
                   Bulldil'lQ. Tenant shan not perfOOTl structural Tenant·Made AlteratKllls.,lithout Landlord's pnorwritlen consent. whim cvnsent may be withheld IfIlandlOfd's
                   sole and absolule diSCfetion. Tenant shan give landlord not tess than 10 days' notice priOf 10 the commencement 01 any work in, on or about the Premises.
                   Tenant shaJl cause. at its expense. an Tenaot·Made Alterations to comply with insurance requirements and .....ith legal Requirements and shall construct
                   at its expense any alteration or modification required by legal Requirements as a result of any Tenant-Made Allerations . All Tenant·Made Alterations
                   shall be CVllslructed in a good and won:man~ke manner by contradors reasonably acceplable to landlord and only go()(f gmdes of malerkils shaN be
                   used. All plans and speeirlcations for any Tenllnt·Made Alleratlons shaD be submiued 10 landlom for Us approval. landlord may monitor construclion 01
                   the Tenant· Made Alterations. Tenanl sha) reimbul'$C landlord lor its costs .... reviewing plans and specifICations anclln monilomg construction. landlon:l's
                   right 10 review plans and specfications and to monilor construclion shan be solely lor its own benefit, ;lnd landlord Shall have no duty to see thai such
                   plans and specifICations or construction co ..np~ with applicable laws. codes. rules and regulations. Tenant shall provide landlOfd with the identities nnd
                   mailing addresses of all persons performing worlt or supplying malerials, priOf to beginning such construction, and Landlord may post on and ebout the
                   Premises notices of non-resportSlbmly pursuent to IIpplicable legal Requirements. Tenanl shall fumish security or make other arrangements satisfactory
                   to LandlOrd to assure payment for the COffll!etion of al work free and dear of liens and shall provide certificates 01 insumnco fOf Vlorlter's compensalion
                   and other coverage In amounts and from an insurance company sa~slactory 10 Landlord protecting Landlord against tiability for pe~onat injury 0( property
                   damage during construdion. For work which costs an amount in excess of one month's Base Rent. Landlord m"y condition I1s consent upon Tenant
                   providing a lien and completion bond in an amount equal 10 150% of Ifle estimated COSt of such Tenant_Made Alteration and/or upon Tenanrs posting an
                   additional Secunty Deposit with Landlord. Upon completion of any Tenant· Made N l emlion,. Ten"nt shaU dellver to Landlord S'M)m sUliemcnts se11ing
                   forth the names of all cvntrlldOfS and subconlmctors who did worlt" on Ule Tenant·Made Allera~ons and final lien waivers from all such contractors (lnd
                   subcontraclOrs. Upon surrender of the Premises. all Tenanl· Made Allemtions and any leasehOld improvement s constructed by Landlord or Tenant SIHIIi
                   remain on the Promises as LBfldlord's property. excepl to the extent landlord requires removal at Tenant's expense of any such items or landlord ond
                   Tenant have otherwise agreed in writing in connection wilh l andlord's cvn scnt to any Tenant·Made Altera~ons . Tenanl Shall repair any damage caused
                   by the removal of such Tenant,Made Alleratlons upon surrender of the PremIses. Tenant. at its own cost and expense and wilhout landlord's prior
                   approval, may ered such shelves, racking, bins. machinery and tmde fIXtures (coUec\lvely "Trad/! Fillturos") in the Ofdinaryeourse of its business provided
                   that such Ilems do nol aller the basic character 01 the Premises, do not overload or damage U\e Premises. and may be removed without injury to the
                   Premises, and Ule construction. erection, and inslallation thereof complies vlith all Legal Requirements and with landlord's requlremenls set forth above.
                   Tenan t sh<111 remove its Trode Fixtures and shall rcpair any damage caused by such removal upon surrender of th e Premises.

                                        (I)      LIens: Bonds. Tenant has no express or implied authority 10 create Of place any lien or encumbrance of any kind upon, or
                   in any manner to bind \he interest of Landlord or Tenant in. the Premises or to charge the rentats payable hereunder lor any dairn in favor of any person
                   dealing with Tenant. ineluding those v.i10 may furnish materials or perform labor for any construction Of repairs. Tenant covenanlS and agrees that It WItt
                   payor cause to be paid all sums legany due and payable by II ()(\ eectlunt of any labor perfonned or maleriel! furnished in connection with any worlt"
                   performed on !he Premises and that it .,';11 save and hotd landlord harmless from all loss. cos t or expense based on or arising out of asserted dllims or
                   .an5 against the leasehold estate Of against the interest of LandlOl'd In the Premises 01' under lhis Lease. Tenant shall give landlord immediale wrillen
                   notice of the placing of any ~en or encumbrance against the Premises and cause such lien or enaJmbrance 10 be discharged within 20 days of the filing
                   Of ntGOfding thereof, pt'ovided. however. Tenant may contest such liens or encumbrances as long as such contesl prevents loredosu-e or the hm or
                   enOJmbrance and Tenant causcs such lieo or enctJmbrance to be bonded or insured over in a manner satisfac10ry to landlord within such 20 day period.
                                         (2)       Surrend~r: RostoraUon . Upon termination of the lease Term or earlier te rmnalion ofTenanl's righl of possession. Tenant
                   shall surrender Ihe Premises to LandlOfd in the same condltion as received ("";th all Tenanl-Made Nterations (UdJdlng, without limitation, noy lnillal
                   Tenant·Made Alterations), i'nprovemenls and Trade Fixtures remov~ except as otherwise expressly agreed in writing by landlord) ordinary w ear and
                   tear, casualty loss and condellTlatian covered by Sedions 9 and 14 excepled and othCf\'Jse in accordaOCt' with this Section. 'Mthoutllmiting the foregoing ,
                   Tenanl shall remove any odor which may exist lothe Premises resulting from Tenanfs occupancy 01 the Premises upon the termination of the lease Term
                   Of eartier termination of Tenanfs right of po!>Session. My Trade Fixtures. Tenant·Made Allerations and property not so removed by Tenant as permitted
                   or required herein shall be deemed abandoned and may be stored. removed. and disposed of by Landlon:l at Tenanrs expense, and Tenant waives all
                   claims against landlord for any damages resuning from landlord's retention and disposition o f such property. All obligations of Tenan t hereunder not fully
                  periormed as of the termination of the lease Term shall survive the termination of the Lease Term. induding .,.,;thoullimitatioll. indemni~ obligation s.
                  payment obligations with respect to Operating Expenses aM all obligalions concerning the condition and repair of the Premises. 'Mttlouilimiting Tenan!"s
                   obligations under the lease. Tenant acknowledges that It stJel! hovo the offirmatlve obligation to remove 1111 racking and lIoor striping from the Premises
                   by or before the expiration or earlier termination of Ihe Lease Term. As guidance to Ille parties. removat 01 the aforementioned racking shall include,
                  without WmitaUon, removal o f Ule bolls in concrete associated therewith, all o f which cut !lush at the surface and pushed Into the concrete one inch or moro
                   below the slab. Tenanl shalt dean all resulting holes and shall fill the $Ome with epoxy !lush to the floor's surface. Tenant understands thai the hotes
                  crea ted lor any anchor botts placed by or 0/1 behalf of Tenant must be drilled one inch deeper than the lenglh of the anchor bolls Ihemselves to permit
                  removat in th e manner provided above. Furthermore,lfTenanl places (or causes 10 be placed) any nocr striping in Ihe Premises. th en following r&mOval
                  of any such I100r striping (i) there shall be no residual staining Of oth(!r indica~on that such striping existed and (ii) Tenant musl re-seel the "cor with a
                  sealant reasonably acceptable to Landlord. If Tenant elects to stripe the ftoor of \he Premises. then Tenanl shall utBize a noor striping material which can
                  be removed and v.i1ich wi. nol permeate into the noomg. The foregoing does not constitute landlon:l's consent to Tenanrs placement of any radling
                  and/or ftoor striping In the Premises, which placement shan be governed by the provision 01 the lease. Additionatly, withoul ~miting Tensnrs obllga~ons
                  under the lease, Tenant acknowledges Hlat it shall hove the affllTTlative obligation to cause alf OffICe, warehouse. emergency and exit lights to be rutly
                  operational with all bulbs and batlasls functioning: all truck doors, service doors, roll up doors and dock. levelers serviced and placed in good operating
                  order (including replacement of any dented trudl door panels and adjustmenl of doO( tension 10 Insure proper operation. with all door panels that have
                  been replaced painted to match the building slandard): dock sealsJdock bumpers 10 be free of tears and broken backboards: all strudural steel columns
                  in the warehouse and office to be [nspeded for damage. ~th repairs of this nature pre·approved by landton:l prior to implementation; sheelf'Odl (df)'W'all)
                  damage to be patched and fire-taped so lhillthere are no holes in either office or warehouse; wah, carpet and vinyl Ilkls 10 be in a dean conditioo without
                  any holes or d\ips in them (Landlord v,;W accept nannal wear on these ilems provided they appear to be in a maintained condition): any Tenant·installed
                  equipment to be removed from the roof and roof penetrations properly repaired by licensed roofing contsactor approved by landlord: all elderior signs 10
                  be removed and holes patched and paint touched-up as neces$Ory; HVAC systems to be placed in good WOftiog order. lneMflng the necessary
                  reptacement 01 any pans 10 return the unit to a wetl maintained condition: and all etectrical and ptumbing equipment to be returned in good condition and


                  ..
                  repair and conforming to code.



                             A
                                  Insurance : Indemnity .
                                          Landlord's Insurance l andlOfd shall mllintain 1111 risk Of" special fOIlTl property irlsumnce coveting Ihe lull replacement oost of the
                  Building. or tile amount required by any Lender (as defined in Section 29). and cornrnerclalgenerat liabi~ty insurance on the Project and rent loS! Insurance
                  for one year wilh an extended period of indemni~ for an additionel l BO days, an in forms Bnd emounts customary for properties substantially Similar to the
                  Project, subject to customary dedudibles_ If available and commercially appropria te such property insurance policy or policies shan Insure againsl all lisks
                  of direct physical loss or damage. including coverage for debris removal and Ihe enforcement of any legal Requffements requiring the upgrading,
                  demolitlon. reconstrud.ion or replacement of any portion of Ihe Premises as the result o f 8 covered loss, Landlord may. but is not obligated to. maintain
                  such other Insurance and additional coverages as it may deem necessary, inctuding. bUI not limited to earthquake insurance. All suCh Insurance costs
                  shall be inciuded as part of the Operating EJtpenses charged to Tenant. The Project or Building may be incltJded in 0 blanket policy (in which case the
                  cost of lOch insurance allocable to the Projed Of Building will be determined by landtord based upon the tolal insurance cost caIClJlaUons). Tenant shall
                  also reimbur se landlord 10( any increased premiums Of additional insurance which landlord reasonably deems necessary as a result of Tenanrs use of
                  the Premises. Tenant snail not be named as an additional insured VI such pollees. landlord shaD not be required to insure Tenanrs improvements.
                  property. Trade Fixtures or Tenant--t-.-lade Alterations

                               O.           Tenant's Insurance. Tenant. at its expense. shan maintain during lhe lease Term the follow:ng inwrance. at Tenant's sole cost
                  and expense: (1 ) cofT"fflerdal generaillabitity insurance (and. if necessary. commerdal excess ijability insumnce) app~cable to the Premises and its
                  appurtenances providing a minimum combined singte limit of not less tlmn $2.000,000 per occurrence with an annual aggregate of not less than
                  $2,000.000: and if Tenant stOfes property of others lor a lee, Tenant shall maintain warehouse operato(s legal liaba:ty insurance fO( the full value of the
                  property of such CUStOITlCfS as determned by Ihe warehouso contract between Tenanl and its customer, (2) all risk or special form propef1y insurance
                  covering the full replacement cost of an property, Tonanl·Made AlteraUons. Trad e Fixtures, and improvements instabed or placed In the Premises by
                  Tenant wilh a deductible nol 10 exceed $1.000 peroccurrenee (unless otherwise agreed .... wriling by landlord): (3) business interruption insurance wllh a
                  limit of liabitlty represen ting loss of at least approxtmately 6 months 01 income; (<I) worIc.e~· compensation insurance as required by !he state in which th e
                  Prem-sas is located and .... amounts as may be required by appticable statute; (5) employers liability insurance of at least $ 1,000,000: and (6) business
                  automobile lilIbitity insurance (and, if necessary. COflYTlCrciat excess Habi~ty .... surance) hllving a combined singte limH of not less lhan S2.OO0.OOO per
                  accident Insuring Tenant against tlability arislflg out of the ownership mainlenance or use of any owned. hired or nonowned automobiles. Sf.lch poliaes
                  shall be for a term of at leasl one year. or the lenglh of the remaining t&n1l of this Lease. whiche-..er is less. Any company writing any ofTenant's insurance
                                                                                         Page 6 of 17



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                     shaJl have an AM. Best rating of nolless than A-VlI Qnd the generaillabilily policy shall be endorsed 10 provide primary and noncontributory coverage 10
                     landlord (any poijcy issued 10 Laoolord providing duplicato or similar coverag e shall be deemed excess over Tenant's policies). All commercial general
                    liab[lily and. if applicable. warehouse operalo(s leg3llia b~iry insurnnce policies shall name Tenanl as a named insured and Landlord. its propefty manager,
                    eM other designees of Landlord as the interesl of soctl designees shall appear, as additional Insureds. The policy shall nol COfIlain any inlfll-inSllroo
                    cxdusions as between insured persons or organizations. but shall inelude (a) 8 wa iver of subrogation endorsement and (b) covemge for liobnily assumed
                    under this Lea se as an -Insured contract~ for the perfonnance of Tenant's Indemnity obligadons under this Lease. If the generalllabi'iry Insurnnce conlains
                    a general aggregate limit, il shaltapp/y separa tely to this Premiscs. l he limits ond types of ini>Urance maintained by Tenant shall not timit lenant's IlabiUty
                    under this Lease. T enanl shaD provide landlord Wlth certifICates of such insuraflCe (including copies of all required endofsements) as ,equired under this
                    Lease prior to the eanler to OCOJ( of the Commencement Onte or the date Tenant 15 provided with possession of !he Premises, and thereafter upon
                    renewals at least 10 days prior to the e:o:piratiOfl of the InSllrance coverage . Aceeplance by landlord of delivery 01 any certificates o f Insurance does not
                    cooslituto approvat or agreement by Landlord thatlhe insUfance roquirements 01 this section have been mel. and failure of Landlord to identify a defICiency
                    from evidence proVIded wi~ not be construed as a waiver ot Tenant's obligaHon to maintain such insurnnce. In Ih<! event any of tha insurance policies
                    required to be corried by Tll11ant under this Lease shall be cancelled prior 10 tho e:o:piration date 01 such poliCY. or it Tenant receives nolke of any
                    concellation of such insurance policies frolllihe insurer prilx 10 the e.qlirillion date of such policy. Tenant shall: (a) immedaately deliver notice to Landlord
                    that such Insurance has been. or 15 to be. cancolled. (b) Shall promptly replace such Insurance policy in oroer to assure 00 lapse 01 coverage shaDocOoJr.
                    and (e) shall deliver to landlord a certificate of insuranco (Including copies of all required endorsements) for such replacement policy. The insurance
                    required 10 be maintained by Tenant hereunder are only landlord's minimum Insurance requirements and Tenant agroes and understands that such
                    insurance requirements may not be suffICient to fully moet Tenan t's Insurance needs.

                              C.           Waiver of Subrogation. Wlthoul atleding any other rights or remedies, Tenant and Lt'mdlord each hereby release and reliev!) the
                    olher, and waive their entire right to recover damages !lgainst the other. for loss of or damage to its property arising out 01 or inciden t to lhe peril s required
                    10 be Insured agllinst herein. The effect of such reloases and walV6rs Is oot limitod by Ihe amount of insurance carried or required. or by any deduclibjes
                    applicable hereto (except as otherwise expressly se t forth In Ihls Lease). TIle Parties agree 10 have their respective property damago Insurance carriers
                    waive any right to subrogation that such companies may ha\l1l against landlord or Tenant. as the case may bo oso long as the insurance is not in validat ed
                    thereby.

                              D.          Indemnity. Exceptio the e:o:tent of LBIlIJlonf's gloss nellligence or willful misconducl. Tenanl shall indemnify. protect, defend and
                    hold hannless Ihe Premises. Landlord and its agents. landlord's ITl3ster or ground Landlord. partners and Lenders. from and against any ond all daims.
                    loss of renls andlor damages. Hens, judgments. penalties, attorneys' and consultan ts' fees. elfpenses and/or liabilities arising out of, involving. or in
                    connection with. the use andlor OCOJpancy of the P, emises by Tenanl tf any scdon Of proceeding is brought against Landlord by reason of any of the
                    foregoing mailers. Tenanl shall upon notice detend the same at Tenant's e:o:pcnse by counsel reasonably sa~sfadory to Landlord and Landlord sholl
                    cooperate 'Nilh Tenant in such defense. landlord need not have first p81d any such claim In order to be defended or indemnified.

                                E.          EXempl ion of land lord and its Agents rrom LJ,lbltily. Notwithstanding the negligence {including. without limitation. gross
                    negligence} or breach of lhis Lease by landJoro or its agents. neither LandlOfd nor its agents shall be liable ~er any circumstances !pursuant to any
                    legal or equitable remedy) for: (i) injury or damage to the person or goods. wares . merchandise or other property of Tenan t. Tenanrs efIl)loyoes,
                    contractors. Invitees, customers. or any other perSOfl in 0' about the Premises. whether such damage or injury is caused by or results from fire, steam.
                    eleclrlcity. gas. water or rain. Indoor aiTquality. the presence of mold or from Ihe breakage, leakage. obstrudion or other defeds of pipes. fire sprinklers.
                    wires, appliances, plumbing. HVAC or lighting fixtures . or from any other cause . v.tIether the said injury or damage results from conditIOns arising upon
                    the Premises or upon oltter portions of the BuUding. or from othel SOIJfCOS or places. (it) any damages arising from any act or neglect of any other tenant
                    of landlord or from the fai/LJ(8 o f Laru:flord or its agents to enforce the p(ovisions of any other lease in the Project. (iii) in~ry to Tenant's business or for any
                    loss of income or profit therefrom. or (Iv) consequential or punitive domages. Instead, it is intended that Tenant's solo recoursa In the event of such
                    damages or injury be 10 file a daim on the insurance policy(ies) thllt Tenant Is required to maintain pursuant to the provisiOfls of this Section.

                             F.         Fa ilure to Provido Insurance. Tenant acJmowlcdges that any failure on ils part to obtain or maintain the insurance required herein
                   will e~ose Landlord to risks and poteoUaJly cause landlord to IflOJr costs nol contemplated by this lease. the e:o:lent of whictl will be extremely difficult to
                   asceMain. If Tenant shall fall 10 procure and mainla!n the insurance requi,ed to be calTied by It. Landlord may. but shall not be required 10. procure and
                   maintain the same. and Tenant shall prompUy pay to landlord a sum equat to t15% of the cost thareof.

                             G.         Insurance for Vendors. All vendors. movers and contractors engaged by or on behalf of Tenant to perform worll in or about the
                   Premises shall deliver proof of insurance to Landlord before said person or entity will be permitted to commeflCe               won...
                                                                                                                                        v.tIich insurance must name
                   Landlord as an addi~onal insured thereunder and be otherwise reasonably acceptable to Landlord.

                   9                Damage or Destruction

                                A.          Restoration. If at any time during the Lease Tenn th e Premises are damaged by a fire or other casualty covered by insurance
                    carried by Landlord. Landlord shall notify Tenant within 60 days atler such damage as to the amount of time Landlord reasonably estimates n will ta ke to
                    restore the Premises. If the restoration time is estimated 10 e:o:cced t2 mOflths from the casualty date or if Landlord is unable to obtain the necessary
                    permits (or restoratiOfl within 6 months from the casualty date (a "Premises Total Destruction"). either l andlord or Tenant may IIlect to terminale this
                    lease upon noUce 10 the other party given no la ter than 30 days attCf landlord's notice: proviCSed. however, if the damage or destruction was caused by
                    the gross negligence or willful misconduct of Tenan t, Landlord shan have Itte right to recover landkwd's damages from Tenant, elfcept as provided in
                    $edion S.C .. and Tenant shan have no right 10 terminate this Lellse. If neither pafty eleds to terminate this Leise or if landlord estimates Ihat resloration
                   v.il take 12 months or less. then. subjed to receipt of suffICIen t insurance proceeds, landlon:1 sltaB d~igently pursue the necessary pe'fTlIls and promplly
                    restore the Premses excluding Trade Fixtures and the improvements installed by Tenanl or by Landlord and paid by Tenant. subjedto delaY' ariSIng
                    from !he cofledioo of insurance proceeds or from Force Majeure events (as defmed in Sedion 48). Tenant at Tenant's expense sholf prompUy perfonn.
                    subjed to delays arising from the collection of Insurance proceeds. or from Force Majeure events. all repairs or restoration not required to be done by
                    Landtord end shell promptly re-enter the Premises and commence doing business in accordance with this Lease. Notwithstanding the foregoif'H;j . either
                   party may tenninate lhis lease if the Premises are damaged during the last 6 moodlS of the Leese Term and Landlord reasonably estimates thaI It will
                    take mora than one month 10 repair such damage. Notwithstanding the foregoing. If Tenant at that time Itas an exercisable option to a)(\eOO Ittis lease,
                    then Tenant may preserve this Lease by e:o:erdsing such option and providing Landlord with any shortage in insurance proceeds (o r adequate a~flCe
                    thereof) needed to make lhe rep airs within 10 days after Tenant's receipt of Landlord's written notice purportIng to terminate this lease. Base Renl and
                   Operating E~penses shan be abated for the period of repair and restoration of an insured casuatly coiTUflencing on the date of such casualty event in the
                   proportion which the area of the Premi ses. if any. v.tIich is not usablo by Tenant bears to the total area of the Premises Such abalementshaU be the sole
                   remedy of Tenant. and except as provided herein. Tenan t waives any "ghlto tenTlina te the lease by reason of damage or casualty loss, Including "";thout
                   limitation those available under Califomia Civil Code Sections 1932 and 1933(4). Notwithstanding anything contained in !he lease to tho contrary. to the
                   e:o:ten t the damage to Ihe Projed is lIttnbutable to Tenant. Tenant sha ll pey to Landlord with respect 10 any damage to the Project an amount of th e
                   commerciall y reasonable deductible under landlord's Insurance policy. not to exceed $ 10.000.00. "";thin 30 days aner prasentment of Landlord's InllOlce .

                                   B.      Partial Damage - Uninsurod L oss. If at any time during the Lease Tenn the Premises are damaQed by a casualty Ihat is not
                   covered by insurance carT1eG by l3I1dlortl and Landlord estimates that the re storation Hmo is estimated to be 12 mOflths or tess from the casually da te
                   ("Premises Partial Oamaga"). unless caused by II negligent or willfut act of Tenan t (in which even t Tenant sltaO make Ihe repa irs at Tenanl's e:o:pense).
                   landlord may either: (i) repair such damoge as 500n as reasonably possible allandlOfd's expense (subject 10 reimbursement pursuant to the Operal ing
                   Expenses provisions). in wtlich event this lease shall continue In (ull force and effed. or (II) termlnale this Lease by giving written notice 10 Tenont within
                   30 daY' aller receipt by landlord of kllOWfedge of the occurrence of such uninsured Premises Partial Damage. Such lerminatlon sheU be effective 60 days
                   fonowing the date of such notice. In the evenllandlord elads to terminate thls lease. Tenant shari have the right within 10 days atler receipt of the
                   tenninallon notice to give written notice to Landlord of Tenant's ctlmmltment to pay for Ihe repair of such damage wilhout reimbursement from landtolll .
                   Tenant shall provide l andlord with said funcls or sa tisfactory assurance the reof within 30 days after making such commitment. In such event this l ease
                   shatt conUrue in full force and effecl. and l andlord sha n proceed to make such re pairs as soon as reasonably possible after the required funds are
                   available . If Tenant does not make the required commitment. thIS lease shall terminate as of the date speciflCd in the termination noltce. Premises Partial
                   Damage due 10 flood Ot earthquake shan be subjed to this S\rbsection. notwithstanding that there may be some insurance coverage . but the net proceeds
                   of any sUCh insurance shaD be made avaltable for the repairs if made by either landlord or Tenant.

                   to.          Real Property Tues.

                              A           Real Property Tax es. As used herein. the lenn "Relll Property Tues" shall include any lorm of asse ssment. real e state. general.
                   special. ordinary or extraOfdlnary. or rental tevy or lax (other than Inheritance . personal income or estate taxes): mprovement bond: andlor !icensa fee
                   imposed upon or levied against any legal or equilable inlersst of Land:ord In the Proj9CI. Landlord'S righllo other i1corne therefrom. andJor LandlO":!'s

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                    busine ss of leaslng, by any authority having the (lirect or indirect power 10 lax and where the lunds are generaled wilh relerenco to the Project address_
                    TIle term "Real Property Taxes" shall elso iodude any tax. fee. levy, assess.rnent or charge. or any increase therein : (i) nvosed by reason 01 events
                    occurrinll during the term of Ihis lease. indl.lding but ooilimiled 10, a dlanye in the O'Mlerstup o f the ProJect. (iil a dlange in the Improvell'M!nts !hereon.
                    Bnd/or (iii) tevied or asse~ 00 machinery or equipment plollided by Landlord \0 Tenant pUfSuanlto this lease.

                              B.         Payment of Taxes. Except as otherwise prollided In Section t o.C., Landlord shan pay the Real Property Taxes applicable                 to   th e
                    Projed. and said payments shaU be ioclod ed in the alloJiation of Operallng EJ:penses in oc:cordance with the pflMsions of Secslon 4.B.

                                C.            Additional Improvements. Operating Expenses shall not Indude Real Property Ta)(cs specificd In the tax assessor's records and
                    werle sheets as being caused by additional Improvements placed upon the Project by other teMnts IX by LandJOfd for the e)(clusive enjoyment of such
                    other tenants. Noi'MthslandlOg Section 10.B. hereof, Tenant shall. however. pay to Landlord at the till'M! Operating Expenses are payable under Seclion
                    4.B .. the entirety o f enyincrellse in Real Property Ta)(es if assesse<l 501et)' by reason 01 Tenant·Made Alterations. Trade Fixtures placed upon the Prerrises
                    by Tenant or al Tenant's request or by reason 01 any ailerations or Improvements to the Premises made by landlord subsequenlto lIle 8)(8cution 01 thi s
                    Lease by lhe Parties.

                              D.          Joint Assessment If the Building is nOI separately assessed. Real Property Taxes allocaled to the Building shall be an equitable
                    proportion ollhe Real Property Taxes for all of the land and improvements Included within lhe \<Ix pa~1 assessed, such proportion to be determined by
                    landlord from lIle respeClive valuations assigned in the assessor's worle sheets or such other information as may be reasonably avanablo. landlord's
                    rea sonable detormination thereol shall be conclUSive .

                                E.          Person al Property Taxes. Tenant shall pay prior 10 delinquency all taJes assessed againsl and levied upon Tenant-Made
                    Allera tlons. Trade Fixtures. furnishings. equipment and all pO~OI"Ial property 01 Tenant conlained in the Premises. When possible. Tenanl shall cause its
                    Tenan l·Made A1teralions, Trade Fi)(lures. furnishlnlls . equlpmont and all olher personal properly 10 be assessed end billed separately Irom the real property
                    of landlord. If any of Tenant's said property shall be assessed with landlord's real property. Tenant shall pay landlord the taxes allribulable 10 Tenant's
                    property within 10 days after receipt of a written slalement setUng forth the taxes applicable to Tenanrs property.

                    11.          Utilit iss, Services an d Trash . Tenant shall pay for all water. gas, elec1ridly, heat. light. power,telephone, sewer, sprinkler services, and o ther
                    umiHes and services used on the Premises. all maintenance and melering charges for utililies. and any storm sewer charlles or other similar charges for
                    ut~ities Imposed by any governmental entity. utility provider or metering service. together with any taxes . penalties. surcharges or the like penainJng to
                    Tenant's use 01 the Premises. Tenant shaJl pay for refuse and trash coOoction services for the Premises if landlord operales the Project in a manner such
                    that tenanls contract d" edly (or Irash collection services. landlord may C!tl..lse at Tenanrs e"Pense any u@ties to be separately metered Of charged
                    dil ectly 10 Tenant by the provider in the event Landlord reasonably de termines that Tenan!"s use 01 such joinlly metered uti~ty materially exceeds the use
                    of such jointly metered utility by other tenants in the eu~dinv. Tenant shall pay its share of all charges for joinlly metered utilities based upon consumption.
                    as reasonably determined by l andlo«l. No interruption Of (aauro of utilities shaD result in the termination of ItIis lease or the abatemenl 01 rent . Tenant
                    agrees to Unit use 01 waler and sewerfor normal reslloom use. Tenant snail not use the trash bins 01the Projeclother than lor dIsposal 01 ordinary refuse
                    In no eventsha~ Tenant use the bins for the disposal o f large ilems, such os (but flOt limiled to) carpet, pacl<ing erates, furniturc, cardboard shipping bOlles
                    and storage pallets.

                     12        Assignment and Subletting. Without Landlord's pr\orWlitten consen!. wflich shalloot be unreasonably withheld. conditioned or delayed. Tenanl
                    shall not assign this Lease or sublease the Premises IX any part thereol or mortgage, pledge. or hypothecate its leasehold intelest or llrant any concession
                    Of license v.;thin the Premises and any attempt 10      do any 01 the loregoing shal be void and of no effect. II Shall be reasonable for the landlord to withhold ,
                    delay or condition its consen!. where f\"Iq~red , to any assignment or sublease in any ollho foUovling instances: (i) the assignee or sublessee does not
                    have a net worth caloJlated ao::ording to generally accepted accounting principles at least equat to the greater of \he net worth of Tenant Immediately prior
                    to such asSignment or sublease or the not wor1h of Ihe Tenant al thO Ume it e)(ecuted the Lease; (li) occupancy 01 the Premisss by the assignee or
                    sublessee WOUld, in landlord's opinion. violate any agreement binding upon landlord or lhe Project wilh regard to the identity 01 teMnts. usage in the
                    Project, or similar mailers; (iii) the identity or business reputallon oltho assignee or sublessee will. In the good faIth judgmenl of l andlord, tend to damage
                    the goodwill or reputation of the Project; (iv) the assignment or sub lease 15 to another tenan t in the Projed (or an affiliate thereof) and is at rotes which are
                    below those dlarged by landlord for comparable space in Ule Project, or is to a prospective tenant that has been in discussions \";Ih landlord regarding
                    space within the Project; Of (v) In the case of a sublease, the subtenant has not acknowledged Ihat the l ease controls over any Inconslstant provfslon in
                    the sublease. The foregoing criteria shall nol eKCfude any o ther reasonable basis for l andlord to refuse its consen t to such assignment or sublease. Any
                    approved assignment or sublease shan be expressly subject to the lerms and conditions of this Lease. Tenant shaH provide to l andlord all information
                    concerning Ihe assignee or sublessee as landlord may rea sonably request. Landlord may revoke its consen t immedia tely and without notice if. as Of Ule
                    effective date of lhe assignment or sublease. Ihere has occurred and is continuing any default under the Lease. For purposes 01 this Section. a transfer
                    of the ov.llsrship in terests controlling Tenant shall be deemed an assignmen t of this lease unless such oWl1Ofshlp inlerests are publidy traded .
                    Notwithstanding the above. Tenant may assign or sublat the Premises. or any part Ulereof. to any entity controlling Tenant., controlled by Tenant or under
                   common control with Tenanl (a "Tenant Affi l iato"). without the prior written consenl of Landlord. Tenant shall reimburse londlOid for aU of landlord's
                    reasonable eltpeflses in amnection with any assillnlTlt'flt or sublease 001 to exceed 53.000.00. TIlls lease shall be binding upon Tenant and its successors
                    and permitled assilln s. Upon landlord's rece ipt of Tenan!"s written notice of a desire to assign or Sublet Ihe Premises. or any part thereol (other than to a
                   Tonant Nfiliate), landlord may, by lIiving wrilten notice to Tenant wHhin 30 days aRer receipt of Tenant's notice. terminate this lease with respect to the
                   space describe<! in Tenan!"s notice. as of the date specified in Tenant's notice for the commencement of the proposed usignmenl or sublease.
                   Notwithstanding any assignmenl or subletting, Tenant and any guarantor or surely of Tenants obligations under this Lease shan 01 all limes remain fully
                   responsible and liable for the payment of the rent and for compNance with all of Tenanrs other obligations under thIs lease (regardless of whether
                   Landlord's epproval has been obtained for any such assigMlenlS or subieltings). 11 Landlord consents 10 any assignment or subletting otTenant's illteresl
                   In thiS Lease. as a condition therelQ which !he parties hefeby agree Is reasonable , Tenantshatl pay to landlord fifty percent (50"A0) of aa renl. ad<itional
                   rcot or other consideration (inckJding. without limitation. key money or other cash consideration if applicable) payable by such assignee or sublessee in
                   COMcclion with an assignment or subletting in exces5 of the Base Rent and Operating Expenses payable by Tenant under this lease during the term 01
                   the app~eable assIgnment or subletting on a per renlable area square fool baSIS if less than al! of the Premises is transferrod (unloss all or a portion of Ihe
                   subject space Is subject to different ease Rent and OperatillQ Expenses terms, in which case , 10 the e)(lenl appfialbJe, such different lelms shall be
                   applicable). aner deducting !he reasonable brokerage and improvement costs (induoong improvement allowances) payable to third parties as necessary
                   to condudc the applicable assignment or subletting. II this leaso be assigned or If lhe Premises be subleased (whether In whole or in part) or In the ovenl
                   of the mortllage, pledge. or hypothe<:ation of Tenant's leasehold interc!;1 or granl 01 any concession or license wilhm the Premises or if the Premise s be
                   occupied in whole or in part by anyooe other than Tenant then upon a default by Tenant hercundel Landlord may collect rent from Ihe assignee, sublessee,
                   mortgllgee. ptedgee. party to >M1om the leasehold interest was hypothecat9<t concesslonee or ficensce or other oCC1.lpanl and, e)(ce pt 10 IIle utent
                   othcMise scllQf1h herein, apply the amount collected to the nelCl rent payable hereunder; and all such rentals coUeded by Tenant shall be held in trust lor
                   Landlord and immediately forwarded to Landlord. No such transaction or collectioll of rent or applica~on thereof by landlord. however, Shall be deemed
                   a waiver olthe$e proviSions or a release of Tenant from Ihe further performance by Tenanl 01 its covenan ts, duties, or obligations hereunder. Tenant
                   hereby waives lind releases lis rights under Section 1995.310 of the Colifomla Civil Code or under any similar law. stalute or ordinance now or hereafter
                   In effect.
                              If Tenant sha!1 be subjec:ed to the provisions of the United Stales Bankruptcy Code 01 other law of the Uni ted Stales or any slate Ihereof for the
                   protection 01 debtors as in eflect al such ~me (each a "Debtor's L aw") Tenant, Tenant as debtor--in·possesslon, and any trustee or receiver of Tenanrs
                   assets (ead! a "Tenant's Representa tive") shall have no greater right to assume or assign this l ease or any inlerest in this Lease. or 10 sublease any of
                   the Premises than accorded to Tenant this Section of !he lease. e:tcept to the eKient LaflCllord shan be requiled to permil such assumpijon. assIgnment
                   or sublease by the proviSionS of such Oebto(s law. In such alse. Tensnrs Representative shall (a) remain subjed to all 01 the terms and req uirements
                   of this Section: {bl shalf have deposited with landlord as seOJrity lor the timely payment of ren t en amount equal 10 the larger of: (1) three (3) months'
                   Rent and olher monetary charges accruing under this Lease: alld (2) any surn speci fied in Section 1 (BaSic Lease Provisions) of thi s lease; and (c) shan
                   have pi'OVIded Landlord wl1h adequate other assurance of the full.lre performance althe obligallons of Tenant under Ihis lease. In the event thai an
                   allomey Is employed or expenses are incurred to pursue. protect. enforce or titigate the ob6gatlons hereunder. whelher by sufi, aellon or other proceeding.
                   Tenant"s Represenlative promises 10 pay all such expenses and rea sonable allomeys' lees. including. without limhation. reasonable attorneys' fees
                   incurred in or Wllh respect to any bankruptcy proceeding.




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                   13.         Evelli.& of Oefault; Remedies .

                               A.            Event of Default: Each of !he following events shall be an cvent of defauU (-Event of De fault") by TCMnt under this lease.

                                         (I)         Tenant shall fail to pay any installment of Base Renl or any other payment required hell1in wtIen due. and such lallure
                   shall continue for a period of 5 days from the dale such payment was due

                                          (2)         Tenant or any guarantor or surety of Tenant's obligations hereunder shall tA) make a \J(!nCfal assignment for the benefil
                  of creditors: (B) coflVllence any case. proceeding or other ac1ion seeking to have an order for relie f entered on lIS behatl as a deblor or 10 adjudicale it as
                  bankrupt or insolvent or seeking reorganization . arrangcmenl, adjw.tmenl. liquldaliOfl, dissolution or composition 01 il Of its deblS or seeklng appointment
                  o f a receiver. truslee, custodian or other similar official for it or lor ell or o f any substantial pillt of ils property (collectively a "proceeding for relief'): (C)
                  become the subJed of any proceeding for relief which Is not dismissed v.flhm 60 days of its filing or entry; or (0) die or suffer a legal disability (if Tenant.
                  guarantor. or surety Is an individual) or be dissotved Of otherwise fail to maintain its legal oxislence (if Tenant. guarantor or suroly is a corporation , partnership
                  or other entity).

                                       (3)          Any insurance required to be maintained by Tenant pUfsuant to this lease shall be cancelled or lermlna led or shall exptre
                   or shall be reduced or materially changed. except. in each case, as permitted in this Lease.

                                       (4)         Tenanl sha ll cease to occupy or shall vllcat e Ute Premises v.tlether or not Tenant is in monelary or other dafautt under
                   this lease. Tenant's vacating 01 the Premises &hall no! conslitute an Even t 01 De/nul! II, prior to vacating the Premises, Tenant has made arrangements
                   reasonably acceptable to Landlord to:

                                                          (a) ensure Ihal Tenan!"s Insurance for the Premises '11111 not be voided or cancelled with respect 10 the Premises as
                   a f e!lllit of suCh vilCllncy.

                                                          (b) enSlJre thaI the Premises are 5eaJred and nol subject to vandatism. and
                                                          (c) ensure thill the Premises will be propelly mainlalned aner sudlvacation. including, but no t limited to , keepIng the
                   heating. ventilaHon aod cooling syslems malrttenance contracts required by this lease Ifl fult force and effect and maintaining the utility services. Tenant
                   shall inspee1the Premises atleasl once each month and report monthly In writing to landlord on the condition of the Premises.

                                        (5)         Tenant sha!lattompt or Ulere shalt occur any assignment. subleasing or other transfcrolTenanl's interest in or with respect
                   to this lease excepi as olt1erwise pennilted;n this Lease.

                                      (6)           Tenanl shall lail to discharge any lien placed upon lhe Prenjses in violation of this lease within 20 days after any such
                   lien or encumbrance Is filed against the Premises.

                                         (7)         Tenant shall faH to provide 10 landlord (i) reasonable wrillen evidence of comptiance with legat Requirements, (ii) the
                   service contradS required under this lease, (iii ) an estoppel cerlilicate Of financial slalemenlS as required hereunder. (iv) a requesled subordJnaliOfl. (v)
                   evidence concernIng any guaranty andlor Guarantor, (vi) any document requested under Paragraph 38 (Reservations). (vii) material data safely sheets
                   (MSDS). or (viii) IIny other dooJmenlaHon or information vmlch landlortt may reasonably require otTensnl under the lerms of this Lease. where any such
                   failure continues for a period of 10 days following 'Mitten notice to Tenant.

                                         (8)         Tenant shall fall 10 compty With any prollision of this l ease other than those specifically referred 10 in this Section lJA,
                   lind except as otherwise e)(j)fessly provided herein. such default shall CCfltinue for more than 30 days after landlord shall have given Tenant written notice
                   o f such default (said notice being in lieu of. and nOI in addition to. any nollce required as a prerequisiTe to a forcible entry and delainer or slmilar action 101
                   possession 01 the Premises).

                                      (9)        Tenanl shall be delinquent by more than 15 days in the payment of Rent on 3 separate occaslOns;n any 12 monlh poriod,
                   or Tenant or Tenant's employees, agents or representalives fail 10 comply with any of the rutes and regulations lor the Projecl more than 2 times in any
                   12 monlh ~riod.
                                        Tenan t agrees that any notice given by Landlord pursuant to this Saelion of Ihe Lease shall satisfy Ihe requirements for notice ul)der
                   Califomia Code of Cillil Pro~dure Section 11 61. and l andlord 5/1all nOI be required to give any additionat notice in order 10 be entil1ed to commence an
                   unluvlful dotainer proceeding..

                              B.          Remedies. Upon each oa:UlTenco of an Event of Delaul! and so long as such Event of Default shall be continuing. Landlord may
                  at any time thereafter at its election: lerminate this lea~ or Tensors right or possession (but Tenant shall remain liable as hereinafter provided). ,lndlor
                  pursue any other remedies allaw 0( in equity. Upon lIle lennination of !his lease or termination of Tenanrs right of possession. It shall be lawfut for
                  laodlord, without fonnal demand or notice of any kind. 10 re·enler the Premisos by summary ctspossession proceedings or any other ac1ion or proceeding
                   authorized by law and to remove Tenant and all persoos and ptoperty therefrom. If Landlord re·enters the Premises. landtord shall have the I'Ight 10 keep
                  in place and use. or remove and store. an of the fumiture. btures and equipment at tho Prerriws, Excepl as otherwise provided In the neX! paragraph. If
                  Tenanl broaChes this Lease and abandoned the Premises prior to the end of the lenn hareof, or if Tenanrs right to possession islooninated by landlord
                  because of an Event of Default by Tenant under Illis lea$(!, this lease shall temnate. Upon such termination. landlord may recover from Tenanllhe
                  following , as provided in Section 1951.2 of the Civil COde of Ca~fomla: (i) the worth at the time of award of the unpaid Base Rent and other charges under
                  this lease that had been earned at the time of lemlinalion: Iii) the worth al the time 01 award of the amount by whid! the reasonable value of the unpaid
                  Base Rent and other charges under this lease vmich would have been eamed after termina~on unt~ the time of award exceeds the amount of such rental
                  loss thai Tenant proves could have been reasonabty a'oOlded; (iii) the worlh at the lime of award by ""filch the reasonable value of the unpaid Base Rent
                  and other d!arges under this Lease for the balance 01 the term o f this Lease aner the time 01 award exceeds the amount of such rental loss that Tenant
                  proves COt.IId have been reasonably avoided: and (ivl any other amount necessary to compe nsate landlord lor all the detriment proximalely caused by
                  Tenant's failure 10 perform 115 obligations under this lease or Ihat in the ordinary course of things wouid be likely 10 result therefrom. As used herein, the
                  following terms are defined:

                                        (1)       The "WofIh at the time 01 award" of the amounts (Etferred to in dauses ti) and (ii) above Is computed by allowing Interast al
                  th e lesser of 18 percent per annum or the maximum lawful rale. The 'Worth at the time of award" of the amount relelTed 10 In clause (iiil above is computed
                  by discounting sllch amount al the discount rale of the Federal Reserve Bank of San Francisco al the time of award plus one percent:

                                       (2)          The "time of award" as used in clauses (i). (Ii). and (iii) above is the date on which judgment is entered by a court of
                  competent juri$djction:

                                         (3)       The "reasonalJlc valoo" of the amount refenea to in ctause (II) above is computed by determining Ihe malhemalical product
                  of (il the "reasona!)le annual rental value" (as dofined herein) and (iI) Ilia number of years. including Iradiona! par1S Utereol, bet\veen Ihe date oflormin<lllcn
                  and the time o f award. The "reasonable value" of the amounl referred to In e1au~ (iji) above is computed by delerminlng the mathematical producl of ( t )
                  the annual Base Rent and other charges under thi s Lease and (2) the number of years induding fractional par1s thereof remaining in the balance of the
                  tenn of Ihls Lease after the time of award. Tenanladmowtedges and agrees tha t the lerm -detriment proximately caused by Tenant's failure to perform ils
                  obtigations under this Lease" indudes. without 5mitation. the value of any abated or free rent given to Te nant. Even though Tenant has breadted this
                  lease and abanooned the Premises. this lease shall continue in effect for so long as Landlord does not terminale Tooan!"s right to possession, and
                  landlord may enforce all ItS rights and remedies under th is Lease, including the right to recover rent as it becomes due. This remedy is in tended 10 be
                  the remedy described In Cafilomia Civit Code Section 195t.4, and the foRowIng provision from such Civil Code Section Is hereby repealed: ""The lessor
                  has the remedy desaibed ill California Civil Code Section 1951.4 (tessor may continue lease In effea alterlessoo'S bream and abandonment and recover
                  rent as it becomes due, if lessee has right to sublet or assign subject only to reasonable ~mitat ions)." My sud! payments due l andlord sholl be made
                  upon demand Iherelor from time 10 time and Tenant agrees thai landlord may filo sui t to recover any sums falling due from time to lime. Nol\vithstandino
                  any sodl reteiUng without termina tion, Landlord may at any time thereafter eleCT in writing 10 terminate Ihis l ease for SlIch previous breach. Exercise by
                  Landlord of eny one or more remedies hereunder granted or otherwise avellable shall nol be deemed to be an acceptance o f surrender of the Premises
                  and/or a termina~on of this lease by lan<:llord. whether by agreemenl or by operation of law, it being understood lhat such surrender andl or termlrlot ion
                  can be effeced only by the written agreement of landlord and Tenant. Any taw. usage, or cuslom to the contrary 1lOl\\ithstanding, landlord shal have
                  the right at aU times to enforce the provisions 01 this lease in s!rid accordance with the terms hereof: and the failure o( Landlord at on.,. Hme to enforce ils
                  rightS under this Lease strictly in accordance With same Shall not be construed as hailing created a custom in any way or manner contrary to lhe specifIC
                  terms. provisions, and covenants mlhis lease or as having modified the same Ten~nl and landlord further agree thatlorbearance or waiver by Landlord
                  to enforce its rights pursuant to this lease or at law or in equity. shell not be a waivcr 01 landlord's light to enforce one or more of lIs rights in conocclion

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                    With any subsequent default. A receipt by Landlord 01 rent or other payulent with knowledge althe breach of any covenant hereof shalt not be deemed a
                    waiver of such breach. and no waiver by landlord of any provision of this lease shall be deemed to have been made unless expressed if1 writing end
                    signed by Landlord. To the greatest extent pennitted by Law, TCfliint waives the service of notice of landlord's intention to re-enter as provlcled for In any
                    statute, or to institute legal proceedings to that end, and also woives all right of redemption in case Tenant shah be dispossessed by 8 judgment or by
                    warrant of any court or judge. The terms -en ter; "re-enter: "entry'" Of ·re-enl/)': as used In this Lease, are not restOded to their technlcat legal meanings.
                    My relettmg Of the Premises shalt be on such terms and condilions as landlord in its sole discretion may determine (including without limitation a term
                    different than the remaining lease Term, rental conoesslons, alterations and repair of the Premises. lease 01 less than the entire Premises to any tenant
                    and leasing any or alt other portions ollhe Project before ra lerting the Premises). Landlord shall nol be liable. nor shan Tenanrs obligations heteunder be
                    diminished because of, Landlord's fa ilure to relet the Premises Of coiled renl due in resped o f such relelling .

                                C.         In teresL Any amol,JO! not paid by Tenant wilhin 5 days afler ils due date in accordance \";th the lerms ollhis Lease, regardless of
                    whether an Event o f Default exists. shall bear interest Irom such duo date un"1 paid in luU althe lesser of the highest rate permitted by applicabl e law or
                    fineen percent (15%) peryeal. II is expressly the intont 01 Landlord and Tenant at atllimes to comply with app~cabte law governing Ihe maximum rata or
                    amount of any interest payable on or in connecllon wilh this Leasa, II applicable taw Is ever judicially interpreteG so as 10 render usurious any interest
                    caJled for under this Lease, or contracted for. charged. taken. reserved, or receive d with respect to this lease, then It is landlord's and Tenant's express
                    Intent Hlill all excess amounts theretofore collected by Landlord be credited on the appUcable obligation (or, if the obtigaUon /las been or would thereby be
                    paid in 11J1I, refunded to Tenanl), and the provisions 01 this lease Immediately shan be deemed re formed and the amounls thereaner collectible hereunder
                    (educed, IlJithout the necessity of the execution of any new document so as to comply with the appficable law. bul so as 10 permil the recovery of the
                    rullest amount otherwise called for hereuncler.

                               O. Breach b y l andlord. Landlord shall nol be In default hereumJer unless Landlord faits to perform an y of lis obliga tions hereunder v,,;thln
                    30 days afler written n otice from Tenant specifying such failure (unless such porformance will, due to Ihe na ture oflhe obliga tion, require a period of lime
                    In excess of 30 days, then aner sllch period of time as is reasonnhly necessary). AI! obligations of Landlord hereunder shal! be con stnred as covenants,
                    nOI conditions; and, el(cep l as may be otherwise expressly provided In Ihis Lease, Tenan l may not terminate this Lease or orrset any Rent due under this
                    lease fO( brench of l andlord's otJliga1ions hereunder,

                    14.           Con dem na tion . II any part of the Premises or the Project should be taken lor any pub!ic Of quasi public use undO!' govcrnmental law.
                   ordinarlCC, or regUlation, or by I1ghl of eminent domain, or by privale purchase in lieu thereof (a " TakingW or " Taken" ), and the TlIking would materially
                   intar1ere IlJith or impair Landlord's ownership or operallon of the Project. then upon wri1ten nOTice by Landlord this Lease shall termlnale and Base Renl
                   shall be apportioned as of said date. II part of the Premises shalt be Taken, and this Lease is not termiflllted as ptovidcd above, the Base ROflt payabte
                   hereunder during the unexpired Lease Term shall be reduced to S\Jch extent as may be fair and rea:wnable under the cirOJmstances. In the event 01 any
                   sud'l Taking. Landlord shall be entitled to receive the entire price or award from any such Taking withoot any paymertl lo Tenanl , aOO Tenant hereby
                   assigns to Landlord Tennnt's interest, if any. in such owaro, Tenant shall have the right , to Ihe extent that same shal not dirrinish Londlord's award. 10
                   make a separate daim against the condemning authority (but not landlord) for sudl compensation as may be separately awarded Of recoverable by
                   Tenant for moving expenses and damage to Tenant's Trade Fixtures, if a separate award lor sudl items is made to TenanL

                    t 5.         Brokerage Fees. Tenant and LandiOl d each represenl and warrnnllo the othel Illat it has had no dealings willi any pel'$OO, firm. broker or
                   finder (other than the Brokers, if any, selforth in Ihe Basic Lease ProvbiQns) in connection with Ihls lease, and that no one otller than said named Brokers
                   Is entitled to any commission or linder's fee in connection with this teasing lran:saction. Tenant and landlord do cadi hereby agree to Indemnify, prolect.
                   dellMld and hold the other hannless from and againsl UablHty for compensation CJ( charges which may be daimed by any such UMOmed broker, finder or
                   other simil1lr party by reason of any dealings Of actions of the indemnifying party. Including any costs, expenses, attomeys' fees reasooab/y incurred with
                   respeclthereto.

                    16          Estoppet Certificates; Fi nancial Statements.

                              A.         Tenant agrees, lrom time to time , within 10 days atterrequest of Landlord, to exeCUle and deliver to Landlord, or Landlord'S designee,
                   any estoppel oertificate requested by Landlofd. staling Ihat this Lease Is in fult force and etrect, tile date to wflich ren l has been paid, Ihal Lilndlord Is not
                   in defaull heraunder (or speCifying in detai! Ihe nature of Landlord's delault), the termination dale of this Lease and such other matters penainlng to this
                   lease as may be requested bV Landlord. Tena nt's obligalion to lumlsh each es toppel certificate in a time ly fashion is a ma terial in ducement lor Landlord's
                   el(ecution of Ulis lease, No OJre or grace period provided In this Lease shall appty \0 Tenant's obl iga tions to timely deli ve r an estoppe l certificate ,

                               B,          If Landlord desires to finan~ , refinarlCC. or sell the Premises, or any pan thereof, or if there is an Event of Default, Of if Tenant
                   requests permiSsion to assign lhe lease, or [f Tenant exerdses any renewaVel(tenslon option herO\Jnder, Tenant and all Guarantors shall withIn 10 days
                   alter written notice from Landlord deliver to Landlord. any potcntiallcnder or purchaser designated by Landlord il applicablc, such finandal slalements as
                   may be reasonably required by sll(:h lender or purchaser, including but not limitod \0 Tenanl's financial sta tements for Ule past 3 years, All such finandal
                   statements shall be received by Landlord and any such tender or purchaser In confidence and shan be used only lor the purposes herein se t forth.

                   17.        Definition 01 L andlord. The term "Lan d lord" as used herein shall mean the owner or owners at the time In qlJOsdon ollhe fee !lUe to the
                   Premises, Of. if this is a sublease. or the \lInan!'s intelost in the priO( lease, tn the event 01 a transfer 01 landlord's title or merest in the Premises or this
                   Lease, landlord shall deliver to the transferee or assignee (in cash or by aedil) lIny unused Security Deposit held by LlIndlord. Upon such transfer or
                   assignment and delivery of the Security Deposit. as a~oresaid, the pllor landlord shall be reRaved o f an liability with re~ to the obligations and/or
                   covenanls under this Lease thereafter (0 be perlormed by the landlord. Subjecl. to the foregoing, the obligations and/or ClJvenanls In this lease to be
                   perfooned by the landlord shan be binding onty upon the LendkH'd as hereinabove deftned.

                    18.         Severability . If any clause or provision of this Lease is Illegal, invafKl or unenforceable I.JJlder present or future laws. !hen and in that even l, it
                   is the intention or the parties hereto that the remainder of this lease shall not be affected thereby. II is also the intention of the parties to this Lease thaI
                   In neu 01 each clause or prOvision of this lease that Is Ilegal, invalid or unenforceable, there be added, as a part of this lease. a clause or provision as
                   sim~ar in terms to such illegal, invalid or unenforceable cfause or provision as may be possible end be legal, valid and enforceable.

                   19.         Days. Unless othelWise speCifiCally indicated to tile     conrrary. the word "days· as used in this Lease shall mean and refer to calendar days.
                   20,           LImitation on L labHity. Any obligation or liability """"sisoever of Landlord which may arise al any time under Ihis lease or any obUgaHon or
                   liability which may be incurred by it pursuant to any othor instrument, transaction, or undertaking contemplated hereby sholl nol be personally binding
                   upoo. nor shall Ihe enforcement thereof be againsl the property of, its truslees, diredors, shareholders, officers. employees or agents. regardless of
                   wnether such obtigation or liabinty is in the nature ot conlfad, 1011. or otherwise, Any liability of l andlord under this Lea!>!! shall be Hmitea solely 10 il s
                   \nteresl in the Premises, and in no even! Shall any personal Nabillty be asserted against Landlord in cOMectlo n with this Lease nor shalf any recourse be
                   had to any Olher pro petty or assets of Landlord, For purposes 01 determining the volue o f landlord's Interast in the Pramises, the Project shall be doemed
                   to be enOJmbered by a loan in an amount equal 10 Ihe greater of the actual eflOJrnbranca amount or seventy percent (70%) of the fair mal1let va lue Of Iho
                   Project as determined as of the dale Tenanl's dalm arises.

                   2t.         TI m e of Essen ce. TIme is of the essence with respect to the performllnce of Tenzml's and landlord's obngalions under this Lease .

                   22.         En ti r e Ag reemen l This lease constitutes the complete agreemenl 01 landlord and Tenan t \\;Ih respect to Ille subject mattcr hereof. No
                   representations. inducements. promises or agreements, oral or written, have been made by l andlord or Tenant. or anyone acting on behalf of landlord
                   or Tenant, which are not conlained herein. and any prior agreements. promrses. negotiations, or represenratlons are superseded by Ihis Lease. ThiS
                   Lease may not be amended except by an inslrument in writing signed by both parties hereto.

                   23.          Notice. All I'KIticas requirad or permilled by this lease or applicable law shall be in v-.-riting and may be delivered in person (by hand or by
                   courier) or may be sent by certified or regislcred moil or U.S. Postlll Service Express Ma~ or other nationally or regionally recognized overnight courier,
                   with postage prepaid, and shall be deemed sufficicnUy given If served in a manner specified in this Section. The addreues noted adjacent to a party's
                   signature 00 this Lease shall be that party's address for delivery or mamng of notices. Either party may by wrtnen nolice to the other speCIfy a different
                   address for flOlic.e. el(cept that upon Tenant's taklng possession of the Premises, the Premises shell constitute Tenant's address for notice. A copy 01 all
                   notices to Landlord shalt be tonCJf1l!fl11y transmined to such party or parties al $I..Id'I addresses as landlord may from time 10 lime hereafter deslgnate In
                   writing , Exoept wflere otherwise expressly pro'JIded to Ihe contrary, notice shall be deemed given upon delivery, If notice is received on a Sa turday , Sunday
                   or legal hoNday, it shalt be deemed received on the 061(1 business day

                   24          Waivers . No waiver by landlord of the breach of ony term, covenanl or condition hereof by Tenant or Event of Default, shall be deemed a
                   waiver or any other term , covena nt or condition hereof, or of any subsequent Event 01 Default Of Tenant breach of any other term, ClJvenanl Of condition
                   hereof. Landlord's consent to, or app(oval of, any act shall not be deemed 10 render unneeesSBIY the obl ainll'lg of Landlord's consen t to, Of approval 01,

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                    any subsequent or similar ad by Tenant, or be construed as UU! basis 01 an estoppel 10 enforce the provision or provisions of this lease requiring such
                    consent. The acceptance of Rent by Landlord shan not be a waiver of any Event of Defaull by Tenan t. Any pa'(l'T1enl by Tenant may be accepted by
                    Landlord on account olmonies or damages duo LandlOfd, notwith standing any qualifying statements or cornlitions made by Tenant in cono(.'ction thef ewith.
                    which such statements andfor coodllioru; shall be 01 00 forco or effect wh<Itsoever unless specifically agfeed to in wriling by landlord al or befOfe the lime
                    of deposit o f sudl payment. THE PAATIES AGREE THAT THE TERMS OF THIS LEASE SHALL GOVERN lMTH REGARD TO ALL MATTERS RELATED
                    THERETO AND HEREBY WAIVE THE PROVISION S OF ANY PRESENT OR FUTURE STATUTE TO THE EX TENT THAT SUCH STATUTE IS
                    INCONSISTENT WITH THIS LEASE.

                   25.          No Right To HOldover. If Tenant retains possossion of the Premises after the terminatioo or the Lease Term. unless otherMse agreed in
                   writing. such possession shall be subject to immediale lermina~on by Landlord at any lime, and aG of \he other lerms and prOvisions of Ihis Lease (excluding
                   any expansion or renewal option or other similar rlghl Or optIOn) shalt be appUcable during such holdover period, excep t that Tenanl $hall pay Landl()(d
                   from lime to time. upon demand. as Base Rent for the h oldover poriod, an omount equat to one hundred fifty percen t ( t 5O%) of the Base Renlln effect on
                   the tenninalioll dale, axnpuled on a monthly basiS IOf eactl month Of part lhereol during such holding over. All other payments shall continue under the
                   terms Of thiS Lease III addition. Tenanl shall be liabte l or 011 d3rT18ges incurred by Landlord as a result 01 sudl holding over. No holdirlj) over by Tenant.
                   whether with or without consen t of Landlord. shall ope rate to extend this Lease except as othervlise expressly pfovided, and this Section shol not be
                   constflJed as consent for Tenanlto retain possession of the Premisas. For purposes o f this SeCliOfl. "possession of the Promises" shall continu a untit .
                   among other thangs, Tenant has delivered all keys to the Premises to Landlord, LandlOfd h<l s complete and total dominion and con lro l over \he Premisos.
                   and Tenant has complelety fulfilled all obfigll Uons reqUired of it upon termination of Ihe Lease as sel forth in this Lease. Including, withoutlimitalion, Ums<:
                   concerning the condilion and repair of the Premises.

                    26.        Cumutative Remedies No remedy or election hereunder shall be deemed exclusive but shall, wherever possible. be cumulative wilh all ol her
                    remedies at law Of in equily.
                   27.          Covenants and Conditions; Construction Of Agreement Al l provisions of this Lease to be Observed or perlofmed by Tenant are both
                   covenan ts and conditions. In conslnting this Laose. all headings and titles are for the conl/anience of Ihe Parties only and shall not be considered a part
                   of this Lease. INhenel/er required by til e context, the sin gular shall include the plural and vice versa . This Lease shall not be construed as if prepared by
                   one of th e Parties. but rather according to its fa ir meaning as a wh ole. as if both Parties had prepared IL

                   28.          Binding Effec t; Choice 0 1 Law. This Lease shall be binding upon the parties. the ir personal representalives. successors and assigns and be
                   gOllCmed by tho laws 01 the Slale of California . Any litigation between the Parties hereto concerning Ihis Lease shall be inlliated in the county in which Ihe
                   Prerrises lire located.

                    29.         Subordin ati on; Attornmen t

                               A        Subordination. This Lea se and Tenanrs interest and rights hereunder are and shan be subject and subortlioate at all times to the
                   600 of any rlf'St mO!1gage ("Lender"), now existing or hereafter created on or against the Project Of the Premises. and all amendments. restatements.
                   renewals. modifications, consolidations. refinancing. assignments and extensions th f!fcof. wiUlou t tha necessity 01 any further instrumen t or act on the part
                   of Tenant. Tenant agrees. at the electioo ollhe Lender, to attom to any such holder. Tenant agrees upon demand to executa, acknowledge and deliver
                   such Instruments. confinring such subordination and suctr ins truments 01 attommen t as shan be reque sled by any such Lender. Notwiths\aO<.ing the
                   foregoing, any stich LCflder may atany lime subordinale ilS mortgage to thiS Lease, without T enanrs consenl, by notice in I'IIiling to Tenanl. and \hereupon
                   this Lease shan be deemed pcior to such mOl1g8ge without regard to their respective dates of elleQJtion, delivery or recording and In that evenl such
                   LendBf shan have the same rights y,; th resped to this Lease as though thi s Lease had been executed prior to the exltC\ltion. de~vcry and recording of
                   such Lender and had been assigned 10 such Lender. The term " mortgage whenever used in this Lease shall be deemed to include deeds of trust.
                                                                                                      M



                   sea..uity as signments and any other encumbrances, and IIny reference to the "Lender" of a mortgage shal be deemed to Include the benerlCfery under a
                   deed of trus\.
                                B.             Atto rnment. In the el/entlhat Landl()(d fran sfers tiUe to the Premises , or Ihe Premises are acquired bY' anol her upon the foreclosure
                   or termination of a mortga ge 10 which this Lease is subordinated (i) Tenant shall, subje ct to fhe non-disturbance provision s flereof. attorn to such new
                   owner. and upon request, enler inl0 a new lense, containing all 01 the terms and proviSions of this Lease. with suctl new owner for th e remainder o f Ihe
                   lerm hereof. or. 211 the election of Ihe new owner. this Lea se shall automatically become a new lease between Tenant and such new Olllfl er. and (II)
                   Landlord shalltherealter be relieved Of any further obliga tions hereunder and such new owner snail assume all 01 Landlord's obligations. except that such
                   new owner sh an not: (a) be liable for any act or omission of any prior Landtord or with respect to evonts ocaJrring prior 10 acquisition of ownership; (b) be
                   subject 10 any ofTse ls or defenses which T enant might have against any prior landlord. (c) be bound by prepayment of more than one monlh's ran t, (d) be
                   liable lor the re tu rn of any security deposit paid 10 any prior Landtord which was not paid or credited to such new owner, or (e) be bound by any amendmenl
                   or modification to Ihis Lease not executed by such new oY<fler, if such new o wnar previOUsly had a Uell secured by the Premises.

                             C.         Self-Exacuting. Tile agreements con tained In this Sedion shall be ellective withoutlhe ex.eo.rtion of any further dOcuments; provided.
                   however. thai, upon written requesl from landtord or a Lender in connection with a sale. Ilnancing or refinancing of the Premises. Tenant and Landlord
                   shall execute such further wri tings as may be reasonably required. in a form required by Lender. 10 separalely dQCtJmen t any subordination. attomment
                   andlor Non-Oisturtlarn::e Agreemenl provkled for herein.

                   30.           Attomeys' Fees. In the event either party herelo inlliaies tiliga tion to enforce the terms and provisions of this Lease.ttla non-prevaiUng p arty
                   11'1 such acoon shall reimburse the Prevailing Party tor its reasonable attomey's fees. filing fee s. and court costs . Such fee s may be awarded in Ihe same
                   suit ()( recovered in a separate suit, whethar or not SlJCtl action or proceeding is pursued 10 dedsion or jud gment. The term. "Prevailing Party" shall
                   ind~. withoutl imitalion, a party wtlo substantially oblain s or de feals the relief sough t. as the case may be. whether by compromise. settlement,judgment.
                   or Ihe abandonment by the other party of its daim or defen se. The attorneys' fees award shall not be compuled in accordance Yoilh any court fee schedule.
                   but shall be such as to fully reimburse all attorneys' fees reasonably inClJrred. tn addition. LandtOfd shall be en6t1ed to attorneys' l ee s. costs and expense,
                   inrurred In the preparation and service of notices of Event of Defaull and consultations in COflnection therewilh, whether or not a legat action is subsequenlly
                   commenced In connection wilh such Evenl of Default or resol1ing breach ($2 00 is a rea sonable mnimum per occurrence for such services and
                   consultation) .
                   31.          Landl ord's Access; Showing Premises; Repairs ; Sotar. La ndlord and Landlord's agents shall have the right 10 entCf the Pr&m;ses at any
                   time. in the case of an emergency. and otherwise at reasonable times alter reasonable prior notice for the purpose of showing the same to PfOSpective
                   purcltasers. lenders. or tenanls. an d making such alterallons. repairs, Improvements or additions to the Premises as Landlord may deem necessary or
                   desirable and lhe erecting , u sing and maintaining of, among olher Ihings desired by Land lord, utilities. services, security systems. communlcatJon syslems,
                   flro sprinklers or dotecUon systems. solar power systems. pipes and conduits through \tie Premises andlor other premises as long as there is no material
                   adverse effect on Tenant's use of the Premises. All such acllvilies shall be without abatement of ren t or liability to Tenant. Without ~mitl ng Ihe generality
                   of th e foregoing. Tenant agrees and understa nds that Landlord Shall have the right (provided 1I1at the exercise 01 Landlord'S rlghls does nOI adversely
                   affect Tenant's use and occupancy of the Premises or subject Tenanlto addifional costs). "";thout tenant', consent. 10 place a solll r electric generating
                   system. a satellite syst em and/or other system andlor eq uipment on tho roof of lhe Building (togelher wilh appurtenance s wil hin the Premises as reasonably
                   required) or en ter into a leasal s) for the roof of Ihe Building whereby such roof Tenant(s) shall hal/e the nolll to install any such sy5tems on the roo f of the
                   Buii(Jing. and l andlord and ils agents shall have access to the Premises and roo f 10 aacomplish the foregoing.

                   32.            Signs; Press Releases . Tenanl shall not maka any changes to the extarlor of \he Premises, install any exterior fights, decorations. ball oons.
                   nags. pennants. banners. or painting, or erect or install any signs. windows or door le ttering. placards. decorations. or advertising media of any type wttiCh
                   can be viewed from the e~teriOr of the Premises, withoU t Landlord's prior wrtlten consenL which consent may be withheld In Landtord·s sole discretion.
                   Upon surrende r or vacailoo 0( the Premises, Tenant shllll have removed alt Signs and repair. painf. andlor replace the building facia surface to which Its
                   signs are attached. Tenanl shaD obtain all applicable govemmenlal permits and approvats for sign and exterior Ireatmenl:s. AI signs. decoralions.
                   advertising media. blinds, draperies and other window Ireatment or bars or other sewrity installations visible from outside the Premises shall be subject
                   10 Landlonts approval and conform In all respects to Landlord's requirements. Landlord may place on tile Premises ordinary "For Sale" signs at any time
                   and otdinary "For Lease" signs during the tast6 months of the lerm hereof. Landlord may ered a suitable sign on lhe Premises stating the Premises ere
                   ,lIIaitabie to lei or that the Project is available for sale. Except for ordinary "For Sublease- signs Which may be placed onty on the Premises, Tenant shalt
                   not place any sign upon the Project without Landlord's pOor 'Mitten consent. All signs must compty with all Legal Requ;rements. Landlortl shall have the
                   right to pubrJcize Lendlord and Te nant's relationship rega rding this Lease.

                   33.         Termination; Merger. Unless specifically slated otherwise in wriling by Landlortl. the voluntary or other surren der of this Lease by Tenanl .
                   the mutual termination Of cancellation hereof. or a lermlnalion hereof by Landlord for breach by Tenant. shall eutomaticatty terminate any sublease or
                   lesser astale in the Premises: provided, however, lhal Landlord may elect 10 continue anyone or alt existing subtenancies. Landtord's failure "";Ihin t o
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                   days following any such evenllO eled 10 Ihe contrary by mUen notice to the holder of any such lesser interesl. shall constitute landlord's election to have
                   such event constitute the termination 01 SUdl interest

                   34.          Consents. Except as othefWise provided herein. wherever in this l ease the consent of a party is required to an act by or for the other party.
                   such consent shall not be unreasonably v,;thheld or delayed. landlord's actual reasonable costs and expenses (inctuding but not limited to architects',
                   attorneys'. engineers' and other consultants' fees) inCo.lrred in the consideration of. or response to. II request by Tenant for any Landlord consent. induding
                   but not limited to consents to an assignment . a subletting or the presence or use of a Hazardous Material or a so-called ~landlord·lender" agreement. shall
                   be paid by Tenanl upon receipt of an invoice and supporting documentation therefor. The faiture to specify herein <lny particutar condition 10 landtord's
                   consent shall not preaude the imposition by Landlord at the time of consent of such lurther or other conditions as are then reasonable "lith reference to
                   the particular matter for whldl consent is being givel1.

                   35.         Guaran tor.
                              A.        E;(ecution. The Guarantors. if any. shall each exeOJte landtord's sta ndard guaranty form .

                             S.         Evont of Default. Jt shall constitute an Event of Default of the Tenant If any Guarantor fa ils or refuses, upon request to provide: (a )
                   evidence of Ule execution of the guaranty. including the autllOli ty 01 the party signing 0fI Guarantor's behalf to obligate Guarantor. and in the case 01 a
                   corporate GuarantOl'. a certified copy of a resolution of its board of directors authorizing the making of such guaranly. (b) current financial statements. (c)
                   an Esloppel Certificate. or (d) written confirmation that the guaranty is still in effect

                   36.          Quiet PO:!.5es sion. If Tenant shall perlOfTTl all of the covenants and agreements herein required to be peJ10rmed by Tenant. Tenant shall.
                   subject to the terms of tljs lease. at all times during the laase Term. have peaceful and quiet enjoyment of the Premises against any person claiming by,
                   through or under landlord.

                   37.          Sl1curity Me~suf(ls . Tenan t hereby acknowledges that landlord shalt have no obligatiOfl whatsoever to provide guard service or other security
                   measures. Tenant assumes all responsibility for the protection 01 the Premises. Tenant. ils agents and invitees and their property from the acts of third
                   parties. Tenant acknowledges and agreeslhal. if lamJlord patrols the Projecl, landlord is nOt providing any seOlrity scf"llices with respect to tM Premises
                   and that landtord shall not be tiable to Tenant for. and Tenant waives any daim against landlord oMth respect 10. any loss by theft or any other damage
                   suffered or inCo.lrred by Tenent in connection with any unauthorized entry into the Premises or any other breach of security with respect to the Premises.
                   38.         Reservations. landlord reserves the right: (i) to grant, withoutlhe consent or joinder of lenanc. such easements. rights and dedicalions lhat
                   landlord deems necessary. (ii) to cause the recordation 01 parcel maps and restrictions. and (iii) 10 create and/or install new uti~ty raceways. so long as
                   such easements, lights. dedications, maps. restrictions. and utility raceways do not unreasonably interfere with tho use 01 tho Premises by Tenant. lenant
                   agrees 10 sign any documer'lts reasonably requested by landlord to effectuate such rights

                   39.         Authority: Multi ple Parties; Execution.

                             A.        If either Party herelo is a corporation, trust, limited liability company, partnership, or similar entity. each individual executing this lease
                   on behalf 01 such entity represents and warranls that he or she is duly authorized to exeOJte and deliver th i~ lease on its behalf. Each Party shall. 'tllthin
                   30 days after request. deliver to the other Pany satisfactory evidence 01 such authority.

                              B.        II and when included within the term ""Tenant, " as used in this instrurnenl.lhere is fT'IQfe IIlan one person. firm or corporation. each
                  shall be joinlly and severally liable lor the obligaJions 01 Tenant ,I\£Idruonally. if there be more than one Tenant, 1I1en each Tenant hereunder agrees thaI
                  (i) the act of anyone Tenant acting alone. shall be sufficient to bind all Tenants with respect to their respective rlghls and obligatlons under this lease
                  and (ii) landlord shall have the unconditional right to rely upon the act of anyone Tenan t as belng binding upon an Tenant's without any obligation to
                  inquire as to the authority of the Tenanl vvilh whom landlord is dealing.

                              C.       This lease may be excC\J!ed in any number of COOnterparts. each of which shall be deemed to be an original, and all of Such
                   counterparts shall constitute one lease. Execution oopies of this lease may be delivered by lacsim:!e or email, and tho parties hereto agree to accept
                   and be bound by lacsimile signatures or S!;8nned signatures transmitted via email hereto. which signa lures shall be considered as original signatures with
                   the transmitted lease having the same binding effect as an original signature on an original lease. A1 the request of either party, any facsimile documen t
                   or scanned document transmitted via email is 10 be re-executed in original form by th e party who exccuted the original facsimile document or scanned
                   document. Neither party rTllly raise the use of a facsimile madline or scanned document or the fact thaI any signature vms transmitted through the use 01
                   a facsimile machine or email as a defense to tile enlorcement of this Lease.
                  010.         Conflict. AIry confliCl between the Basic lease Provisions of this Lease and the other Sections of this slandard base lease. the Basic lease
                  Provisions shall control. All eXhibits and addenda attached hereto are hereby incorpOfaled into this Lease and made a part hereof. In Ihe event of any
                  conflict between such exhibits or addenda and the other terms of rhe standard base Lease. such exhibits or addenda shall control.
                  41          Offer _This Lease Is not intended to be blflding unl~ executed and delivelCd by aU Parties hereto. The submission by l andloro to Tenant of
                  this lease shall have no binding IOfce or effect. shall nOI constitute an option for the leasing of the Premises. nor confer any right or Imp<l5e any obl:galions
                  upon either party until execuijon of this lease by bolh panies.
                  012.        Amendments. Tllis l ease may be modifiedonty in writing, signed by the Parti es in interest at the time olthe modilicafion. As long as they do
                  not materially change lenanl's obligations hereunder, Tenant agrees to make such reasonable non-monetary modifications to thi s Lease as may be
                  reasonably requ ired by a lender in conneclion with the obtaining of nonnal finanCing or refinanCing of Ihe Premises.

                  43.     Waiver of Jury Trial. THE PARTIES HEREBY WAIVE THEIR RESPECTIVE RIGHTS TO TRIAL 8Y JURY IN ANY ACTION OR
                  PROCEEOING INVOLVING THE PROPERTY OR ARISING OUT OF THIS AG RE EMENT.
                  44.          Accessib ility; Americans w ith Disabilities Act.
                            A.        CASp Statement landlord makes the following statement based on landlord's actual knowledge in order to comply wilfl California
                  Civil Code Section t938: The Building and Premises have nOI undergone an inspection by a Certified Access Speda~st (CASp),
                             B.        No Rep resentatIon or Warranty. Since compliance with the Americans oMth Disabilities Act (ADA) is dependent upon Tenant's
                  specific use 01 the Premises. landlord makes no warranty or representation as to whether Of not the Premises Q;>mply with ADA or any similar legislation
                  In the cYCot Ihat Tenant's use of the Premises requires modifications or additions to Ihe Premises in order to be in ADA compliance. Tenant agrees to
                  make any such necessary modifications and/or additions at Tenant's expense.

                            C.         California l aw Disclosure. A Certifred Access Specialisl (CASp) can inspect the subject premises and delermine whether Ihe
                  subject premises comply with all o/the applicable construc~on--re!ated accessibility standards under state law. Although Slate law does not require a CASp
                  inspection of the subject premises. tho comm(!rcial property owneror lessor may nOt prohibit the lessee or tenant from obtaining a CASp inspection of Ule
                  subject prE!mlses for the OCOJpancy or potential oCCtJpnncy of the lessee or tenant. if requested by the lessee or tenant. The parties shan mutually agree
                  on the arrangements for Ihe lime and manner of lhe CASp inspection, the payment of the fee for the CASp inspection. and Ihe cost of making any repairs
                  necessary to correct violations of construction·related accessibility standards within the premises

                            D.       Acknowtedgement landlord and Tenanf hereby mutually agree that in th e event a CASp inspectiOn is requested by Tenant. the fee
                  for the GASp inspection and the cost of making any repairs necessary 10 correct violations of construction·relaled accessibility standards noted in the
                  CASp inspection shan be paid by Tenant

                  015.    RE1T ProvisIons. Tenant understandS thai. In order lor an indirect owner of Landlord to quality as a REIT. the follmving requirements (th e
                  "REIT Requiremonts") must be satIsfied:
                             A.         Subl!!as in9 _ Anything con tained in this lease to the contrary nOIwI!llstanding, Tenant shall not sublet the Premises on any basis
                  such thllt IIle rent or other amounls to be paid by Ihe sublessee thereunder would be based. in whole or in part. on either (I) the flel income or profits
                  derived by the busifless activities of the proposed sublessee. or (ii) any other l ormula such that any portion of the Ren l would filiI 10 qualify as "renls from
                  real properly" within the meaning of Section 856(d) of the Internat Revenue Code. or any similar or successor pfovision hereto
                             B         PCl'$onal Property limitation . Alryttllng contained In the lease to the contrary nOt'VlithSlanding. lhe avefage of the fair mal1(et values
                  of Ihe items 01 personal property thai are leased to Tenant under the lease at the beginning and althe end of any year shall not exceed fifteen percent
                  ( 15%) of the ave-rage of the aggregate fair ITlilrket values of the lea~ property at the beginning and at the end 01 SUdl year (the ·'Pel'$onaJ Property

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                   LIm itation"). If landlord reasonably anticipates thatlhc Personal Property UmitaliOfl will be e)(ceeded with respect to the leased property for any year.
                   landlord shall notify Tenant and Tenant either {il shall purchase at fair market value any personal property anticipated to be ill excess of the Personal
                   Property Limitation ("Excess Parsonal Proparty") either frorn Landlord or a third party or (ii) shall lease the Excess Porsonal Property from a th ird pany.
                   In oither case. Tenanrs Base Rent obligation shall be equilobly adjusted. Notwilhstanding anything to Ihe contrary set forth above, Tenant shall not be
                   responsible In any way for determining whether Tenant has exceeded or wUl exceed ltIe Personal Property Limitation and shall not be liable to Landlord
                   or any of ils shareholders in the evenlthal the Personal Property Limitation is exceeded, as long as Tenant meets its obligation 10 aCQuire or lease any
                   Excess Personal Property as provided above. This section is inlended to ensure thaI the Rent qualifies as "renls fJom rcal property," wilhin tile meaning
                   of Sedion 856(d) of the Intemat Rellenue Code, or any similiu or successor provisions thereto, and shalf be Intefpreled In a manner consistent with such
                   intenl

                               C.       REIT Requirements. Tenanl agrees, and agrees 10 use its reasonable efforts to cause ils affiliates. to cooperate in good faith with
                   landlord to ensure that the terms of this Section are satisrled, Tenant agrees, and agrees to use reasonable efforts to cause its affiliates, upon request
                   by Landlord to ta~e reasonable acllon necessary to ensure cof'lll iiance with all REIT ReqUirements. IfTenant becomes aware that Ihll REIT Roqulrements
                   are not, or will not be. satisfied. Tenant shall notify, or use reasonable efforts to cause its affiliates 10 notify Landlord of such noncompliance.
                   Notwithstanding anything herein to the contrary, in the ellen! that Tenant delaults in its obligations under this Section with respect to the REIT Requirements
                   and l ails to une the same within thirty thirty days an.er written notice lrom Landlord. then Landlord's sole remedy for Tenant's breach 01 its obligations
                   under Ihis Section shall be to terminate the Lease (provided, however, that the precedin g shall not limit Landlord's right 10 pursue all other allailable
                   remedies in conncction wilh an Event of Default by Tenant of any other obligations or provisions under the Lease other than those set forth in this Section)
                   46.        Interpretation , This Lease shall be deemed to halle been draftod by both parties and shalioot be interpretoo against any person as dl1lfter. In
                   addition. prior drans of this Lease or any lellers of intent regarding the sarTlll shatl not be used in any way to in terprelthe provisions hereof.

                   47.         Force Majeure, Landlord shall not be held responsible for delays in the performance of its obligations hereunder when caused by stri~es ,
                   Iocltouts. labor disputes, acts of God, inability to obt;Jin labor or materials or reasonable substitutes thNefor. governmental restrictions, gOllCmmental
                   regulations. governmental controls, delay in issuance of permil$, enemy or hostile governmenta l ection, civil commotion, nre or other casualty. and olher
                   causes beyond the reasonable control of Landlord ("Force M~jeu re"l .
                   48.       Arbitratio n,
                              A.        Subject to (8) below. in the event 01 any dispute or disagreement between the parties as to the validity, conslruction. enforceability or
                   perlonnance of this Lease which cannot be resolved by the mutual agreemenl of the partles, and mindful of the high cost of litigation, not only in dollars
                   but lime and energy as well. the parties inlend to and do hereby establish a quick, final and binding out·of,couf1 dispute resolulion procedure to be followed
                   in the unlikely event any controversy should arise out of or concerning the performance of Ihis Lease , Accordingly, the parties do hereby covenant and
                   agree as follows:

                            (1)        Any controversy. dispute, or cJaim of whatever na tu re arising ou t 01, in connection with, Of in relation to the interpretall on, performance
                                       or breach of this Lease. Including any daim based on contract, tOft, or statu te, shall be determined, at the request of any party to this
                                       Lease by binding albitration before a retired judge of the applicable court of jurisdiction affiliated \vith Judicial Arbitration & Mediation
                                       SeClJlC8S, Inc. ("J.AM.S.") CXJnduded al a location determined by an arbitrator in the County of Los Angeles. State of California
                                       administered by and in accordance with th e then existlng Rules of Pradice and Procedure of Judicial Arbitration & Medlalion Services
                                       (J.AM.S,), and judgment up!ln any award rendered by the arlJitmtor(s) may be entered by any state or federal Court having jurisdiction
                                       thereof.

                            (2)        The provisions of California Code of Civil Procedures Section 1283.05 or its successor section(s) are incorpora ted in and made a part
                                       of this Lease. Depositions may be taken and discovery may be obtained in any arbitration under this Lease In accordance with such
                                       section(s)

                            (3)        The arbitrator shall determine which is the prevailing party and may indude in the award that party's costs and reasonable at1oflleys'
                                       fees ,

                            (4)        As soon as practicable after selection of th e arbitrator, the arbitrator or such arbitrator's designated representative shall delermine a
                                       reasonable estimate of anlidpllted fees and costs of the arbitrator, and render a statement to each party selling forth thai party's pro
                                       rata share 01 such fees and costs. Thereafter each party shall. vAlhin ten days of receipt of such statement, deposit such sum wth the
                                       arbitrator. Failure of any party to make such a deposit shall nol otherwise serve to abate. stay or suspend tho arbitration proceedings.

                              B           Any party shall have the rigflt to apply for and obtain a temporary restraining order or other temporary or permanent injunctive or
                   equitable reriel from a court 01 competent jurisdiclion to enforce the provisions hereof or to otherwise protect its rights under this Section. Notwithstanding
                   the foregoing . the lollowing daims, disputes ordiSOllreemcnts under this Lease are expressly eXCluded from Ille arbitralion procedures set for1h herein: (i)
                   disputes fOf which a different resolution determination is specifically sct forth in this Lease: (ii) all daims by either party which (1) seek anything other than
                   enforcement or determination of rights under this lease or (2) are primarily founded upon matters 01 fraud. IJlilltul misconduct, bad faith or any other
                   allegations of tortious action, and see~ the award of punitive or exemplary damages; (iii) daims re lating to (1) Landlord's exerCise of any unlal'(ful detainer
                   rights pursuant to applicable Legal Requirements or (2) right s or remedies used by Landlord to gain possession 01 the Premises or termina te Tenant's
                   right of possession to the Premises, all of which dIsputes shatt be resolved by sull filoo in the applicable court of jurisdiction, the decision 01 which couf1
                   shall be subject 10 appeal pursuant \0 appliCable Legal Requirements: and (Iv) any daim or dispute that is "";thin the jurisdiCtion of Small Ctaims Court.

                            C         The provisions of lhis Section shan not limil. require the postponement of, or in any oth er way preclude th e exercise of any right or
                   remedies otherwise enjoyed by any party to this Lease under the provi sions hereof.

                             49.        Miscellaneous.
                              A.        Neilher this Lease nor a memorandum of /ease shall be filed by or on behalf of Tenanlln any pubnc record . landlord may prepare
                   and file. and upon request by landlord Tenant will exeCl.lle. a memorandum 01 lease.

                              B.        Upon receipt of written request from Landlord, Tena nt, at Tenant's sole cost and expense, shall deliver to Landlord data regarding Ihe
                  electricity consumed in the operation of tlle Premises (the "Energy Data") lor purposes of regulatory compliance, manual and automated bem:hmarking.
                  energy managoment, building environmental performance labeling and other related purposes, Including but not limited, to the Environmental Proteclion
                  Agency's Energy Star rating system and other energy bendlmarXing systems. Landlord shall use cor1Yllercially reasonable efforts to utilize automated
                  data transmittal services offered by utility companies to acce ss the Energy Data, Landlord shalf not publicly disclose Energy Data without Tenan l's prior
                  writt en consent. Landlord may, however, disclose Energy Da ta that has been modified. combined or aggregated in a manner such that the resulting da ta
                  is no! exdusively attributable to Tenant.

                              C.          Words of any gender used in this Lease shaU be held and construed to include any oltler gender, and \VOrd s in the Singular number
                   sh all be held to include ltIe plul1l l, unless the context otherwise requires.

                          SO.     ASb estOS Disclosure. LANDLORD HEREBY DISCLOSES TO TENANT THAT LANDLORD KNOVolS OR HAS REASONABLE
                  CAUSE TO BELIEVE THAT ASBESTOS·CONTAiNING MATERI.AJ..S ARE PRESENT tN THE BUILDING AND THE PREMISES. TENANT
                  ACK NOVVlEDGES THAT LANDLORD HAS SATISFIED ITS OBLlGATtON TO NOTIFY TENANT OF THE PRESENCE OF ASBESTOS·CONTAINING
                  MATERiAlS IN THE BUILDING PURSUAN T TO CALIFORNIA HEAlTH & SAFETY CODE SECTION 25359.7, AN D TENANT SHAL L NOT DISTURB
                  ANY ASBESTOS-CONTAINING MATERIAI.             .s.


                                                                                       [SIGNATURE PAGE FOLLOWS)


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                   The parties herelo have exeaJled this Lease on the dales specified abool their respeclJve Slgnatures_



                      landlord:                                                                       Tenant:

                      REXFORD INDUSTRiAl REAL TV, l .P.,                                              F A SOLIMAN MANAGEMENT INC, a Cali/olnia
                      a Mal'fland liiTlted partnership                                                corporation, and REEFTON. LLC, a California limited
                                                                                                      liability company. jointly and severally
                      By: Rexford Industrial Realty.lnc ,
                          a Maryland corporation.
                           Its General Partner



                      B' _______________
                                                                                                                Fahd So l iman
                      Prin ted: Howard Schvlimmer                                                     Prinled: _ _ _ _ __ _

                      TiUe: CccChief Executive Officer                                                TiUe:     OWner
                           Jun 26, 2018 | 11:58 AM PDT
                      DalCl: _ _ _ _ _ _ __                                                           D," D(o WI liZ
                      Address: 11620 Wlshire Boulevard. Suite 1000                                    Address:   20701 OUmont St, l...oodland Hills, CA 91364
                               Los Angeles . California 90025
                      Telephone: -+1 (3 t O) 966- 1680                                                Telephone:   818-458-3262
                      With a Copy to:

                      Attn: General Counsel
                      CIO: Rexford Industrial
                      Address: 11620 \rVilshire Boulevard. Suite 1000
                               Los Angeles. Califomia 90025




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              COMMERCIAL NOTICE TO PAY RENT OR QUIT
TO: F A Soliman Management, Inc., and Reefton, LLC, all jointly and severally (“Tenant”) And All
Other in Possession of: 18310, 18314 Unit 5, 18316 Oxnard Street, Tarzana, CA 91356, County of Los
Angeles (“Premises”)

     You are hereby provided 5 days’ notice that Tenant is delinquent in its rental payments for the
above Premises. The total amount of Tenant’s delinquency as of July 19, 2019 is estimated at: $45,355.95.

      WITHIN 5 days after service of this Notice, you are required to pay the delinquent sum of
$45,355.95 or surrender possession of the Premises. This amount is an estimated sum of rent past due
and unpaid within one year of service of this notice, pursuant to California Code of Civil Procedure section
1161.1(a). The payment shall be delivered to Vanny Kim, Agent for Landlord via U.S. Mail or
express delivery carrier service, at 11620 Wilshire Boulevard, 10th Fl., Los Angeles, CA 90025, who
is authorized to receive the same. The usual days and hours to make payment at the above address in
person are Monday through Friday between the hours of 9:00 a.m. and 5:00 p.m. Should you fail to
pay the full amount of estimated Rent due, or surrender possession, within said period of 5 days,
Landlord will institute legal action to recover possession of said Premises, as well as all Rent due,
damages, interest, attorneys’ fees and costs.

      Please be advised that Landlord hereby expressly reserves any and all rights to accept partial
payments and seek possession of the subject Premises based on this Notice pursuant to California Code of
Civil Procedure sections 1161.1(b) et seq.

      The Landlord hereby declares and gives Tenant notice that, if the full amount of the Rent due is not
paid or possession surrendered within 5 days after service of this Notice, Landlord hereby elects to declare
a forfeiture of the Lease under which Tenant occupies the Premises.

       Pursuant to California Civil Code section 1785.26, you are hereby notified that a negative credit
report reflecting on Tenant’s credit record may be submitted to a credit reporting agency if Tenant fails to
fulfill the terms of its credit obligation.

     ** This notice supersedes all prior notices to pay rent or quit.
        Dated: July 22, 2019                 By: Vanny Kim
                                            Agent for Landlord
                                            Direct: Rexford Industrial Realty, L.P. (Tarzana)
                                            11620 Wilshire Boulevard, 10th Fl., Los Angeles, CA 90025
                                            (310) 966-3824
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   28                                 EXHIBIT 3


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  SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS                       GELES
                                             e.
    MAILING ADDRESS:    6230       lmar   ve.
   CITY AND ZIP CODE:    an    U     9140)
         BRACH NAME:     an u        Courthou e East

  CASE NAME: Rexford lndu trial Realtv. L.P. (Tarzana) v. F              Soliman Mana2e


               PROOF OF SERVICE OF NOTICE                                                 Ref No.:



   AT THE TIME OF SERVICE I WAS AT LEAST 18 YEARS OF AGE AND NOT A PARTY TO THIS
   ACTION. I SERVED COPIES OF THE BELOW DOCUMENT AS FOLLOWS:

    DOCUMENT SERVED: Five Day                     otice to Pay or Quit
      PERSONS SERVED: F A oliman Management, Inc. and Reefton LLC

 LOCATION OF SERVICE: 1831 o, 18314 Unit 5, 18316 Oxnard Street Tarzana, CA 91356

SERVICE DATE AND TIME: 7/22/19 at 6: 14 pm

   METHOD OF SERVICE: By delivering the notice to a person of suitable age and discretion at the
                      occupant's property address above and also mailing a second copy to the
                      occupants at their property address above because the occupants could not
                      be found. The notice was delivered to Fahad saldan a competent adult
                      appearing to be in charge of the Property listed above and described as
                      follows: Sex: Male, Race: White Weight: 210 Age: 45 Hair: Grey Height:
                      5'8.


    I am a Registered California Process Server.            I declare under penalty of perjury under the laws of
                 Luqman Kuraym                              the State of California that the foregoing information
                                                            contained in this return of service is true and correct.
                   P.O. Box 243
             Agoura Hills, CA 91376                            Dated: July 22, 2019
                   818-964-0895
        Registration No.: 2019113176
        County:                Los Angeles
                                                            Signature:




                                                  Lltigati, Inc. Registration: 2014300771
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                                          EXHIBIT 4


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                                          EXHIBIT 5


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                                                                                                                                                                  EJ-130
    ATTORNEY OR PARTY WITHOUT ATTORNEY:                       STATE BAR NO.:   264200                                              FOR COURT USE ONLY
    NAME:   Lane Nussbaum
    FIRM NAME: Nussbaum APC
    STREET ADDRESS: 27489 Agoura Rd, Suite 102
    CITY: Agoura Hills                                             STATE:    CA     ZIP CODE:    91301
    TELEPHONE NO.: 818-660-1919                                   FAX NO.:

    E-MAIL ADDRESS: lnussbaum@nussbaumapc.com

    ATTORNEY FOR (name):     Rexford Industrial Realty, L.P. (Tarzana)
                       ✔     ORIGINAL JUDGMENT CREDITOR                ASSIGNEE OF RECORD

    SUPERIOR COURT OF CALIFORNIA, COUNTY OF                    Los Angeles
     STREET ADDRESS:        6230 Sylmar Ave.
     MAILING ADDRESS:       6230 Sylmar Ave.
    CITY AND ZIP CODE:      Van Nuys 91401
         BRANCH NAME:
                            Van Nuys Courthouse East
                                                                                                                 CASE NUMBER:
         Plaintiff:         Rexford Industrial Realty, L.P. (Tarzana)
    Defendant:                                                                                                    19VECV01103
                            F A Soliman Management, Inc., et al.
                             EXECUTION (Money Judgment)                                                                Limited Civil Case
                                                                                                                       (including Small Claims)
    WRIT OF            ✔     POSSESSION OF                     Personal Property
                                                                                                                  ✔    Unlimited Civil Case
                             SALE                         ✔    Real Property
                                                                                                                       (including Family and Probate)

    1. To the Sheriff or Marshal of the County of: Los Angeles                                 No Lock out prior to 12/13/19
       You are directed to enforce the judgment described below with daily interest and your costs as provided by law.
    2. To any registered process server: You are authorized to serve this writ only in accordance with CCP 699.080 or CCP 715.040.
    3. (Name): Rexford Industrial Realty, L.P. (Tarzana)
       is the ✔    original judgment creditor         assignee of record                        whose address is shown on this form above the court’s name.
    4. Judgment debtor (name, type of legal entity if not a                  9.    ✔    See next page for information on real or personal property to be
       natural person, and last known address):                                         delivered under a writ of possession or sold under a writ of sale.
                                                                             10.        This writ is issued on a sister-state judgment.
                 F.A. Soliman Management, Inc.              For Items 11–17, see form MC-012 and form MC-013-INFO
         18310, 18314 Unit 5, 18316 Oxnard Street, Tarzana, 11. Total judgment (as entered or renewed) $                                                             0.00
         CA 91356, County of Los Angeles
                                                                             12. Costs after judgment (CCP 685.090)                    $                             0.00
                                                                             13. Subtotal (add 11 and 12)                              $                             0.00
                                                                             14. Credits to principal (after credit to interest)       $                             0.00
            ✔     Additional judgment debtors on next page
                                                                             15. Principal remaining due (subtract 14 from 13) $                                     0.00
    5. Judgment entered on (date): November 12, 2019                         16. Accrued interest remaining due per CCP                $                             0.00
                                                                                 685.050(b) (not on GC 6103.5 fees)
    6.            Judgment renewed on (dates):                               17. Fee for issuance of writ                              $                           25.00
                                                                             18. TotaI (add 15, 16, and 17)                            $                           25.00
                                                                             19. Levying officer:
    7. Notice of sale under this writ                                            a. Add daily interest from date of writ (at
       a. ✔      has not been requested.                                            the legal rate on 15) (not on GC
       b.        has been requested (see next page).                                6103.5 fees) . . . . . . . . . . . . . . . .       $                              0.00
                                                                                 b. Pay directly to court costs included in
    8.            Joint debtor information on next page.
                                                                                    11 and 17 (GC 6103.5, 68637; CCP
      [SEAL]                                                                        699.520(i)) . . . . . . . . . . . . . . . .        $                              0.00
                                                                             20.        The amounts called for in items 11–19 are different for each
                                                                                        debtor. These amounts are stated for each debtor on
                                                                                        Attachment 20.


                                         Issued on (date):                                       Clerk, by                                                      , Deputy
                                               NOTICE TO PERSON SERVED: SEE PAGE 3 FOR IMPORTANT INFORMATION.
                                                                                                                                                                  Page 1 of 3

    Form Approved for Optional Use                                                                                       Code of Civil Procedure, §§ 699.520, 712.010, 715.010
    Judicial Council of California
                                                                      WRIT OF EXECUTION                                                            Government Code, § 6103.5
    EJ-130 [Rev. January 1, 2018]                                                                                                                           www.courts.ca.gov



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          Plaintiff:         Rexford Industrial Realty, L.P. (Tarzana)                                    19VECV01103
    Defendant:               F A Soliman Management, Inc., et al.

    21.     ✔     Additional judgment debtor (name, type of legal entity
                  if not a natural person, and last known address):
                                       Reefton, LLC
           18310, 18314 Unit 5, 18316 Oxnard Street, Tarzana, CA
           91356, County of Los Angeles


    22.           Notice of sale has been requested by (name and address):




    23.           Joint debtor was declared bound by the judgment (CCP 989–994)
          a. on (date):                                                                 a. on (date):
          b. name, type of legal entity if not a natural person, and                    b. name, type of legal entity if not a natural person, and
             last known address of joint debtor:                                           last known address of joint debtor:




          c.             Additional costs against certain joint debtors are itemized:           Below         On Attachment 23c



    24. ✔         (Writ of Possession or Writ of Sale) Judgment was entered for the following:
       a.        ✔   Possession of real property: The complaint was filed on (date): August 02, 2019
                     (Check (1) or (2). Check (3) if applicable. Complete (4) if (2) or (3) have been checked.)

                (1)     ✔     The Prejudgment Claim of Right to Possession was served in compliance with CCP 415.46. The judgment includes
                              all tenants, subtenants, named claimants, and other occupants of the premises.
                (2)           The Prejudgment Claim of Right to Possession was NOT served in compliance with CCP 415.46.
                (3)           The unlawful detainer resulted from a foreclosure sale of a rental housing unit. (An occupant not named in the
                              judgment may file a Claim of Right to Possession at any time up to and including the time the levying officer returns
                              to effect eviction, regardless of whether a Prejudgment Claim of Right to Possession was served.) (See CCP 415.46
                              and 1174.3(a)(2).)

                (4) If the unlawful detainer resulted from a foreclosure (item 24a(3)), or if the Prejudgment Claim of Right to Possession was
                    not served in compliance with CCP 415.46 (item 24a(2)), answer the following:

                       (a)     The daily rental value on the date the complaint was filed was $
                       (b)     The court will hear objections to enforcement of the judgment under CCP 1174.3 on the following dates (specify):



           b.       Possession of personal property.
                          If delivery cannot be had, then for the value (itemize in 24e) specified in the judgment or supplemental order.
           c.       Sale of personal property.
           d.       Sale of real property.
           e. The property is described: ✔ Below            On Attachment 24e
                 18310, 18314 Unit 5, 18316 Oxnard Street, Tarzana, CA 91356, County
                 of Los Angeles


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                                                                                                 CASE NUMBER:
        Plaintiff:     Rexford Industrial Realty, L.P. (Tarzana)                                 19VECV01103
    Defendant:         F A Soliman Management, Inc., et al.

                                                        NOTICE TO PERSON SERVED

    WRIT OF EXECUTION OR SALE. Your rights and duties are indicated on the accompanying Notice of Levy (form EJ-150).


    WRIT OF POSSESSION OF PERSONAL PROPERTY. If the levying officer is not able to take custody of the property, the levying
    officer will demand that you turn over the property. If custody is not obtained following demand, the judgment may be enforced as a
    money judgment for the value of the property specified in the judgment or in a supplemental order.


    WRIT OF POSSESSION OF REAL PROPERTY. If the premises are not vacated within five days after the date of service on the
    occupant or, if service is by posting, within five days after service on you, the levying officer will remove the occupants from the real
    property and place the judgment creditor in possession of the property. Except for a mobile home, personal property remaining on the
    premises will be sold or otherwise disposed of in accordance with CCP 1174 unless you or the owner of the property pays the
    judgment creditor the reasonable cost of storage and takes possession of the personal property not later than 15 days after the time
    the judgment creditor takes possession of the premises.


    EXCEPTION IF RENTAL HOUSING UNIT WAS FORECLOSED. If the residential property that you are renting was sold in a
    foreclosure, you have additional time before you must vacate the premises. If you have a lease for a fixed term, such as for a year, you
    may remain in the property until the term is up. If you have a periodic lease or tenancy, such as from month-to-month, you may remain
    in the property for 90 days after receiving a notice to quit. A blank form Claim of Right to Possession and Notice of Hearing (form
    CP10) accompanies this writ. You may claim your right to remain on the property by filling it out and giving it to the sheriff or levying
    officer.


    EXCEPTION IF YOU WERE NOT SERVED WITH A FORM CALLED PREJUDGMENT CLAIM OF RIGHT TO POSSESSION. If you
    were not named in the judgment for possession and you occupied the premises on the date on which the unlawful detainer case was
    filed, you may object to the enforcement of the judgment against you. You must complete the form Claim of Right to Possession and
    Notice of Hearing (form CP10) and give it to the sheriff or levying officer. A blank form accompanies this writ. You have this right
    whether or not the property you are renting was sold in a foreclosure.




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                                                PROOF OF SERVICE OF DOCUMENT
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
      27489 Agoura Road, Ste. 102, Agoura Hills, CA 91301


      A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION FOR RELIEF FROM
      THE AUTOMATIC STAY OR FOR ORDER CONFIRMING THAT THE AUTOMATIC STAY DOES NOT APPLY UNDER
      11 U.S.C. § 362(l) (with supporting declarations) (UNLAWFUL DETAINER) will be served or was served (a) on the
      judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
      Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
        01/13/2019 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
      following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
      Bankruptcy Trustee - Kelly L Morrison- kelly.l.morrison@usdoj.gov
      US Trustee - (LA) - ustpregion16.la.ecf@usdoj.gov
      Matthew Abbasi ABBASI LAW CORPORATION - matthew@malawgroup.com


                                                                                              □    Service information continued on attached page

      2. SERVED BY UNITED STATES MAIL:
      On (date)                , I served the following persons and/or entities at the last known addresses in this bankruptcy
      case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
      first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
      judge will be completed no later than 24 hours after the document is filed.




                                                                                              □    Service information continued on attached page

      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
      for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 01/13/2019 , I served the
      following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
      such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
      that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
      filed.
      Each person below has been served via overnight mail service:
        Hon. Vincent P. Zurzolo- 255 E. Temple St. Suite 1360 / Courtroom 1368 Los Angeles, CA 90012
        Matthew Abbasi ABBASI LAW CORPORATION - 8889 West Olympic Blvd. Suite 240 Beverly Hills, CA 90211




                                                                                              □    Service information continued on attached page

      I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.




       01/13/2020                      Shauna Wilcox
       Date                            Printed Name                                                    Signature


                  This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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